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                       Complaint
                        Exhibit A
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DANIELA NOGUEIRA
Legal Fellow

                                                                   February 15, 2019

                    via email

                    Melissa Golden
                    Lead Paralegal and FOIA Specialist
                    Office of Legal Counsel
                    U.S. Department of Justice
                    950 Pennsylvania Avenue, N.W.
                    Room 5511
                    Washington, DC 20530


                             Re:       Freedom of Information Act Request


                    Dear Ms. Golden,

                       This is a request under the Freedom of Information Act (“FOIA”), 5
                    U.S.C. § 552(a)(3), for all Office of Legal Counsel (“OLC”) formal written
                    opinions issued prior to February 15, 1994. The request is submitted by five
                    scholars whose work relies on historical research and two non-profit
                    organizations: Matthew J. Connelly, Mary L. Dudziak, Megan Ming
                    Francis, Matthew L. Jones, Hiroshi Motomura, the Campaign for
                    Accountability, and the Knight First Amendment Institute at Columbia
                    University (the “requesters”).

                                                        I. Background

                       Since 1789, the Attorney General has been charged by statute with
                    providing legal “advice and opinion” to the Executive Branch.1 The


                       1  The Attorney General’s opinion-writing duties are currently codified in two
                    provisions of the federal code, see 28 U.S.C. § 511 (“The Attorney General shall
                    give his advice and opinion on questions of law when required by the President.”);
                    id. § 512 (“The head of an executive department may require the opinion of the
                    Attorney General on questions of law arising in the administration of his
                    department.”), which correspond to the Judiciary Act of 1789, see Judiciary Act of
                    1789, ch. 20, § 35, 1 Stat. 73, 93 (charging the Attorney General with “giv[ing] his
                    advice and opinion upon questions of law when required by the President of the
                    United States, or when requested by the heads of any of the departments, touching
                    any matters that may concern their departments”).




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     Attorney General, however, has delegated “virtually all”2 of his opinion-
     writing duties to the OLC since 1933.3 Created as the Office of the Assistant
     Solicitor General that year,4 the OLC’s “core function” is to settle legal
     questions or resolve interagency disputes.5 In discharging its duties, the
     “OLC generally avoids abstract or code-like decrees.”6 Instead, the office
     occupies a “quasi-judicial” role within the Executive Branch that follows a
     “decisional process resembl[ing that of] a court: it is case specific and

        2 Douglas W. Kmiec, OLC’s Opinion Writing Function: The Legal Adhesive for A

     Unitary Executive, 15 Cardozo L. Rev. 337, 337 (1993).
        3 Under 28 C.F.R. § 0.25—which, today, remains substantially similar to the

     version of the regulation originally adopted in 1969, see 28 C.F.R. § 0.25 (1969)—
     the OLC is responsible for, in relevant part
                (a) Preparing the formal opinions of the Attorney General; rendering
            informal opinions and legal advice to the various agencies of the
            Government; and assisting the Attorney General in the performance of
            his functions as legal adviser to the President and as a member of, and
            legal adviser to, the Cabinet.
                (b) Preparing and making necessary revisions of proposed Executive
            orders and proclamations, and advising as to their form and legality prior
            to their transmission to the President; and performing like functions with
            respect to regulations and other similar matters which require the
            approval of the President or the Attorney General.
                (c) Rendering opinions to the Attorney General and to the heads of
            the various organizational units of the Department on questions of law
            arising in the administration of the Department.
               (d) Approving proposed orders of the Attorney General, and orders
            which require the approval of the Attorney General, as to form and
            legality and as to consistency and conformity with existing orders and
            memoranda.
        4 The OLC was renamed in 1953 and took its modern form in 1977. See

     Daphna Renan, The Law Presidents Make, 103 Va. L. Rev. 805, 819–30 & n.44
     (2017).

        5  Memorandum from David J. Barron, Acting Assistant Att’y Gen., Office of
     Legal Counsel, to Attorneys of the Office, Re: Best Practices for OLC Legal Advice
     and Written Opinions 1 (July 16, 2010) [hereinafter Best Practices Memorandum],
     available at http://www.justice.gov/olc/pdf/olc-legal-advice-opinions.pdf (The
     “OLC’s core function . . . is to provide controlling advice to Executive Branch
     officials on questions of law.”); see also Kmiec, supra note 2 (discussing how the OLC
     details the President’s constitutional objections to pending legislation; advises the
     President on executive orders, executive privilege, and other programmatic and
     legal matters; advises Executive Branch agencies on legal questions; and resolves
     interagency disputes, among other duties); Eric Messinger, Transparency and the Office
     of Legal Counsel, 17 N.Y.U. J. Legis. & Pub. Pol’y 239, 245 (2014).
        6   See Renan, supra note 4, at 815.


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     precedent based.”7

         To that end, the OLC often issues “formal written opinions.”8 These
     opinions bind the Executive Branch in its interpretation of the law unless or
     until they are withdrawn or reconsidered by the OLC, displaced by a
     judicial ruling, or overruled by either the President or Attorney General.9
     Because overruling by the President or Attorney General “happens
     rarely,”10 the OLC generally has the final word on how the Executive
     Branch interprets and applies the law. In this way, the OLC is, as one former
     official has described it, akin to the “Supreme Court of the executive
     branch.”11

         As such, the OLC’s opinions create “a body of formal, written law that
     is relied upon, distinguished, and evaluated over time.”12 This body of law
     is critically important to understanding the government’s powers, policies,
     and responsibilities, as well as the private rights of individuals. But the OLC
     has published “only a fraction” of its formal written opinions.13 As a result,
     the Executive Branch has been relying on “secret law,” in violation of basic
     democratic principles. The requesters submit this request to help the public
     access the secret law that governs this country.



        7   Id.
         8 These OLC opinions are sometimes referred to as “Attorney General

     opinion[s]” or “memorandums.” See Daniel L. Pines, Are Even Torturers Immune from
     Suit? How Attorney General Opinions Shield Government Employees from Civil Litigation and
     Criminal Prosecution, 43 Wake Forest L. Rev. 93, 94 (2008).
        9 Randolph D. Moss, Executive Branch Legal Interpretation: A Perspective from the Office
     of Legal Counsel, 52 Admin. L. Rev. 1303, 1305 (2000) (“When the views of the
     Office of Legal Counsel are sought on the question of the legality of a proposed
     executive branch action, those views are typically treated as conclusive and binding
     within the executive branch. The legal advice of the Office, often embodied in
     formal, written opinions, constitutes the legal position of the executive branch,
     unless overruled by the President or the Attorney General.”); see also Renan, supra
     note 4, at 816 (“Barring [the President’s or Attorney General’s] reversal, OLC
     creates the binding law of the executive.”); Messinger, supra note 5, at 246.
        10   See Renan, supra note 4, at 816.
        11 Homeland Security Secretary ‘Fully Confident’ in Legality of Obama’s Immigration Action,
     PBS      NewsHour         (Nov.       24,     2014,       6:35       PM),     available     at
     http://www.pbs.org/newshour/bb/homeland-securitysecretary-fully-confident-
     legality-obamas-immigration-action [https://perma.cc/4MSL-2C6Q] (quoting
     Jeh Johnson, former Secretary of the Department of Homeland Security).
        12   See Renan, supra note 4, at 815.
        13 Trevor Morrison, Stare Decisis in the Office of Legal Counsel, 110 Colum. L. Rev.

     1448, 1476 (2010).


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                                II. The Requesters

         Matthew J. Connelly is a Professor in the Department of History at
     Columbia University. His work focuses on covert operations, state
     surveillance, and war powers. He has spent several years preparing a
     history of official secrecy in the United States based on research at
     presidential libraries and the U.S. National Archives. Without access to
     OLC opinions, however, it has been difficult for him to determine how
     Presidents have made crucial decisions on behalf of the American people
     even decades in the past, and to learn from past experiences and apply any
     lessons to the future.

         Mary L. Dudziak is the Asa Griggs Candler Professor of Law at Emory
     University School of Law. She writes and teaches about civil rights history,
     foreign relations history, constitutional law, and the history of war’s impact
     on American law and politics. She has a particular scholarly interest in
     OLC opinions regarding the use of force, especially, but not limited to,
     opinions that discuss (1) whether a specific use of force is lawful, (2)
     whether a specific use of force is within the president’s authority without a
     congressional authorization, and (3) what the scope of any existing
     authorizations may be.

         Megan Ming Francis is an Associate Professor in the Department of
     Political Science at the University of Washington. She studies American
     politics, race, and the development of constitutional law. She is especially
     interested in OLC opinions that relate to (1) questions of criminal
     procedure or criminal justice, (2) workplace discrimination, and (3)
     housing discrimination, especially as incidents emerged in greater numbers
     in the 1940s, 50s, and 60s. She also has a particular interest in OLC
     opinions that address civil rights issues related to education, including
     those that help illuminate how the federal government dealt with the vastly
     changed civil rights landscape following the Supreme Court’s decision in
     Brown v. Board of Education.

         Matthew L. Jones is the James R. Barker Professor of Contemporary
     Civilization in the Department of History at Columbia University. He
     studies the intersection of new communications technologies and the legal
     and regulatory structures that govern their interception in the United
     States and its Five Eyes allies. He has undertaken detailed inquiry into the
     writing and subsequent interpretation of Executive Order 12,333 based on
     extensive work at presidential libraries and via FOIA. He is particularly
     interested in OLC opinions on these issues, as well as on information
     warfare and information operations.

        Hiroshi Motomura is the Susan Westerberg Prager Distinguished
     Professor of Law at the University of California, Los Angeles School of
     Law. His research has focused on a variety of immigration and citizenship


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     law topics. He is interested in OLC opinions that relate to these topics,
     including, but not limited to, (1) the evolution of executive branch
     understandings of state and local authority to enforce immigration law, (2)
     the history of discretion in the enforcement of immigration law by federal
     executive branch officers, and (3) the role of the federal executive branch
     in the formulation of immigration law and policy.

         The Campaign for Accountability (“CfA”) is a non-profit, non-partisan
     organization that uses litigation, research, and advocacy to hold public
     officials accountable. CfA works on behalf of the public interest to expose
     corruption, negligence, and unethical behavior wherever it may occur. As
     part of its research, CfA uses government records made available to it
     under public information laws to investigate public officials and
     government agencies.

          The Knight First Amendment Institute at Columbia University is a non-
     profit corporation based at Columbia University. The Institute works to
     defend and expand the freedoms of speech and the press through strategic
     litigation, research, and public education. The Institute has, since its
     founding, worked to expose information essential to informed and
     democratic self-governance, including the formal written opinions of the
     OLC.

                            III. Records Requested

        The requesters request all of the OLC’s formal written opinions,14 or
     equivalent thereof, created on or before February 15, 1994. This request
     encompasses all such opinions, including, but not limited to:

             1. Opinions resolving interagency disputes. Executive Order 12,146
                directs federal agencies to submit interagency legal disputes to
                the OLC for resolution. See Exec. Order No. 12,146, 44 F.R.
                42,657 (1979). The request encompasses all of the OLC’s
                formal written opinions resolving interagency disputes, whether

        14 By “formal written opinions,” the requesters mean to include any OLC

     document that satisfies guiding principles set out in any of the office’s best practices
     memoranda, see, e.g., David J. Barron, Re: Best Practices for OLC Legal Advice and
     Written Opinions, OLC (July 16, 2010); Steven G. Bradbury, Re: Best Practices for OLC
     Opinions, OLC (May 16, 2005), any document that satisfies principles similar to
     those outlined in the OLC’s best practices memoranda, or any document
     “containing substantive final legal advice of [the] OLC, transmitted to a client
     agency, and signed by an OLC Assistant Attorney General or Deputy Assistant
     Attorney General” or the Attorney General, see Letter from Assistant Attorney
     Gen. Peter J. Kadzik to Rep. Jason Chaffetz, Chairman of the Comm. on
     Oversight and Gov’t Reform, and Rep. Elijah E. Cummings, Ranking Member of
     the Comm. on Oversight and Gov’t Reform (April 1, 2016) (attached here). The
     requesters also mean to include any cover letter or attachments to such opinions.


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                   submitted pursuant to Executive Order 12,146 or otherwise;15

               2. Opinions adjudicating or determining private rights. As former OLC
                  lawyer and then–Judge Alito has written, “many of the
                  questions on which OLC opines do involve private rights.”16
                  The request encompasses all of the OLC’s formal written
                  opinions that involve private rights;17

               3. Opinions interpreting non-discretionary legal obligations. The request
                  encompasses all of the OLC’s formal written opinions that
                  interpret statutes or other authorities that impose non-
                  discretionary legal obligations on federal agencies or officials;18

               4. Opinions concluding that a statute is unconstitutional. The request
                  encompasses all of the OLC’s formal written opinions
                  determining that a federal statute is unconstitutional in whole
                  or in part and that, as a result, federal agencies may decline to
                  give the statute effect;19 and

               5. Opinions concerning the scope of presidential power. The request
                  encompasses all of the OLC’s opinions concerning the scope of
                  presidential power, particularly those regarding the use of
                  force, surveillance, and the formulation and enforcement of
                  immigration law and policy.20



         15 For an example of this type of OLC opinion, see Office of Legal Counsel,

     Dep’t of Justice, The Authority of the Equal Employment Opportunity Commission To Order
     a Federal Agency To Pay a Monetary Award To Remedy a Breach of a Settlement Agreement
     (2008), available at https://www.justice.gov/opinion/file/833591/download
     [https://perma.cc/5YX2-TX24].
        16Samuel A. Alito, Jr., Change in Continuity at the Office of Legal Counsel, 15 Cardozo
     L. Rev. 507, 509–10 (1993).
        17 For an example of an OLC opinion that involves private rights, see Office of
     Legal Counsel, Dep’t of Justice, Whether the Defense of Marriage Act Precludes the
     Nonbiological Child of a Member of a Vermont Civil Union From Qualifying for Child’s
     Insurance Benefits Under the Social Security Act 1 n.1 (2007), available at
     https://www.justice.gov/file/451616/download            [https://perma.cc/8TW4-
     UX8D].
        18   For an example of this type of OLC opinion, see id.
         19 For an example of this type of OLC opinion, see Office of Legal Counsel,

     Dep’t of Justice, Constitutionality of the Direct Reporting Requirement in Section 802(e)(1) of
     the Implementing Recommendations of the 9/11 Commission Act of 2007 (2008), available at
     https://www.justice.gov/file/477336/download [https://perma.cc/BA7R2NZ9].
        20For an example of this type of OLC opinion, see Office of Legal Counsel,
     Dep’t of Justice, Deployment of United States Armed Forces into Haiti (1994), available at


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        Given the requesters’ scholarly interests, we ask that, to the extent
     possible, you prioritize the processing of OLC opinions related to national
     security, the use of military force, immigration, and civil rights.21

        We also ask that you disclose all segregable portions of otherwise exempt
     records, see 5 U.S.C. § 552(b), provide responsive electronic records in their
     native file format, see id. § 552(a)(3)(B), and process our request on a rolling
     basis.

               IV. Application for Waiver or Limitation of Fees

        The requesters request a waiver of document search, review, and
     duplication fees on three independent grounds. First, the disclosure of the
     requested records is in the public interest and is “likely to contribute
     significantly to the public understanding of the operations or activities of the
     government and is not primarily in the commercial interest of the
     requester.” 5 U.S.C. § 552(a)(4)(A)(iii). Second, the requesters qualify for the
     “educational” exception under FOIA because their purposes include
     “scholarly . . . research” and the records are not sought for commercial use.
     Id. § 552(a)(4)(A)(ii)(II). Third, the requesters are “representative[s] of the
     news media” within the meaning of FOIA and, again, the records are not
     sought for commercial use. Id.

        First, the documents sought are needed to inform the public about actual
     or alleged government activity. Specifically, the requested records constitute
     the Executive Branch’s authoritative interpretation of the law. This body of
     secret law is the final legal authority on a wide range of issues relevant to the
     public, from torture policy to welfare benefits. But because most of the
     OLC’s opinions remain secret, it is not possible for the public to discern
     whether the Executive Branch is acting outside its authority, meeting its
     obligations, or violating the private rights of citizens and residents. For these
     reasons, disclosure of the records would be in the public interest.

        Second, the requesters request a waiver of search and review fees on the
     ground that they qualify as “educational . . . institution[s]” or whose
     purposes include “scholarly . . . research” and the records are not sought for
     commercial use. Id. The requesters include a group of scholars who seek the
     OLC’s opinions to inform their research on a variety of topics. These topics
     include issues in domestic and foreign policy that are critical to
     understanding how the Executive Branch governs—from the right to an

     https://www.justice.gov/file/20306/download            [https://perma.cc/MR5H-
     HNF6].
        21 For example, the requesters are especially interested in an OLC opinion

     authored by then–Assistant Attorney General Theodore B. Olson on or around
     May 24, 1984, which the requesters believe is entitled “Constitutionality of Certain
     National Security Agency Electronic Surveillance Activities Not Covered Under
     the Foreign Intelligence Surveillance Act of 1978.”


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     adequate education to state-sponsored surveillance of U.S. citizens.

         The organizational requesters also have substantial educational missions.
     CfA operates a number of research and advocacy initiatives to inform the
     public about issues like consumer protection violations and corporate
     influence in government. For example, in 2016, CfA launched the Google
     Transparency Project to track, analyze, and expose how Google influences
     elected officials, public policies, and daily life.22 CfA also regularly publishes
     publicly available reports on its research.23

         Situated within a prominent academic research university, the Knight
     Institute is an educational institution that performs scholarly research on
     pressing First Amendment questions. The Institute’s research program
     brings together academics and practitioners of different disciplines to study
     contemporary First Amendment issues and offer informed, non-partisan
     commentary and solutions. It publishes that commentary in many forms—
     in scholarly publications, in long-form reports, and in short-form essays. For
     example, the Institute published papers from leading thinkers on rising or
     intensifying threats to free expression in its Emerging Threats series.24 The
     Institute also regularly hosts public events and symposia to educate the
     public about the First Amendment questions it studies.25

        Third, the requesters request a waiver of search and review fees on the
     ground that they are “representatives of the news media” within the
     meaning of FOIA and the records are not sought for commercial use. 5
     U.S.C. § 552(a)(4)(A)(ii)(II).

        The requesters meet the statutory definition of a “representative of the
     news media” because they “gather[] information of potential interest to a
     segment of the public, use[] [their] editorial skills to turn the raw materials
     into a distinct work, and distribute[] that work to an audience.” Id.
     § 552(a)(4)(A)(ii); see also Nat’l Sec. Archive v. Dep’t of Def., 880 F.2d 1381, 1387
     (D.C. Cir. 1989) (finding that an organization that gathers information,

         22 See generally Google Transparency Project, Campaign for Accountability, available

     at https://www.googletransparencyproject.org/ (last visited Feb. 15, 2019).
        23   See generally Reports, Campaign for Accountability, available at
     https://campaignforaccountability.org/works/reports/ (last visited Feb. 15,
     2019).
       24 See generally Emerging Threats, Knight First Amendment Institute at Columbia

     University, available at https://knightcolumbia.org/emergingthreats (last visited
     Dec. 10, 2018).
        25 See, e.g., A First Amendment for All? Free Expression in an Age of Inequality, Knight

     First Amendment Institute at Columbia University,                              available at
     https://knightcolumbia.org/content/3232018-first-amendment-all-free-
     expression-age-inequality;           see       also        Events,        available      at
     https://knightcolumbia.org/content/events.


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      exercises editorial discretion in selecting and organizing documents,
      “devises indices and finding aids,” and “distributes the resulting work to the
      public” is a “representative of the news media” for purposes of FOIA); accord
      Serv. Women’s Action Network v. Dep’t of Def., 888 F. Supp. 2d 282 (D. Conn.
      2012); ACLU of Wash. v. Dep’t of Justice, No. 09-0642, 2011 WL 887731, at
      *10 (W.D. Wash. Mar. 10, 2011); ACLU v. Dep’t of Justice, 321 F. Supp. 2d
      24, 30 n.5 (D.D.C. 2004). Courts have found other non-profit requesters,
      whose mission of research and public education is similar to that of the
      requesters here, to be “representatives of the news media.” See, e.g., Cause of
      Action v. IRS, No. 13-0920, 2015 WL 5120863 (D.C. Cir. Aug. 28, 2015);
      Elec. Privacy Info. Ctr. v. Dep’t of Def., 241 F. Supp. 2d 5, 10–15 (D.D.C. 2003)
      (finding non-profit group that disseminated an electronic newsletter and
      published books was a “representative of the news media” for purposes of
      the FOIA); Nat’l Sec. Archive, 880 F.2d at 1387; Judicial Watch, Inc. v. Dep’t of
      Justice, 133 F. Supp. 2d 52, 53–54 (D.D.C. 2000) (finding Judicial Watch,
      self-described as a “public interest law firm,” a news media requester).

          Finally, disclosure would not further the requesters’ commercial interests.
      CfA and the Knight Institute are non-profit organizations and will make
      any information disclosed available to the public at no cost. The requesters
      who are scholars will “make their [scholarly research] available” either at
      no cost or “for purchase by or subscription by or free distribution to the
      general public.” 5 U.S.C. § 552(a)(4)(A)(ii)(III). Thus, a fee waiver would
      fulfill Congress’s legislative intent in amending FOIA to ensure “that it be
      liberally construed in favor of waivers for noncommercial requesters.” See
      Judicial Watch, Inc. v. Rossotti, 326 F.3d 1309, 1312 (D.C. Cir. 2003).

         For these reasons, the requesters are entitled to a fee waiver.

                                     *       *        *

          Thank you for your attention to our request. We would be happy to
      discuss its terms with you over the phone or via email to clarify any aspect
      of it or, where reasonable, to narrow our request.

         I certify that the statements made herein are true and correct to the best
      of my knowledge and belief.


                                                 Sincerely,

                                                  /s/ Daniela Nogueira
                                                 Daniela Nogueira
                                                 Alex Abdo
                                                 Jameel Jaffer
                                                 Knight First Amendment Institute at
                                                    Columbia University



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                                                     U.S. Department of Justice

                                                     Office of Legislative Affairs


Office of the Assistant Attorney General             Washing/on. D.C. 20530



                                                     April 1, 2016


The Honorable Jason Chaffetz
Chairman
Committee on Oversight and Government Reform
U.S. House of Representatives
Washington, DC 20515

The Honorable Elijah E. Cwnmings
Ranking Member
Committee on Oversight and Government Reform
U.S. House of Representatives
Washington, DC 20515

Dear Chainnan Chaffetz and Ranking Member Cwnmings:

       This responds to your letter to the Attorney General, dated March 14, 2016, which
requested documents regarding the Office of Legal Counsel (OLC), its processes and the work it
performs. We have endeavored to provide answers to your inquiries directly in this letter,
including our best estimates for the nwnbers requested, and explanations for the information
provided, wherever possible.

     1. Documents sufficient to show how many full-time employees work in OLC, and of
        those, how many are attorneys.

          OLC generally employs between eighteen and twenty-five attorneys and between three and
          six full-time paralegals and support staff. As of March 31 , 2016, excluding two
          employees currently on detail elsewhere in the executive branch, OLC has 28 total
          full-time employees. Of these, 22 are attorneys.

     2. Documents sufficient to show how many requests for formal opinions OLC has
        received each year from 2005 to 2015.

          OLC has no comprehensive system in place for tracking each incoming request for a
          formal opinion. Such requests can come in many forms, including by telephone or in
          person. Moreover, it is not unusual for such requests to be withdrawn or made moot by
          subsequent events, resulting in no formal opinion being prepared or issued.
          Consequently, we are not in a position to provide a reliable estimate of the number of
          requests received in any given calendar year.
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The Honorable Jason Chaffetz
The Honorable Elij ah E. Cummings
Page 2

    3. Documents sufficient to show how many formal opinions OLC has issued each year
       from 2005 to 2015, including the number which were classified and the number
       which were unclassified.

        OLC's practices have varied over the years and the term "formal opinions" has been used
        to refer to different categories of documents by different people. In the interest of clarity,
        for this question and others, this response uses the term "formal opinion" to describe a
        letter or memorandum containing substantive final legal advice of OLC, transmitted to a
        client agency, and signed by an OLC Assistant Attorney General or Deputy Assistant
        Attorney General , generally drafted pursuant to the process described in the "Best
        Practices Memorandum" cited in your letter. I We also want to note that due to the nature
        of compartmented information, OLC does not maintain a complete li st of classified formal
        opinions. As a result, the numbers in the following chart represent OLC's best efforts to
        estimate the number of classified opinions issued for each year, but it is possible that thi s
        count may inadvertently omit one or more compartmented opinions issued during these
        time periods:


                     Calendar                 Estimate of                    Estimate of
                      Year                Unclassified Opinions          Classified Opinions
                                                 Issued                         Issued
                        2005                          29                            8
                        2006                          16                            4
                        2007                          28                            10
                        2008                          28                            4
                        2009                          31                            9
                        2010                          18                             8
                        2011                          12                            2
                        2012                          16                            2
                        2013                          12                            1
                        2014                           5                            0
                        2015                          4                             1




I See Memorand um for Attorneys of the Office, from David J. Barron, Acting Assistant Attorney General, Office of
Legal Counsel, Re: Best Practices/or OLe Legal Advice and Written Opinions (July 16,20 10) ("Best Practices
Memorand um"), available at
https://www.justice.gov/sites/defaultifileS/olc/legacy/20 I 0/OS/?6/o lc-legal-advice-opin ions.pdf.
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   4. Documents sufficient to show how many regulations requiring the Attorney
      General's approval OLC reviewed each year from 2005 to 2015, and of those, how
      many each year resulted in the issuance of a formal opinion.

      In 28 C.F.R. § 0.25(d), the Attorney General has assigned to OLC responsibility for
      reviewing all orders of the Attorney General for fonn and legality. Department of Justice
      regulations published in the Federal Register are issued by order of the Attorney General
      and, consequently, undergo fonn and legality review by OLC under this provision. At the
      same time, Attorney General orders include not only regulations published in the Federal
      Register but also internal administrative orders of various types, including, for example,
      the appointment or designation of Department officials or Depatiment delegations, the
      number of which are affected by many factors and may vary widely from year to year. For
      each Attorney General order reviewed, OLC prepares a short fonn and legality
      memorandum to the Attorney General providing advice on the lawfulness and form ofthe
      order. Although OLC does not track the circumstances in which requests for fonnal
      opinions arise in connection with proposed Attorney General orders or Department
      regulations, it is possible that issues raised during the fonn-and-Iegality review process
      may prompt a client agency request for a formal opinion on legal issues relating to a
      proposed order or regulation. In such an event, the resulting opinion would be counted
      among the total number of fonnal opinions issued by the Office provided in response to
      question 3 above. The following chart represents an estimate of the number of Attorney
      General orders reviewed by OLC each year, and an estimate of how many of those orders
      were published as regulations in the Federal Register:


          Calendar          Estimate of Total       Estimate of Orders Published in
           Year                AGOrders                    Federal Register
            2005                   47                             11
            2006                   60                             12
            2007                   71                             13
            2008                  103                             21
            2009                   94                             10
            2010                  108                             17
            2011                   75                             13
            2012                   44                             14
            2013                   51                             11
            2014                   75                             23
            2015                  122                             15
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    5. Documents sufficient to show how many formal OLC opinions have been released
       publicly each year from 2005 to 2015.

        Formal OLC opinions may be released publicly through a variety of mechanisms. First,
        as described in the Best Practices Memorandum, OLC has a process in place for regular
        consideration and selection of its opinions for official pUblication. In deciding whether an
        opinion merits publication, OLC considers such factors as the potential importance of the
        opinion to other agencies or officials in the Executive Branch, the likelihood that similar
        questions may arise in the future, the historical importance of the opinion or the context in
        which it arose, and the potential significance of the opinion to OLC's overall
        jurisprudence. OLC also considers countervai ling considerations such as the need "to
        preserve internal executive branch deliberative processes or protect the confidentiality of
        information covered by the attorney-cl ient relationship between OLC and other executive
        offices." Best Practices Memorandum at 6. If OLC makes a preliminary judgment that
        the opinion may be appropriate for publication, OLC solicits the views of the requesting
        Executive Branch official or agency and any other Department components or Executive
        Branch agencies or entities that have interests that might be affected by publication. After
        receiving any views, OLC makes a final determination regarding publication.

         In addition, when OLC receives FOlA requests that cover formal opinions, as with all other
         documents, it considers whether the documents are exempt from disclosure, and, if so,
         whether the documents are appropriate for discretionary release. The numbers set forth in
         the chart below do not include opinions that were released under FOIA but not formally
         published. For infonnation on that process, see the response below to question 8.

         The following hardbound volumes of the Opinions of the Office of Legal Counsel were
         published over the time period for which your letter requests infonnation. 2 With the
         exception of the opinions published in the first volume ofa new supplemental series,3
         many ofthese were published online before the final publication dates of the hardbound
         volumes:


                                 Volume                 Year of            Number of
                                                       Publication        OLC Opinions
                             Vol.   21   (1997)           2005             28 opinions
                             Vol.   22   (1998)           2005             31 opinions
                             Vol.   23   (1999)           2006             24 opinions
                             Vol.   24   (2000)          2006              29 opinions


, Imaged copies (i.e., in PDF fonn) of all hardbound volumes published by OLC are available online at
https:l/www.justice.gov/oic/opinions-Yolume. Imaged copies of the individual opinions in all hardbound volumes
are also available in a searchable index at https:llwww.justice.goY/olc/opinions.
3 The purpose of thi s supplementa l series (Op. O.L.C. Supp.) is to provide a vehicle for publishing opinions that
predate the co mmenceme nt of the primary se ries (Op. O.L.C.) in 1977 and also for publishing post-I 977 opinions
even after publication of the hardbound volume for that opinion year.
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                          Volume           Year of            Number of
                                          Publication        OLC Opinions
                      Vol. 25(200 1)         2012             34 opinions
                       Vol. 26 (2002)        2012             22 opinions
                       Vol. 27 (2003)        2013             19 opinions
                       Vol. 28 (2004)        2013             23 opinions
                   SuPP. Vol. 1 (1933-77)    2013             50 opinions
                       Vol. 29 (2005)        20 14            16 opinions
                       Vol. 30 (2006)        2014              8 opinions
                       Vol. 31 (2007)        2014             19 opinions
                       Vol. 32 (2008)        2014             14 opinions

      For the years not yet covered by hardbound volumes in the primary series, the publication
      review process is continuing, and additional opinions issued during those years may still be
      published. The following numbers ofOLC opinions for those years, however, has already
      been published online, available at https://www.justice.gov/olc/opinions:


                                Calendar       Opinions Already
                                 Year          Published Online
                                  2009            19 opinions
                                  20 10           10 opinions
                                  20 11           11 opinions
                                  2012            II opinions
                                  2013            4 opinions
                                  2014            3 opinions
                                  2015             1 opinion

   6. Documents sufficient to show how many formal OLC opinions have been shared with
      Congress each year from 2005 to 2015, other than those shared publicly.

      In accordance with the new procedure established by the Attorney General and the Director
      of National Intelligence pursuant to section 322 of the Intelligence Authorization Act for
      Fiscal Year 2014, Pub. L. No. 113-126, 128 Stat. 1390, 1400-01 (2014), OLC now
      evaluates each classified opinion it issues to an element of the intelli gence community to
      determine whether it would be appropriate for publication if not for the fact that the opinion
      contains classified national security information. Any opinion that meets these criteria
      will be shared with the appropriate committees of Congress. As ofthis time, no opinions
      have been shared pursuant to this procedure, although one classified opinion from 2015 is
      currently under review. OLC has no system in place to track any other limited disclosures
      of opinions that may have occurred during the noted time period.
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    7. Documents sufficient to show how many FOIA requests OLC received each year
       from 2005 to 2015 requesting OLC opinions.

        OLC receives FOIA requests on a variety of topics. These requests may be divided
        roughly into three categories: (1) requests that expressly seek formal OLC opinions or,
        more generally, records containing OLC legal advice; (2) broader requests-for example
        those that seek correspondence between OLC and other executive branch entities, or all
        documents concerning a given topic or individual- that may include formal opinions
        among the responsive records, if such opinions exist, but do not expressly seek such
        opinions; and (3) requests that are extremely unlikely to include formal opinions as
        responsive, such as those seeking OLC's FOIA logs.

         The following chart represents OLC 's total FOIA requests, as reported by the
         Department's Office of Information Policy ("OIP") at
         htlps :llwww.justice.gov/oip/reports-I , and an estimate of how many of those requests
         could be construed to potentially call for any responsive formal OLC opinions or other
         records containing OLC legal advice (that is, how many fall within the first two categories
         di scussed above), regardless of whether any OLC formal opinions existed that were
         responsive to the requests. Please note that this chart, in keeping with Department and
         government-wide practice, tracks FOIA requests by fiscal year, rather than by calendar
         year:


                    Fiscal          Total FOIA            Estimate of FOIA Requests That
                    Year             Requests               Potentially Call For Formal
                                                          Opinions or Other Leeal Advice
                    2005                  80                            N/A4
                    2006                  78                                 N/A
                    2007                  72                                  48
                    2008                  57                                  34
                    2009                  79                                  64
                    2010                  72                                  52
                    2011                  77                                  49
                    2012                  130                                 84
                    2013                  86                                  47
                    2014                  91                                  59
                    2015                  III                                 67




4 OLe's FOIA logs prior to Fiscal Year 2007 do not contain enough detai l to identify the subject matter of the requests
or the content ofOLC's responses, and OLC's FOIA records 1T0m that era are not organized in a way that allows for
this information to be easily reconstructed.
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    8. Documents sufficient to show how many formal OLC opinions were released under
       FOIA each year from 2005 to 2015.

        We have provided below estimates of how many formal OLC opinions were provided to
        FOIA requesters in each year from 2005 to 2015. Determining these numbers is
        particularl y difficult because OLC's records do not track whether a document provided in
        response to a FOrA request in a given year was released for the first time in response to that
        request, or if it had also previously been released to another FOIA requester.
        Consequently, the following chart identifies OLC's estimate of how many fomlal opinions
        were provided to FOIA requesters in a given fiscal year. Because OLC's FOIA records do
        not generally reflect when an opinion released in response to a FOrA request had been
        previously released to other FOIA requesters, these estimates include all opinions released
        to FOIA requesters in a given year regardless of whether the same opinions may have been
        previously released to another FOlA requester, except that we have excluded opinions
        from these counts where OLC's readily available records or other context clearly establish
        that the opinion had been previously released or published:

                                Calendar          Estimate of Opinions
                                 Year              Released to FOIA
                                                       Requesters
                                   2005                  N /A'
                                   2006                  N/A
                                   2007                     8
                                   2008                     2
                                   2009                    63
                                   2010                    19
                                   2011                    39
                                   2012                    56
                                   2013                    II
                                   2014                    21
                                   2015                     7



    9. Documents sufficient to show the average length of time each year from 2005 to 2015
       for OLC to respond to FOIA requests.

        The following chart provides the median number of days taken by OLC to process simp le,
        complex, and expedited FOIA requests, by fi scal year, drawn from data reported publicly
        by OIP at hltps:llwww.justice.gov/oip/reports-I :6


5 See supra note 4.
6 Priorto Fiscal Year 2008, the Depanment tracked on Iy the median number of days taken by components to respond
in each category. From Fiscal Year 2008 to the present, funher information, including the mean, median, highest,
and lowest number of days for requests in each category, may be found in the published repons.
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                         Fiscal      Simple     Complex Expedited
                         Year
                         2005          10          30           40
                         2006          10          60           45
                         2007          10          60          N/A
                         2008          35          134         N/A
                         2009          38          75          N/A
                         2010          IS          178         N/A
                         2011         23.5         376         211
                         2012           7          195         118
                         2013          13          173         92.5
                         2014         11.5         193         46.5
                         2015          IS          198         133


   10. Documents sufficient to show how many OLC employees have FOIA responsibilities
       in their job descriptions, along with the roles and responsibilities of each.

      OLC's ForA administration and processing are carried out primarily by a ForA Attorney
      and a Lead Paralegal under the supervision of a number of senior attorneys in OLC, with
      additional duties undertaken by OLC's Paralegal Supervisor and two other paralegals, as
      needed. Other OLC attorneys also assist in the process as necessary, consistent with their
      other job responsibilities.

   11. Documents sufficient to show the records disposition guidelines that apply to OLC
       for Federal Records Act purposes.

      OLC records retention and disposition is covered by SF-liS Records Retention Schedule
      NI-060-10-31. As desclibed more fully therein, OLC program records are pennanent
      with a 30-year retention after cut off. The SF-liS includes the following eight categories
      of OLC records:

             a.   OLe Leadership Program Records
             b.   Daybooks
             c.   Attorney General Orders
             d.   Form and Legality Memoranda
             e.   Presidential Executive Orders and Proclamations Tracking Logs
             f.   Attorney General Numbering Log
             g.   Formal Legal Opinions
             h.   File Memoranda

      E-mail records of OLC senior leadership are governed by Records Retention Schedule
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          SF-lIS, DAA-0060-20IS-0006, the Department's Capstone schedule for Assistant
          Attorneys General and their direct repm1s. 7

     12. Documents sufficient to show whether OLC, or the Department more generally,
         utilizes any automatic program, such as Capstone, for Federal Records Act purposes.

          DOJ Order 080 I and DOJ Policy Statement 0801.04 provide high level policy for
          Department-wide Records and Information Management and Department-wide e-mail
          record retention respectively. Capstone is not an automated program. The Capstone
          approach is a revised approach to record keeping that permits agencies to treat e-mail as a
          records series (rather than segregate e-mail records by substance) for officials considered
          Capstone officials. As stated above, DOJ Policy Statement 0801.04 provides
          Department-wide guidance on e-mail retention and sets forth the Department's
          implementation of the "Capstone" approach in accordance with the Capstone schedule for
          e-mail referenced above in response to question II. Records retention schedule
          DAA-0060-20IS-0006 applies the Capstone approach to OLC. These records are
          retained for thirty years after the individual's tenure ends and are then accessioned to
          NARA. For more information on Department-wide records retention, please refer to the
          Department's Senior Agency Official for Records Management FY20 l S Annual Report to
          NARA, dated January 27, 2016, available at
          https://www.archives.gov/records-mgmtlagency/doj-sao-annual-report-20 IS .pdf.

     13. Documents sufficient to show the number of requests for informal advice received
         and the number of requests in which OLC provided informal advice each year from
         2005 to 2015, including whether the request originated within the Department,
         another agency, or the Executive Office of the President.

          OLC provides legal advice to client agencies throughout the executive branch. Similar to
          a law finn, OLC receives requests for legal advice and provides that legal advice in many
          fonns and across many media, both oral and written. Consequently, OLC has no system
          in place to track or record every conversation or communication that could be viewed as a
          request for legal advice.

          OLC treats prior advice of the Office as precedential, as described in the Best Practices
          Memorandum. To faci litate research regarding past OLC advice, OLC maintains a
          database of unclassified legal advice provided to clients, fonnal and infonnal, for its own
          internal research, regardless of the fOnTI the legal advice took or whether it was fonnally
          published 8 The only mechanism OLC has for attempting to make a reasonable estimate
          regarding the total quantity oflegal advice given in a particular year across all [onnats is to

7 The Records Retention Schedules di scussed in this paragraph are enclosed. They, and all other such schedules for
the Department, are publicly avai lable at the website of the National Archives and Records Administration
(UN A RA "), at htto :l/w\ v\ v.arc hives. go vIreco rds-m gm tlrcslsehed u Iesl? d i Idepart men tsld epa rt men t -0 f- ius t ieel.
, Because it is kept current for OLe' s internal re search purposes, this database is also the starting poin t for most of
OLe's searches for records responsive to FOIA requests, especially when such requests seek records containing OLe
legal advice transmitted outside of the Office.
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       count the items in the database from each year, excluding records of OLC's decisions not
       to comment on proposed legislation or testimony, which are referred to as "bill
       no-comments" and stored separately. Because of the nature ofthe database, the counts in
       the following chart necessarily include the unclassified opinions noted in response to
       question 3, above, and the fornl and legality memoranda associated with the AG orders
       discussed in response to question 4, above:


                         Calendar         Total Items, Excluding Bill
                          Year                  No-Comments
                           2005                       304
                           2006                       570
                           2007                       742
                           2008                       706
                           2009                       610
                           2010                       612
                           2011                       699
                           2012                       571
                           2013                       521
                           2014                       586
                           2015                       628


   14. Information on whether Department e-mails containing legal guidance from OLC to
       the President, the Attorney General, or other agencies, whether formal or informal,
       are considered to be permanent federal records under the Department's applicable
       records schedules.

       OLC considers its written legal advice, no matter the fonn, to fall within one or more ofthe
       categories of permanent federal records retained by OLC noted in response to question II
       above.

       We hope this information is helpful. Please do not hesitate to contact this office if we may
provide additional assistance regarding this or any other matter.

                                                            Sincerely,




                                                            Peter J. Kadzik
                                                            Assistant Attorney General
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                        Complaint
                         Exhibit B
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U.S. Department of Justice Seal
                                                         U.S. Department of Justice

                                                         Office of Legal Counsel



Office of the Assistant Attorney General                 Washington, D.C. 20530




                                                         July 16, 2010


                          MEMORANDUM FOR ATTORNEYS OF THE OFFICE

                       Re: Best Practices for OLC Legal Advice and Written Opinions

        By delegation, the Office of Legal Counsel (OLC) exercises the Attorney General's
authority under the Judiciary Act of 1789 to provide the President and executive agencies with
advice on questions of law. OLC's core function, pursuant to the Attorney General's delegation,
is to provide controlling advice to Executive Branch officials on questions of law that are
centrally important to the functioning of the Federal Government. In performing this function,
OLC helps the President fulfill his or her constitutional duties to preserve, protect, and defend
the Constitution, and to "take Care that the Laws be faithfully executed." It is thus imperative
that the Office's advice be clear, accurate, thoroughly researched, and soundly reasoned. The
value of OLC advice depends upon the strength of its analysis. OLC must always give candid,
independent, and principled advice—even when that advice is inconsistent with the aims of
policymakers. This memorandum reaffirms the longstanding principles that have guided and
will continue to guide OLC attorneys in all of their work, and then addresses the best practices
OLC attorneys should follow in providing one particularly important form of controlling legal
advice the Office conveys: formal written opinions.

                                           I. Guiding Principles

        Certain fundamental principles guide all aspects of the Office's work. As noted above,
OLC's central function is to provide, pursuant to the Attorney General's delegation, controlling
legal advice to Executive Branch officials in furtherance of the President's constitutional duties
to preserve, protect, and defend the Constitution, and to "take Care that the Laws be faithfully
executed." To fulfill this function, OLC must provide advice based on its best understanding of
what the law requires—not simply an advocate's defense of the contemplated action or position
proposed by an agency or the Administration. Thus, in rendering legal advice, OLC seeks to
provide an accurate and honest appraisal of applicable law, even if that appraisal will constrain
the Administration's or an agency's pursuit of desired practices or policy objectives. This
practice is critically important to the Office's effective performance of its assigned role,
particularly because it is frequently asked to opine on issues of first impression that are unlikely
to be resolved by the courts—a circumstance in which OLC's advice may effectively be the final
word on the controlling law.


 This memorandum updates a prior memorandum, "Best Practices for OLC Opinions," issued May 16, 2005.
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        In providing advice, the Office should focus intensively on the central issues raised by a
request and avoid addressing issues not squarely presented by the question before it. As much as
possible, the Office should be attentive to the particular facts and circumstances at issue in the
request, and should avoid issuing advice on abstract questions that lack the concrete grounding
that can help focus legal analysis. And regardless of the Office's ultimate legal conclusions, it
should strive to ensure that it candidly and fairly addresses the full range of relevant legal
sources and significant arguments on all sides of a question. To be sure, the Office often
operates under severe time constraints in providing advice. In such instances, the Office should
make clear when it needs additional time to permit proper and thorough review of the relevant
issues. If additional time is not available, the Office should make clear that its advice has been
given with only limited time for review, and thus that more thorough consideration of the issue
has not been possible.

         On any issue involving a constitutional question, OLC's analysis should focus on
traditional sources of constitutional meaning, including the text of the Constitution, the historical
record illuminating the text's meaning, the Constitution's structure and purpose, and judicial and
Executive Branch precedents interpreting relevant constitutional provisions. Particularly where
the question relates to the authorities of the President or other executive officers or the allocation
of powers between the Branches of the Government, precedent and historical practice are often
of special relevance. On other questions of interpretation, OLC's analysis should be guided by
the texts of the relevant documents, and should use traditional tools of construction in
interpreting those texts. Because OLC is part of the Executive Branch, its analyses may also
reflect the institutional traditions and competencies of that branch of the Government. For
example, OLC opinions should consider and ordinarily give great weight to any relevant past
opinions of Attorneys General and the Office. The Office should not lightly depart from such
past decisions, particularly where they directly address and decide a point in question, but as
with any system of precedent, past decisions may be subject to reconsideration and withdrawal in
appropriate cases and through appropriate processes.

        Finally, OLC's analyses may appropriately reflect the fact that its responsibilities also
include facilitating the work of the Executive Branch and the objectives of the President,
consistent with the law. As a result, unlike a court, OLC will, where possible and appropriate,
seek to recommend lawful alternatives to Executive Branch proposals that it decides would be
unlawful. Notwithstanding this aspect of OLC's mission, however, its legal analyses should
always be principled, forthright, as thorough as time permits, and not designed merely to
advance the policy preferences of the President or other officials.

                                     II. Opinion Preparation

        While the Office frequently conveys its controlling legal advice in less formal ways,
including through oral presentations and by e-mail, the best practices for preparing the Office's
formal written opinions merit particular attention. These opinions take the form of signed
memoranda, issued to an Executive Branch official who has requested the Office's opinion.

      A. Evaluating opinion requests. Each opinion request is assigned initially to at least
one Deputy Assistant Attorney General and one Attorney-Adviser, who will review the question



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presented and any relevant primary materials, prior OLC opinions, and leading cases to
determine preliminarily whether the question is appropriate for OLC advice and whether it
appears to merit a signed written opinion. The legal question presented should be focused and
concrete; OLC generally avoids providing a general survey of an area of law or issuing broad,
abstract legal opinions. There should also be a practical need for the written opinion; OLC
should avoid giving unnecessary advice, such as where it appears that policymakers are likely to
move in a different direction. A written opinion is most likely to be necessary when the legal
question is the subject of a concrete and ongoing dispute between two or more executive
agencies. If we are asked to provide an opinion to an executive agency the head of which does
not serve at the pleasure of the President (e.g., an agency head subject to a "for cause" removal
restriction), our practice is to issue our opinion only if we have received in writing from that
agency an agreement that it will conform its conduct to our conclusion. As a prudential matter,
OLC generally avoids opining on questions likely to arise in pending or imminent litigation
involving the United States as a party (although the Office may provide assistance to Justice
Department divisions engaged in ongoing litigation). Finally, the opinions of the Office should
address legal questions prospectively; OLC avoids opining on the legality of past conduct
(though from time to time we may issue prospective opinions that confirm or memorialize past
advice or that necessarily bear on past conduct in addressing an ongoing legal issue).

        B. Soliciting the views of interested agencies. Before we proceed with an opinion, our
general practice is to ask the requesting agency for a detailed memorandum setting forth the
agency's own analysis of the question; in many cases, we will have preliminary discussions with
the requesting agency before it submits a formal opinion request to OLC, and the agency will be
able to provide its analysis along with the opinion request. (A detailed analysis is not required
when the request comes from the Counsel to the President, the Attorney General, or one of the
other senior management offices of the Department of Justice.) In the case of an interagency
dispute, we will ask each side to submit such a memorandum. We expect the agencies on each
side of a dispute to share their memoranda with the other side, or permit us to share them, so that
we may have the benefit of reply comments, when necessary. When appropriate and helpful, and
consistent with the confidentiality interests of the requesting agency, we will also solicit the
views of other agencies not directly involved in the opinion request that have subject-matter
expertise or a special interest in the question presented. We will not, however, circulate a copy
of an opinion request to third-party agencies without the prior consent of the requesting agency.

         C. Researching, outlining, and drafting. A written OLC opinion is the product of a
careful and deliberate process. After reviewing agency submissions and relevant primary
materials, including prior OLC opinions and leading judicial decisions, the Deputy and Attorney-
Adviser should meet to map out a plan for researching the issues and preparing an outline and
first draft of the opinion. The Deputy and Attorney-Adviser should set target deadlines for each
step in the process and should meet regularly to review progress on the opinion. Consultation
with others in the Office is encouraged, as are meetings, as needed, with other Deputies and the
Assistant Attorney General (AAG). An early first draft often will help identify weaknesses or
holes in the analysis requiring greater attention than initially anticipated. As work on the opinion
progresses, it will generally be useful for the Deputy and the Attorney-Adviser to meet from time
to time with the AAG to discuss the status and direction of the draft opinion.




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        The Office must strive in our opinions for clear and concise analysis and a balanced
presentation of arguments on each side of an issue. If the opinion resolves an issue in dispute
between executive agencies, we should take care to consider fully and address impartially the
points raised on both sides. In doing so, we generally avoid characterizing agencies with
differing views as the "prevailing" and "losing" parties. OLC's obligation is to provide its view
of the correct answer on the law, taking into account all reasonable counterarguments, whether
provided by an agency or not.

        D. Review of draft opinions. Before an OLC opinion is signed it undergoes rigorous
review within OLC. When the primary Deputy and the Attorney-Adviser responsible for the
opinion are satisfied that the draft opinion is ready for secondary review, they should provide the
draft opinion to a second Deputy for review. Along with the draft opinion, the Attorney-Adviser
should provide to the second Deputy copies of any key materials, including statutes, regulations,
important cases, relevant prior OLC opinions, and the views memoranda received from
interested agencies. Once the second Deputy review is complete and the second Deputy's
comments and proposed edits have been addressed, the primary Deputy should circulate the draft
opinion for final review by the AAG, the remaining Deputies (though it is not necessary in each
case for each of them to review an opinion), and any other attorneys within the Office with
relevant expertise.

        Because OLC issues opinions pursuant to the Attorney General's delegated authority, the
Office keeps the Office of the Attorney General and the Office of the Deputy Attorney General
apprised of its work through regular meetings and other communications. This practice ensures
that the leadership offices are kept informed about OLC's work, and also permits OLC to benefit
from suggestions about additional interests OLC should consider or views OLC should solicit
before finalizing its opinions, which are nevertheless based on its own independent analysis and
judgment. The Office also keeps the Office of the Counsel to the President appropriately
apprised of its work.

        Consistent with its tradition of providing advice that reflects its own independent
judgment, OLC does not ordinarily circulate draft opinions outside the Office. However, as part
of our process, we may share an aspect of a draft opinion's analysis with the requestor or others
who will be affected by the opinion, particularly when their submissions have not addressed
issues that arise in the draft. In some other cases, OLC may share the substance of an entire draft
opinion or the opinion itself within the Department of Justice or with others, primarily to ensure
that the opinion does not misstate any facts or legal points of interest.

        E. Finalizing opinions. Once all substantive work on an opinion is complete, it must
undergo a thorough cite-check by our paralegal staff to ensure that all citations are accurate and
that the opinion is consistent with the Office's rules of style. After all cite-checking changes
have been approved and implemented, the final opinion should be printed on bond paper for
signature. Each opinion ready for signature should include a completed opinion control sheet
signed by the primary and secondary Deputies and the Attorney-Adviser. If the opinion is
unclassified, after it is signed and issued to the requesting agency it must be loaded into our
ISYS database and included in the Office's unclassified Day Books. A separate file containing a
copy of the signed opinion, the opinion control sheet, and copies of key materials not readily



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available, such as the original opinion request, the views memoranda of interested agencies, and
obscure sources cited in the opinion, should also be retained in our files for future reference.

                     III. Opinion Publication and Other Public Disclosure

        Pursuant to Executive Order 12146 and directives from the Attorney General, OLC has a
longstanding internal process in place for regular consideration and selection of significant
opinions for official publication. At the first stage of the process, the attorneys who have worked
on an opinion and the front-office personnel who have reviewed it are asked for a
recommendation about whether the opinion should be published. After these recommendations
are collected, the opinion is forwarded to an internal publication review committee, made up of
attorneys from the front office, as well as at least one career attorney. If the committee makes a
preliminary judgment that the opinion should be published, the opinion is circulated to the
requesting Executive Branch official or agency and any other agencies that have interests that
might be affected by publication, to solicit their views on whether there are reasons why the
opinion should not be published. Taking this input into account, the publication committee then
makes a final judgment about whether the Office should publish the opinion. After the Office
makes a final decision to publish an opinion, the opinion is rechecked and reformatted for online
publication; a headnote is prepared and added to the opinion; and the opinion is posted to the
Department of Justice Web site at www.usdoj.gov/olc/opinions.htm. All opinions posted on the
Web site as published opinions of the Office are eventually published in OLC's hardcover bound
volumes.

        In deciding whether an opinion is significant enough to merit publication, the Office
considers such factors as the potential importance of the opinion to other agencies or officials in
the Executive Branch; the likelihood that similar questions may arise in the future; the historical
importance of the opinion or the context in which it arose; and the potential significance of the
opinion to the Office's overall jurisprudence. In applying these factors, the Office operates from
the presumption that it should make its significant opinions fully and promptly available to the
public. This presumption furthers the interests of Executive Branch transparency, thereby
contributing to accountability and effective government, and promoting public confidence in the
legality of government action. Timely publication of OLC opinions is especially important
where the Office concludes that a federal statutory requirement is invalid on constitutional
grounds and where the Executive Branch acts (or declines to act) in reliance on such a
conclusion. In such situations, Congress and the public benefit from understanding the
Executive's reasons for non-compliance, so that Congress can consider those reasons and
respond appropriately, and so that the public can be assured that Executive action is based on
sound legal judgment and in furtherance of the President's obligation to take care that the laws,
including the Constitution, are faithfully executed.

        At the same time, countervailing considerations may lead the Office to conclude that it
would be improper or inadvisable to publish an opinion that would otherwise merit publication.
For example, OLC will decline to publish an opinion when disclosure would reveal classified or
other sensitive information relating to national security. (Declassification decisions are made by
the classifying agency, not OLC.) Similarly, OLC will decline to publish an opinion if doing so
would interfere with federal law enforcement efforts or is prohibited by law. OLC will also



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decline to publish opinions when doing so is necessary to preserve internal Executive Branch
deliberative processes or protect the confidentiality of information covered by the attorney-client
relationship between OLC and other executive offices. The President and other Executive
Branch officials, like other public- and private-sector clients, sometimes depend upon the
confidentiality of legal advice in order to fulfill their duties effectively. An example is when an
agency requests advice regarding a proposed course of action, the Office concludes it is legally
impermissible, and the action is therefore not taken. If OLC routinely published its advice
concerning all contemplated actions of uncertain legality, Executive Branch officials would be
reluctant to seek OLC advice in the early stages of policy formulation—a result that would
undermine rule-of-law interests. Some OLC opinions also may concern issues that are of little
interest to the public or others besides the requesting agency. OLC's practice of circulating
opinions selected for publication to the requesting Executive Branch official or agency and any
other agencies that have interests that might be affected by publication helps ensure that the
Office is aware of these competing considerations. In cases where delaying publication may be
sufficient to address any of these concerns, OLC will reconsider the publication decision at an
appropriate time.

        OLC also receives a large number of Freedom of Information Act (FOIA) requests for its
unpublished legal opinions. The volume of such requests has increased substantially in recent
years, particularly with respect to opinions concerning national security matters. By definition,
these requests seek disclosure of documents that the Office has not yet chosen to release pursuant
to its own internal publication procedures. In responding to these requests, OLC is guided by
President Obama's January 21, 2009 FOIA Memorandum and Attorney General Holder's March
19, 2009 FOIA memorandum. As the Attorney General's memorandum observes, various FOIA
exemptions protect "national security,. . . privileged records, and law enforcement interests."
OLC will consult with relevant agencies in determining whether particular requested documents
fall within and should be withheld under any applicable FOIA exemptions. If a requested
document does not fall within an exemption, OLC will disclose it promptly. In addition, OLC
will consider disclosing documents even if they technically fall within the scope of a FOIA
exemption. As the Attorney General also stated in his March 19, 2009 memorandum, "an
agency should not withhold information simply because it may do so legally." In particular,
consistent with President Obama's directions, the Office will not withhold an opinion merely to
avoid embarrassment to the Office or to individual officials, to hide possible errors in legal
reasoning, or "because of speculative or abstract fears."

       OLC has a unique mission, and a long-established tradition—sustained across many
administrations—as to how- its work should be carried out. The Office depends not only upon its
leadership but also upon each of its attorneys to ensure that this tradition continues.




                                                   David J. Barron
                                           Acting Assistant Attorney General




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                        Complaint
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                                                           U.S. Depl!rtment of Justice

                                                           O,ffice of Legal Counsel



Office     Principal Deputy Assbtant AttomCY,Ocncral       Washlngton.D.C. 20J30


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                       MEMORANDUM                                   OF THE OFFICE

                                       Re: Best Practices for OLC Opinions

          By delegation, the Office of Legal                   the Attorney General's authority
 under Jhe Judiciary Act of 1789 to advise the President      executive agencies on questions of
 law. OLC is authorized to provide legal advice 9nly to                 B,ranch; we do not advise
 Congress, the Judiciary, foreign governments, private parties, or any other.person or entity
 outside the Executive Branch.· OLCs primary funcµon is to provide fonnal advice through
 wptten opinions signed ·by the Assistant Attorney General or         the apprqval of the AAG) a
 ·Deputy Assistant Attorney General. ·Our Office is frequently called upon to address issues of
  central importance to the functioning'of            Government,        subject to the President's
  authority under the Constitution, OLC op_inions m-e controlling on questions oflaw Within the
  E"ecutive Braq.ch. Accordingly, it is imperative'that our opinions be        accurate, thoroughly
 researched,- and soundly             The value of an OLC opinion            on the strength of its
  analysis. Over the years, OLC has earned a reputation for giving candid,. independent, and
  principled advice-even wheµ                    be               with the desires ofpolicymakers.
  This memorandum reaffirms the longstanding p!-'inciples that have guided and will continue to
  guide OLC attome;Ys in prepatjng tile                  ofthe Office.
           Evaluating opl11io1t requests. Each opinion request is assigned a Deputy                  an
                        who Will review the questiqn presented and any relevant statutory materials,
  prior OLC opinions, and .leadµig cases to deteqnine                     whether the question is
  appropriate for OLC advice and whether it              to merit a written opinion, as distinct
  info1111al advice. The legal question presented should be focused and concrete; OLC generally
  avoids undertaking a·general survey of an area of law or a broad, abstract legal opinion. There
  also sbobld be a practical need for tlie opinion; OLC particularly should avoid giving
  unnecessary advice where it appears that policymakers ·are likely to move in a different direction.
  A formal opinion is more likely to be               :when the legal question is the subject of a
  COJ}crete .and ongoiµg dispute between two or more                               If we are asked to.
  provide an opinion tci an                     whose head does not serve at the pleasure of the
              (i.e., an agency        head is subject to a "for cause" :r'ell:loval restriction), our practice
  isfo            in writing (rom that agency an agreement to 6e bound b'y our opinion. As a              .
  prudential mattert OLC should avoid opining on                  likely to be at issue in pending or
. imminent litigation involving the United States as a party.(except where there is a need to resolve
   a <Jispute Within the Executive .B!allch over             to be taken in litigation). Finally, the
   opinions ofthe Office shoul_d address legal.questions prospectively; OLC avoids opining on the
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        legality of past conduct (though from time to time we may issue prospective opinions that
        confuJn or memorialize past advice or that necessarily bear on past conduct).

               Soliciting tl1e views ofinterested age11cies. Before we proceed with an opinion, our
        general practice is to ask the requesting agency for a detailed memorandum setting forth the

         with the requesting agency before the fonnal opinion request is submitted tQ OLC, and the
         agency will be able to provide its analysis along with the opinion request. (A detailed analysis is
         not required when the request comes from the Counsel to the President, the Attorney General, or
         one of the three other Senior Management Offices of the Department ofJustice.) In the case of
         an interagency dispute, we will ask each side to submit such a memorandum. Ordinarily, we
         expect the agencies on each side of a dispute to share their memoranda with the other side, or
         permit us to share them, so that we may have the benefit of reply comments, when necessary.
         When appropriate and helpful, and consistent with confidentiality interests of the requesting
         agency, we will also solicit the views of other agencies not directly involved in the opinion
         request that have subject-matter expertise or a special interest in the question presented. For
         example> when the question involves the interpretation of a 4'eaty or a matter of foreign relations,
         our practice is to seek the views of the State Department; when it involves the interpretation of a
         criminal          we will usually seek the views of the Justice Department's Criminal Division.
          We Will not, however, circulate a copy of an opinion request to third-party agencies without the
        . prior consent of the requesting agency.

                Researcl1ing, outli11i11g, mtd drafting. An OLC opinion is the product of a careful and
        deliberate process. After reviewing agency submissions and relevant               OLC opinions and
        leading cases, the Deputy and Attorney-Adviser should meet to map out a plan for researching
        the issues and preparing an outline and fnst draft ofthe opinion. The Deputy and Attorney-
        Adviser should set target deadlines for each step in the process and should meet regularly to
        review progress on the opinion. A thorough working outline of the opinion will help to.focus the
        necessary research and the direction of the analysis. An early first draft often will help identify
        weaknesses or holes in the analysis requiring          attention than.initially anticipated. As work
        on the opinion progresses, it will generally be useful for the·Deputy and the                     to
        meet from time to time with the AAG to discbss the status and direction of the opinion project.

                 An OLC opinion should focus intensively on the central issues raised by a question of
         law and should, where possible, avoid addressing issues not squarely presented. On any issue
         involving a constitutional question, OLC,s analysis should focus principally on the text of the
         Constitution and the historical record illuminating the original meaning of the text and should be
         faithful to that historical understanding. Where the question relates to the authorities of the
         President or other executive officers or the separation of powers between the Branches of the
         Govenunent, past precedents and historical practice are often highly relevant. On questions of
         statutory and treaty interpretation, OLC's analysis will be guided by the text and will rely on
         traditional tools of construction in interpreting the text. OLC opinions should also consider and
          apply the past opinions of Attorneys General and this Office, which are ordinarily given
         weight. The Office will not lightly depart from such past decisions, particularly where they
         directly address and decide a point in question. Decisions of the Supreme Court and courts of
          appeals directly on point often provide guiding             and should be thoroughly addressed,


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      particularly where the issue is one that is likely to become subject of litigation. Many times,
      however, out Office will be asked to _opine          issue of first       or one that
      to be resolved l?Y the courts; in     instances, court decisions in       or analogous areas
      may serve as persuasive authority, depending on the strength of their analysis•
                                                                                                                    __ ..__
      .. - . ..Jn.general, wc-strive·in·our opinions·fol"Clarity-and'conciseuess iirtli<nmatysis..ana·a· -
      balanced presentation o(argumeµts on each side of an issue. Ifthe opinion resolves an issqe in
      dispµte between executive agencies, we should take           to             fuUy and·address
      impartially the points raised on both sides; ill doing so, it is best, to the extent practicable, to
      avoid ascribing particular points of view to the agepcies in a way that might suggest that. one side
      is the "winner'' and one the "loser." OLC's interest is simply to.provide the correct answer oh.
      the      taking into account all reasonable co911terargumerits, whether provided by an agency or
      not. Ifis. therefore often not negessary or desirable to cjte.or quote ageµcies' views letters.

                 Seco11dary review ofdraft opin!o11s. Before ·an OLC opinion is                it·undergoe8.
       rigorous review by the Front Office·within OLG and often by others outside the Office: When
            primary Deputy and        Attorµey-Adviser responsible for opinion are satisfied that the
      ·draft opinion is ready for             review,·the opb;1iqn                         to _a second I;>eputy
       t:or·a           Deputy read.,, Along with the draft 9pinion, the
       to. the second Deputy copies of any key materials, including               regulations, key CaSes,
                   prior OLC opinions, and the views                 received froin interested agencies. Once
       the second_Depµfy read is complete and the second Deputy,s COIJl.lµents have been                     the
       pririiat"Y. Depufy should circulate the draft opinion for. final review by the Af1.G, the
       Deputies, and·iny particular attorneys within the Office wi!h relevant ·expertise.
                                                                                                  .
                                         review. is complete, a draft ofthe opiajon-may be shared oU;tside the
       Office. IIrsome cases, oecause of time constraints, OLC may                     a draft                the
       internal review is coiµpfote. Our general practice is to .circulate draft opinions to the Office of'
       the Attorney Generitl ang the Office of the Deput)' Att9mey General for review and comment.
              and aS               we also circulate an jnformational copy of                opinion to the
      'Office of fil;e Counsel.to the Preside.nt In addition, in most cases, we will circulate a drat_\ to the
       requesting                in.cases where we are                  dispute           agencies, to those
       agencies that are pal'li:es to. t}Je dispute) for reyi<?\v, primarily to       that the opinion does not
       misstate the facts or tp.e legal points of interest to the               On certain occasions, where we·
       detennine it appropriate, we may circ\llate a· draft opinion to one or            other agencies that,
      .have special expertise or interest iµ. subject matter of the opinion, particularly if they ll!lVe
       offered views the question.

               Fi11alizi11g opiltio11s. Once all substantive work on· the· opinion is             it must
       undergo a thorough cite           by <;>ur paralegal staff tQ ensµre the accuracy of all          and
       consistency with the             rules of style. After all cite·checking changes have been:approved
       and made, the final opinion should be                  bond paper for             Bach opinion ready
       for sigq.atUre should include a completed opinion control sheet signed by the primary Deputy, the
       Attorney-Adviser, and the Deputy who qid the second Deputy read. After it is signed and issued,
       if the opinion is                it will be loaded into our !SYS             and included in the
       Office's unclassified :Oay Books. A               file cof!taining a copy of the signed opinion, the


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          opinion control sheet, anct copies of key materials not readily available, such as the original
          opinion request, the views memoranda of interested agencies, and obscure sources cited in the
          opinion, will also be retained in our files for future reference.

                  Op/11ion publicat/011. Most OLC opinions consist of confidential legal advice for senior
          Executive                     Maintaining                      of_OLC 9pinions is Qftettnec.essar.y.
          fo preserve-the deiiberative process of decisiorunaking within the Executive Branch and attomey-
          client relationships between OLC and other executive offices; in some            the disclosure of
          OLC advice also may interfere with federal law enforcement efforts. These confidentiality
          interests are especially great for OLC opinions relating to the President's exercise of his
          constitutional authorities, including his authority as Commander in Chief. It is critical to the
          discharge of the President's constitutional responsibilities that he and the officials under his
          supervision. are able to receive confidential legal advice from OLC.

                  At the same time, many OLC opinions address issues of relevance to a broader circle of
          Executive Branch lawyers or agencies thanjust those officials directly involved in the opinion
          request. In s.ome cases, the President or an affected agency may have a programmatic interest in
          putting other agencies, Congress, or the public on notice of the legal conclusion reached by OLC
          and the supporting reasoning. In addition, some OLC opinions will be of significant practical
          interesf     benefit to lawyers outside the            Branch, or of broader interest to the general
          public, including historians. In such cases, and.when consistent with the legitimate
          confidentiality interests of the President and the Executive Branch, it is the policy of our Office
          to publish OLC opinions. This                 program is in accordance with a directive from the
          Attorney General to OLC to publish              opinions on an annual basis for the convenience o(
          the Executive, Legislative, and Judicial Branches of the Government, and of the professional bar
               the general public.

                  At the time an opinion is signed, the attorneys responsible for the opinion will make a
          preliminary recommendation as to whether it may be appropriate for eventual publication.
          Thereafter, on a rolling or periodic basis, each opinion issued by the Office is reviewed for
          possible .publication by the OLC Publication Review Committee. If the Publication Review
                       decides that the opinion meets the Office's basic criteria for publication; the     ,
          C<>i:nmittee will solicit the views of the agency or Justice Department component that requested
          the opinion, and any agency or component likely be affected by its publication, as to whether
          the opinion is appropriate for current publication, whether its publication should be deferred, or
          whether it should not be published. OLC gives due :veight to the publication recommendations
          of interested agencies and components, particularly where they raise specific concerns about
          programmatic or litigation interests that might be advanced or compromised by publication of
          the opinion. OLC also.generally solicits the views of the Office of the Attorney General anq the
          Office of the Counsel to the President on publication questions, particularly with respect to
          significant opinions of f!le Office.

                  After the final decision is made to publish an opinion, the· opinion is rechecked and
           refonnatted for online publication; a headnote is prepared and added to the opinion; and the
           opinion is posted to the             ofJustice Web site at www.usdoj.gov/olc/opinions.htm. All
           opinions posted on the Web site are eventually published in OLC's hardcover bound volumes.


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                       Please let me know if you have any questions about the principles set forth above or any
-· -            suggestions for revising or       to the guidance provided in this memorandum.
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                                                        Principal Deputy Assistant Attorney General




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                        Complaint
                         Exhibit D
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       FBI Authority to Charge User Fees for Record Check Services


     T h e F ed eral B ureau o f Investigation has authority to charge the D epartm ent o f S tate u ser fees
          fo r F B I record ch eck services used by the S tate D epartm ent to d eterm ine w h eth er visa
          ap p lican ts h av e crim inal records and are thus ineligible for visas.


     T h e im p o sitio n o f u ser fees by the F B I for record ch eck services is discretionary.


                                                                                           February 11, 1991

                     M e m o r a n d u m O p i n i o n f o r t h e a s s i s t a n t Di r e c t o r
                                  Fe d e r a l B u r e a u o f In v e s t i g a t i o n


        This memorandum responds to your request for our opinion whether the
     Appropriations Act for the Departments of Commerce, Justice, and State,
     the Judiciary and Related Agencies for Fiscal Year 1990 (“the FY 1990 CJS
     Act”) authorizes the Federal Bureau of Investigation (“FBI”) to charge the
     Department of State user fees for FBI fingerprint identification and name
     check services (“record check services”) provided to the State Department
     in connection with its review of visa applications. We conclude that the Act
     authorizes the FBI to establish and collect fees for record check services
     that are requested for, among other things, “non-criminal justice” purposes.
     Because the State Department’s requests for such visa-related record checks
     are for a “non-criminal justice” purpose, the FBI may charge the State De-
     partm ent a user fee for record check services provided in response to such
     requests. We also conclude that the imposition of user fees by the FBI for
     record check services is discretionary.




        The FY 1990 CJS Act authorized the FBI to “establish and collect fees to
     process fingerprint identification records and name checks for non-criminal
     justice, non-law enforcement employment and licensing purposes.” Pub. L.
     No. 101-162, 103 Stat. 988, 998-99 (1989) (the “user fee provision”). Based
     upon this authority, the FBI notified all federal agencies that use record
     check services that it would charge user fees for all such services that are
     not specifically for criminal justice or law enforcement purposes. Letter to
     All Federal Users o f FBI Identification Division Services, from Assistant
     Director in Charge, Identification Division, FBI, at 1 (Dec. 8, 1989). The
     State Department subsequently asked the FBI to confirm that user fees would
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 not be charged for any visa-related record check services, asserting that “[t]he
 purpose of such namechecks is to avoid issuance of visas to persons who are
 excludable from the United States by law; they are, therefore, inextricably
 intertwined with the enforcement and administration of the criminal and im-
 migration laws of the United States.” Letter to William S. Sessions, Director,
 FBI, from Elizabeth M. Tamposi, Assistant Secretary for Consular Affairs,
 State Department, at 1 (Feb. 2, 1990).
     In responding to the State Department’s request, the FBI distinguished
 between two types of record checks of interest to the State Department. See
 Letter to Elizabeth M. Tamposi, from William S. Sessions (Mar. 26, 1990).
 The FBI explained that record checks ordered by the FBI’s Intelligence or
 Criminal Investigative Divisions based upon requests submitted by the State
 Department are considered to be “primary source information in support of
 the [intelligence and [c]ounterterrorism missions of the FBI’s national secu-
 rity responsibilities,” and consequently no user fee would be charged for
 such requests. Id. at 2-3. However, the FBI stated that other record checks
 requested by the State Department in connection with visa applications would
 be subject to a user fee because they are not “used in support of the FBI’s
 intelligence and counterterrorism, or even criminal investigative mission re-
 sponsibilities.” Id. at 3.
     The FBI and the State Department attempted to resolve their differences
 over the FBI’s authority to charge user fees for visa-related record checks.
 That attempt was unsuccessful, and the FBI subsequently requested the opin-
 ion of this Office on the scope of the FBI’s authority to charge user fees
 under the FY 1990 CJS Act.

                                                     II.

    The FY 1990 CJS Act, as noted above, authorizes the FBI to establish and
 collect user fees for record check services provided “for non-criminal justice,
 non-law enforcement employment and licensing purposes.” 103 Stat. at 998-
 99. The State Department asserts that this language, by its terms, authorizes
 fees only for services provided for “employment and licensing purposes.”
 See Letter to Joseph R. Davis, Assistant Director, Legal Counsel, FBI, from
 Alan Kreczko, Deputy Legal Adviser, Department of State, at 2 (May 24,
 1990) (“Kreczko Letter”). Under this reading, the terms “non-criminal jus-
 tice” and “non-law enforcement” are construed as coordinate adjectives that
 together modify the word “employment."1 The FBI, by contrast, argues that
 the user fee provision must be read as a series o f three adjectives, each of

    ' Alternatively, these tw o terms might be considered as modifying the entire phrase “em ploym ent and
 licensing purposes," so that the provision would be read as covering both non-criminal justice, non-law
 enforcem ent employment purposes and non-criminal justice, non-law enforcement licensing purposes.
 The State Department has not taken a clear position as to whether, under its reading o f the provision,
 these two terms modify both “employment” and “licensing” or ju st “employment." In any event, it is
 clear that the State D epartm ent’s use o f FBI record check services is not for an employm ent o r a licens-
 ing purpose.

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      which modifies the word “purposes.” Thus read, the user fee provision au-
      thorizes the FBI to impose fees for record check services provided for any of
      three purposes: a “non-criminal justice” purpose, a “non-law enforcement
     employm ent” purpose, or a “licensing” purpose. See Letter to Alan Kreczko,
      from Joseph R. Davis, at 2 (M ay 2, 1990) (“Davis Letter”).
         Applying ordinary rules o f English grammar, syntax and usage, we con-
     clude that the phrase “non-criminal justice, non-law enforcement employment
     and licensing purposes” is susceptible of either of two permissible construc-
     tions. On the one hand, it would be consistent with ordinary usage to read
     the terms “non-criminal justice” and “non-law enforcement” as coordinate
     adjectives that both modify the word “employment.” The use of a comma
     rather than the word “and” between these two terms does not defeat this
     construction; it is well established that coordinate adjectives may properly
     be separated by commas. See, e.g., The Chicago Manual o f Style § 5.45, at
      142 (13th ed. 1982) (giving as an example “a faithful, sincere friend”);
     Government Printing Office (“GPO”), Style Manual § 8.38, at 121 (1984)
     (“short, swift streams”).
         On the other hand, it would also be consistent with ordinary usage to
     construe the user fee provision as comprising a series of three terms (“non-
     criminal justice,” “non-law enforcement employment” and “licensing”), each
     o f which modifies the word “purposes.” The absence of a comma after the
     word “employment” does not imply that the provision may not be read as a
     list o f three items. Although grammarians appear to be divided on the strict
     propriety of omitting the comma before the word “and” in a list of three or
     more items, see, e.g., The Chicago Manual o f Style § 5.50, at 143 (final
     com m a should always be used); GPO, Style Manual § 8.43, at 122 (same);
     see generally R. Copperud, American Usage and Style 78-79 (1980) (“Opin-
     ion is divided on whether the comma should be used before ‘and’ in a series
     . . . .”), it is nonetheless consistent with ordinary English usage to leave out
     the final, or “serial,” comma. See, e.g., L. Todd & I. Hancock, International
     English Usage 389 (1987) (comma is used “with words or phrases in a
     series but not before ‘and’”); see also The World Almanac Guide to Good
     Word U sage 52 (M. Manser & J. McQuain eds. 1989) (“the final comma
     preceding ‘and’ or ‘or’ is optional”). At any rate, whatever the views of
     grammarians, it is clear that Congress regards it as acceptable to leave out
     the serial comma. In the very same section that enacts the user fee provi-
     sion, Congress omitted the final comma in a context where it clearly intended
     that the enumerated activities comprise a series o f four activities. See 103
     Stat. at 998 (appropriating funds to the FBI for expenses for “acquisition, lease,
     maintenance and operation of aircraft”).2 Accordingly, the FBI’s construction
     of the user fee provision is consistent both with ordinary English usage and,
     more importantly, with congressional usage.

       2 Indeed, C ongress does not appear to follow consistently any particular rule with respect to the use of
     the serial com m a. In another list of item s in the same section, Congress did use a serial com m a. 103
     Stat. at 998 (appropriating funds necessary for “detection, investigation, and prosecution o f crim es”).

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     The State Department argues that the FBI’s construction of the user fee
  provision renders part of the provision superfluous and that therefore the
  State Department’s construction is syntactically preferable. Kreczko Letter,
  at 2. We disagree. While “non-criminal justice” purposes, “non-law en-
  forcement employment” purposes and “licensing” purposes are overlapping
  categories, none of them is completely subsumed within the other two. For
  example, there are “licensing” purposes that are related to criminal justice
  and thus not within the “non-criminal justice” category (e.g., a firearms
  license for a court bailiff). Similarly, there are “non-law enforcement em-
  ployment” purposes that are related to criminal justice (e.g., hiring of a
  public defender). Accordingly, we cannot conclude that the FBI’s construc-
  tion renders any portion of the user fee provision superfluous.3
     Because both the construction suggested by the State Department and the
  one offered by the FBI are grammatically permissible readings o f the statu-
  tory language, the user fee provision is ambiguous. The legislative history,
  however, establishes that the FBI’s construction is the only one that fulfills
  Congress’ intent in enacting the provision.
     The legislative history establishes that the user fee provision in the FY
  1990 CJS Act was intended to effect a significant expansion in the authority
  of the FBI to charge user fees for record check services. Prior appropria-
  tions acts had provided the FBI only limited authority to institute a user fee
  program. Since 1982, appropriations acts for the Department o f Justice
  included language authorizing the FBI to charge fees only for fingerprint
  identification record checks requested for “noncriminal employment and li-
  censing purposes.” Pub. L. No. 97- 257, 96 Stat. 818, 823 (1982); see also,
  e.g.. Pub. L. No. 100- 459, 102 Stat. 2186, 2195 (1988) (appropriations act
  for fiscal year 1989). By its terms, this statutory language permitted the FBI
  to charge user fees only for fingerprint identification record checks and then
  only if requested for “employment” purposes or “licensing” purposes.
     In the FY 1990 CJS Act, Congress deleted this earlier, narrow formula-
  tion of the FBI’s user fee authority in favor of the current language. The
  report submitted by the Senate Appropriations Committee, which added the
  new language, explained that the change was intended to expand signifi-
  cantly the FBI’s authority to charge user fees for record check services:

           The expanded authority would permit the FBI to institute a
           user fee for processing of all requests fo r other than law en-
           fo r c e m e n t p u r p o s e s , including those for o th er F ederal




    3 At any rate, the FB I’s reading is no more redundant than that suggested by the State Department.
  Because the terms “non- criminal justice" and “ non-law enforcement" substantially overlap, construing
       words as simultaneously modifying the term “employment” renders the second adjective largely
  redundant.

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             Government agencies. The costs to the FBI of providing name
             check and fingerprint identification services for nonlaw en-
             forcement purposes are considerable and have begun to negatively
             impact on its basic law enforcement mission. The Committee
             recognizes the value of these services to other Federal users,
             however, and believes it is important that the FBI continue to
             make them available, although on a reimbursable basis.

     S. Rep. No. 144, 101st Cong., 1st Sess. 46 (1989) (emphasis added). The
     Senate Committee thus recognized that the increasing cost of record check
     services “for nonlaw enforcement purposes” was having an adverse effect on
     the FB I’s overall budget and, consequently, on its ability to perform “its
     basic law enforcement mission.” It therefore expanded the FBI’s authority
     so as to permit the collection of user fees for all record check requests “for
     other than law enforcement purposes,” rather than just the employment and
     licensing purposes previously authorized. Id.
         T he FBI’s construction o f the user fee provision is the only reading that
     gives effect to this unmistakable congressional intent to expand the FBI’s
     authority to charge user fees for all record check services “for other than
     law enforcement purposes.” Under the FBI’s reading of the provision, the
     FBI is authorized to charge a user fee for any record check that is requested
     for, among other things, a “non-criminal justice” purpose. Because there is
     a substantial overlap between the term “non-law enforcement,” which is
     used in the Senate Report, and the statutory term “non-criminal justice,” the
     F B I’s construction substantially effectuates the congressional intent that the
     FBI have the authority to collect user fees for record checks performed for
     all “non-law enforcement” purposes.
         By contrast, the State Department’s construction fails to expand the range
     o f purposes for which a record check request would be subject to the FBI’s
     user fee authority. Under the State Department’s reading, Congress simply
     substituted a new set of adjectives to describe the type of employment pur-
     poses for which the FBI could charge a user fee: the coordinate adjectives
     “non-criminal justice, non-law enforcement” were substituted for the earlier
     adjective “noncriminal.” The State Department has not pointed to any evi-
     dence in the legislative history — and we have been unable to find any
     evidence — that Congress intended to limit the FBI’s expanded user fee
     authority to employment and licensing purposes. On the contrary, this read-
     ing of the provision fails to carry out Congress’ explicit intent to expand the
     FB I’s authority so that it would cover “all requests for other than law en-
     forcem ent purposes.” S. Rep. No. 144, supra, at 46. Indeed, the State
     D epartm ent’s reading may actually contract the FBI’s authority in this re-
     gard. To the extent that the two new adjectives do not completely overlap in
     meaning, the set of employment purposes that are both “non-criminal justice”
     and “non-law enforcement” is necessarily smaller than the comparatively

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  broad set of “noncriminal” employment purposes.4
     The State Department argues that the FBI’s conclusion that it may charge
  a user fee for record checks conducted for “non-criminal justice” purposes is,
  on its face, inconsistent with the Senate Report’s statement that the provision
  “would permit the FBI to institute a user fee for processing of all requests for
  other than law enforcement purposes.” S. Rep. No. 144, supra, at 46 (em-
  phasis added); Kreczko Letter, at 3. In essence, the State Department contends
  that the FBI’s reading places primary emphasis on the wrong statutory term.
  We find this argument unpersuasive. Under any reading of the user fee
  provision, the term “non-law enforcement” modifies the word “employment” ;
  therefore, there is no sense in which the statutory language can be read to
  align precisely with the description in the Senate Report. Under these cir-
  cumstances, our task is to determine which of the facially perm issible
  constructions of the statutory text best fulfills the congressional purpose. As
  explained above, “non-criminal justice” is sufficiently close in meaning to
  “non-law enforcement” that the FBI’s reading effectuates Congress’ intent.
  Indeed, the FBI’s reading is the only construction that fulfills that intent.5
     Accordingly, we conclude that the FY 1990 CJS Act must be construed to
  authorize the FBI to impose a user fee for any record check services per-
  form ed for a “non-criminal ju stice” purpose, a “non-law enforcem ent
  employment” purpose or a “licensing” purpose.

                                                              III.

     The State Department asserts that the record check requests it submits to
  the FBI “have no other purpose than to support a law enforcement objec-
  tive” and that they are therefore not subject to a user fee. Kreczko Letter, at


     4 B oth the State D epartm ent and the FBI assert that th eir respective c o n structions are su pported by the
  statem e n t in the S enate R eport that the new user fee provision w as intended to give the FB I a u th o rity to
  c h arg e fees for record checks perform ed for “all civil, nonlaw en fo rcem en t e m p lo y m ent and lic ensin g
  p u rp o se s." S. R ep. No. 144,              , at 45        K reczko Letter, at 3; D avis Letter, at 3. A lth o u g h we
  b eliev e that this language h elp s to clarify the m eaning o f the term “ non- crim inal ju s tic e ,”                p. 24,
  w e do not believe that it assists in d eterm in ing w hich o f the tw o co nstructions is the co rre c t one, b ecau se
  th e p assage includes precisely the sam e gram m atical am biguity as the statutory language
     5 A lthough the State D ep artm en t's reading fails to give effect to C o n g ress’ intent th at FB I h ave the
  a u th o rity to charge a user fee fo r all record checks conducted for no n-law en forcem ent pu rp o ses, S. R ep.
  N o . 144,             at 46, both c o n stru ctio ns o f the provision w ould e x pand the F B I’s u ser fee a u th o rity in
  th re e o ther respects intended by C ongress. F irst, the S enate R eport m akes c le ar that, in m aking these
  c h an g es to the u ser fee pro v isio n . C ongress intended that the provision w ould be g iv en its full literal
  sco p e and th erefo re that the FB I was authorized to c o llect user fees from o th er federal ag encies. Id. at
  4 5 -4 6 . D espite the broad term s o f the 1982 p rovision, the FBI had not collected user fees from fed eral
  a g en c ie s betw een 1982 and 1989 Second, the new language also authorized the FBI to charge u ser fees
  in con n ection w ith “ nam e ch eck s” o f crim inal records in addition to “ fingerprint id e n tific a tio n " record
  c h eck s.               Pub. L. No. 101 -162, 103 Stat. at 999            Pub. L N o. 97-257, 96 Stat. at 823. T h ird ,
  th e new provision also allow ed the FBI to charge a u ser fee for record ch ecks p erform ed “ for c ertain
  e m p lo y e es o f p rivate secto r contractors w ith classified G overnm en t co n tracts." Pub. L. N o 101-162.
  103 Stat at 999. E ither read ing o f the p rovision w ould effectuate the c ong ressional purpose on these
  th re e points, but only the F B I's construction fulfills C o n g re ss’ intent that the FB I have the a u th o rity to
  c o lle ct u ser fees

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      2. It says that its only purpose in submitting name checks in connection with
      visa applications is “to avoid issuance of visas to persons who are excludable
      from the United States by law.” Id. Because “[s]ections 212(a)(9), (10), and
      (23) o f the [Immigration and Nationality Act (“INA”)] forbid the issuance of
      visas to aliens who have criminal records,” the State Department argues, its
      record check requests are submitted for the purpose of enforcing the law and
      therefore should not be subject to a user fee. Id.', see also Letter for Paul P.
      Colbom, Senior Counsel, Office of Legal Counsel, from Alan Kreczko, at 1
      (Aug. 31, 1990) (“the sole and exclusive justification for the namecheck/
      fingerprint function in the first instance is a criminal justice, law enforcement
      one, i.e., the detection and exclusion of criminal aliens from the United States
      in accordance with Congress’ intent in the relevant exclusionary provisions
      o f the [INA]”).
          We conclude, however, that the State Department’s requests for record
      checks in connection with visa applications are for a “non-criminal justice”
     purpose. In ordinary usage, the term “criminal justice” refers to the admin-
     istration and enforcement o f the criminal law. See, e.g., W ebster’s Third
     N ew International Dictionary 1228 (1986) (defining “justice” as the “ad-
     ministration of law”). Accordingly, a “non-criminal justice” purpose is a
     purpose that is not related to the administration of criminal laws. The Sen-
     ate Report confirms this understanding of “non-criminal justice” purposes
     by generally equating them with “civil” purposes. See note 4 supra. The
     State Departm ent’s requests for visa-related record checks relate not to the
     administration o f criminal laws, but to the administration of certain civil
     provisions of the INA. The State Department does not request record checks
     for visa applicants for the purpose of investigating whether those applicants
     have violated the criminal laws of the United States and should be arrested
     or prosecuted, but rather to determine whether a visa applicant already has a
     criminal record that would require his or her exclusion from the United
     States. See 8 U.S.C. § 1182(a)(9), (10), (23) (listing classes of aliens with
     criminal records who “shall be ineligible to receive visas and shall be ex-
     cluded from admission into the United States”). Indeed, a decision by the
     State Department to deny a visa does not involve any criminal penalty. See
     id. § 1201. In short, the State Department’s role under the INA does not
     include criminal justice responsibilities, but rather the administration of a
     civil program.6
       6 T he State D epartm ent also argues that, even if these record checks are not requested for “criminal
    ju stice” purposes, they are nonetheless for “law enforcem ent” purposes and for this reason should be
    exem pt from user fees. It is not clear from the statutory text whether the term “law enforcem ent" is
    meant to em brace ju st the enforcement o f              laws — which we believe to be the more conven-
    tional use o f the term — or whether it is also intended to include the enforcem ent of civil laws. As noted
    above, however, the Senate Report is clear that this term is being used in the narrower sense o f criminal
    law enforcem ent.        S. Rep. No. 144,           at 45 (user fees generally authorized for record checks
    requested for "civil" purposes). The State Department's argument ultimately fails in any event because
    the term “ non-law enforcem ent," as used in the user fee provision, m odifies the word “em ploym ent.”
    There is, o f course, no suggestion that the State Department's review of visa applications is in any way
    associated with potential employment of aliens by agencies that conduct law enforcement, whether it be
    civil or crim inal.

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     The State Department’s purpose in requesting a record check of a visa
  applicant is, therefore, a civil, rather than a criminal justice, purpose.7 Be-
  cause the record check services that the FBI provides the State Department in
  connection with visa applications serve a “non-criminal justice” purpose, we
  conclude that the FBI is authorized to charge user fees for such services.8

                                                   IV.

     The FBI has also asked whether, if it has such authority, it is required to
  charge the State Department for these services. This question is resolved by
  the language of the user fee provision, which states that “the Director of the
  [FBI] may establish and collect fees to process fingerprint identification
  records and name checks for non-criminal justice, non-law enforcement em-
  ployment and licensing purposes.” 103 Stat. at 998-99 (emphasis added).
  In using the permissive “may,” rather than the mandatory “shall,” Congress
  clearly authorized, but did not require, the FBI to charge user fees.9

                                          CONCLUSION

     We conclude for the reasons stated that the FY 1990 CJS Act authorizes
  the Federal Bureau of Investigation to charge the Department of State user
  fees for FBI record check services used by the State Department to deter-
  mine whether visa applicants have criminal records and are thus ineligible for
  visas. We also conclude that the FBI’s exercise of this authority is discretionary.

                                                             J. MICHAEL LUTTIG
                                                          Assistant Attorney General
                                                           Office o f Legal Counsel




     7We agree with both the FBI and the State Department that record checks ordered by the FB I’s Intelli-
  gence or Criminal Investigative Divisions, based upon requests submitted by the State Departm ent, are
  conducted for a criminal justice purpose and thus are not subject to a user fee.
     8 In light of this conclusion, we do not address the FBI’s argument that the Economy Act, 31 U.S.C. §
   1535, is available as a separate and independent source of authority. Nor do we consider the F B I’s
  authority to charge user fees to any other particular federal agency, because to do so would require
  examination o f the particular purposes for which the services would be provided. We note, however,
  that the analytical fram ework used in this opinion will generally be applicable in the context of record
  check services provided by the FBI to other federal agencies. We also note that the conclusions and
  analysis in this opinion remain applicable for the current fiscal year because the user fee provision in
  the FY 1990 CJS Act has been reenacted verbatim in the fiscal year 1991 appropriations legislation for
  the FBI        Departm ents of Commerce, Justice, and State, the Judiciary, and Related Agencies Appro-
  priations Act, 1991, Pub. L. No. 101-515, !04Stal. 2101,2112(1990).
     ’ The provision o f record check services to the State Department for visa-related purposes does not
  implicate the rule prohibiting augmentations of agency appropriations that are not authorized by law.
                  United States General Accounting Office, Office o f General Counsel,
                              at 5-62 through 5-93 (1982). In granting the FBI discretionary authority to
  impose user fees. Congress has expressly authorized any resulting augmentation in the appropriations
  o f either the FBI or any agency to which it provides record check services.

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                        Complaint
                         Exhibit E
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                   The Authority of the Equal Employment
                  Opportunity Commission to Order a Federal
                 Agency to Pay a Monetary Award to Remedy a
                      Breach of a Settlement Agreement
    Based on principles of sovereign immunity, the Equal Employment Opportunity Commission lacks
     authority to order the Social Security Administration to pay a monetary award as a remedy for
     breach of a settlement agreement entered to resolve a dispute under Title VII of the Civil Rights Act
     of 1964.

                                                                                       August 13, 2014

                     MEMORANDUM OPINION FOR THE GENERAL COUNSEL
                          SOCIAL SECURITY ADMINISTRATION

      This memorandum responds to your letter of March 28, 2013, requesting our
   views on the authority of the Equal Employment Opportunity Commission
   (“EEOC”) to order the Social Security Administration (“SSA”) to pay a monetary
   award as a remedy for breach of a settlement agreement entered to resolve a
   dispute under Title VII of the Civil Rights Act of 1964.1 We conclude, based on
   principles of sovereign immunity, that EEOC lacks authority to order SSA to pay
   such a monetary award for breach of the settlement agreement.

                                                     I.

      Title VII of the Civil Rights Act of 1964 prohibits employment discrimination
   based on race, color, religion, sex, and national origin. 42 U.S.C. § 2000e-2(a)
   (2012). A provision of Title VII extends this prohibition to employment by the
   federal government. Title VII’s federal-sector provision states that “[a]ll personnel
   actions affecting employees or applicants for employment . . . in executive

       1
         Memorandum for Virginia A. Seitz, Assistant Attorney General, Office of Legal Counsel
   (“OLC”), from David Black, General Counsel, Social Security Administration, Re: Equal Employment
   Opportunity Commission’s Monetary Award Authority (Mar. 28, 2013). In considering SSA’s request,
   we received additional views from that agency. See E-mail for OLC from Andrew Maunz, Office of the
   General Counsel, Social Security Administration, Re: Additional Questions (June 14, 2013) (“Maunz
   E-mail”); E-mail for OLC from Jay Ortis, Director, Labor and Employment Division, Office of General
   Law, Social Security Administration, Re: Fwd: Solicitation of Views (July 17, 2013 9:58 AM). We also
   obtained the views of EEOC and the Civil Division of the Department of Justice. See Letter for John E.
   Bies, Deputy Assistant Attorney General, Office of Legal Counsel, from Peggy R. Mastroianni, Legal
   Counsel, Equal Employment Opportunity Commission, Re: Social Security Administration Request for
   OLC Opinion (July 2, 2013; E-mail for OLC from Gary Hozempa, Office of Legal Counsel, Equal
   Employment Opportunity Commission, Re: EEOC Breach of Settlement Decisions re Social Security
   Administration (July 23, 2013 2:16 PM); E-mail for OLC from Kerry A. Bollerman, Civil Division,
   Department of Justice, Re: Solicitation of Views (May 14, 2013 5:20 PM).




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   agencies . . . shall be made free from any discrimination based on race, color,
   religion, sex, or national origin.” Id. § 2000e-16(a). Congress authorized EEOC
   “to enforce the provisions of [section 2000e-16(a)] through appropriate remedies,
   including reinstatement or hiring of employees with or without back pay.” Id.
   § 2000e-16(b). In addition, Congress authorized EEOC to “issue such rules,
   regulations, orders and instructions as it deems necessary and appropriate to carry
   out its responsibilities under [section 2000e-16].” Id.
       Title VII and EEOC regulations set out a procedure for the filing, processing,
   and adjudication of complaints of unlawful discrimination in federal employment.
   The regulations, however, reflect a preference for voluntary settlement of discrim-
   ination complaints, see 29 C.F.R. § 1614.603 (2013), and treat settlement agree-
   ments as binding on the parties, id. § 1614.504(a). If a complainant believes that
   the respondent agency has failed to comply with the agreement, the regulations
   allow the complainant to “request that the terms of the settlement agreement be
   specifically implemented or, alternatively, that the complaint be reinstated for
   further processing from the point processing ceased.” Id. If EEOC determines that
   the agency is not in compliance with the settlement agreement, the regulations
   provide that EEOC may “order . . . compliance with the . . . settlement agreement,
   or, alternatively, . . . order that the complaint be reinstated for further processing
   from the point processing ceased.” Id. § 1614.504(c). The regulations further
   provide that “allegations that subsequent acts of discrimination violate a settlement
   agreement shall be processed as separate complaints . . . rather than [through
   actions to enforce the settlement].” Id.
       In 1995, a group of African-American male employees working in the Balti-
   more, Maryland headquarters of SSA filed a class complaint alleging that the
   agency had discriminated against them with respect to promotions, awards,
   bonuses, and other personnel decisions. EEOC certified the class in 1998. The
   parties subsequently decided to settle their dispute and entered into an agreement
   under which the class members received monetary and non-monetary relief in
   exchange for dismissing their complaint. See Settlement Agreement, Burden v.
   Barnhart, EEOC Case No. 120-99-6378X (Jan. 11, 2002) (“Settlement Agree-
   ment”). The Settlement Agreement made clear that it did not “represent an
   admission of liability by [SSA].” Id. at 20.
       Pertinent here, Provision III.D of the Settlement Agreement, which appears
   under the heading “Non-Monetary Relief,” reads in relevant part:

          [SSA] agrees that its policies and practices for granting performance
          awards and Quality Step Increases will be fair and equitable and
          consistent with merit principles. [SSA] agrees that it will correct any
          misapplications of its policies for granting performance awards and
          Quality Step Increases to ensure fair and equitable distribution of
          such awards, consistent with merit principles. At [SSA’s] discretion,



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             Authority of EEOC to Order Federal Agency to Pay Monetary Award


         an expert may be retained to recommend ways to assess these poli-
         cies and practices and to ensure compliance with relevant statutes,
         regulations, EEO principles, and applicable collective bargaining
         agreements in [SSA’s] awards process. Any corrections [SSA] im-
         plements will be made after providing a 30-day notice and comment
         period to the Oversight Committee. [SSA] will provide a report to
         the Administrative Judge within 6 months of the Effective Date of
         this agreement of the actions it has taken to comply with this para-
         graph.

   Id. at 10. The Settlement Agreement provided that the Administrative Judge
   (“AJ”) would “retain jurisdiction over this matter for a period of 4 years” to
   monitor compliance with the agreement. Id. at 6.
      In 2005, the class contended that SSA had not fulfilled its obligation to correct
   “misapplications of its policies for granting performance awards and Quality Step
   Increases.” The class accordingly requested that the agency provide a “corrective
   action plan.” Letter for John E. Bies, Deputy Assistant Attorney General, Office of
   Legal Counsel, from Peggy R. Mastroianni, Legal Counsel, Equal Employment
   Opportunity Commission, Re: Social Security Administration Request for OLC
   Opinion at 2 (July 2, 2013) (“EEOC Letter”). SSA responded that the expert
   analysis on which the class premised its request was flawed, and promised to hire
   another expert. Id.
      SSA delivered a second expert report to the class in 2006. That report showed
   underrepresentation of African-American males in the distribution of Quality Step
   Increases (“QSIs”), cash awards, and honor awards in certain SSA offices. In a
   September 2006 letter, SSA set forth a plan to address the areas of concern
   identified in the report and to prevent future disparities.
      The class subsequently requested that the AJ find that SSA was not in compli-
   ance with the Settlement Agreement, arguing that the agency had not offered a
   plan to correct all of the disparities revealed in the second expert report. See
   Jefferson v. Astrue, Hearing No. 120-99-6378X, slip op. at 11 (Apr. 28, 2011)
   (“OFO Decision”). The judge denied the motion as moot because SSA had
   provided the statistical information the class demanded. Id. at 12.
      The complainants appealed the AJ’s decision to EEOC’s Office of Federal
   Operations (“OFO”). In their appeal, the class members requested specific
   implementation of Provision III.D, which, they argued, included retroactive
   awards and Quality Step Increases for class members who had been unfairly
   denied those benefits. Class Brief in Support of Appeal at 13–14, Burden v.
   Astrue, EEOC Case No. 120-99-6378X (May 20, 2008) (“Class Brief in Support
   of Appeal”). SSA, on the other hand, took the position that implementation of
   Provision III.D did not include retroactive awards and Quality Step Increases. The
   Settlement Agreement, the agency contended, did not authorize prospective relief



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   for any alleged breach; while SSA had agreed to ensure that its policies for
   awarding promotions and other honors would be fair and equitable and to correct
   any misapplications of its policies, it had not agreed that the distribution of such
   benefits would be mathematically exact, or that the class members would be
   entitled to relief in the event they disagreed with the distribution of awards.
   Agency’s Response to Class’ Brief on Appeal at 8–10, Burden v. Astrue, EEOC
   Case No. 120-99-6378X (May 20, 2008) (“Agency’s Response to Class’ Brief on
   Appeal”).
      OFO, acting on behalf of the Commission, reversed the AJ’s decision. Relying
   on the 2006 expert report, OFO found that “the Agency did not ensure that its
   policies and practices for granting performance awards and QSIs were fair and
   equitable between April 1, 2003 and September 30, 2005.” OFO Decision at 18.
   OFO further found that SSA had failed to correct misapplications of its policies to
   ensure fair and equitable distribution of awards. OFO explained that there was no
   evidence to show that the policies and procedures described in SSA’s September
   2006 letter had been implemented or that the agency had effectively corrected the
   misapplication of its policy for granting performance awards and QSIs. See id. at
   19.
      Based on these conclusions, OFO determined that the complaining class mem-
   bers were “entitled to specific enforcement of the class settlement agreement.” Id.
   OFO then ordered that “all African-American males working for the Agency’s
   Headquarters Office in Baltimore, Maryland from April 1, 2003, through Septem-
   ber 30, 2005, [be] presumptively entitled to the average honor award, monetary
   award, and QSI received during the relevant time.” Id. OFO added that “the
   presumption of entitlement to the average honor award, monetary award, and QSI
   can be rebutted if the Agency can establish by clear and convincing evidence that
   an employee is not entitled to this relief.” Id. OFO remanded the case to an
   administrative judge to oversee the processing of relief, including calculating the
   total and individual amounts due. Id. at 20.
      SSA sought reconsideration of the decision, arguing that the relief awarded
   exceeded the scope of EEOC’s authority. OFO denied the motion. Jefferson v.
   Astrue, Hearing No. 120-99-6378X (Dec. 18, 2012). SSA then submitted its
   request for the views of this Office on whether EEOC had authority to order the
   agency to pay a monetary award for breach of a settlement agreement, contending
   that the absence of an applicable waiver of sovereign immunity precludes EEOC
   from ordering SSA to pay such a monetary award.




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             Authority of EEOC to Order Federal Agency to Pay Monetary Award


                                             II.

                                             A.

       The question whether EEOC has authority to issue a monetary award to remedy
   a breach of a settlement agreement by a federal agency turns on the doctrine of
   sovereign immunity, which bars suit against the federal government except to the
   extent it has consented. FDIC v. Meyer, 510 U.S. 471, 475 (1994). Consent to suit
   must be provided by Congress explicitly, in clear statutory language; ambiguous
   statements will not suffice. See Lane v. Pena, 518 U.S. 187, 192 (1996); see also
   United States v. Shaw, 309 U.S. 495, 500–01 (1940) (explaining that “without
   specific statutory consent, no suit may be brought against the United States. No
   officer by his action can confer jurisdiction”). Waivers of sovereign immunity are
   “strictly construed, in terms of [their] scope, in favor of the sovereign.” Lane, 518
   U.S. at 192. Waivers for one type of relief, such as injunctive relief, do not thereby
   waive immunity for other forms of relief, such as money damages. See id. at 195–
   96; United States v. Nordic Village, 503 U.S. 30, 34–37 (1992) (relying on
   sovereign immunity principles to construe statutory waiver of sovereign immunity
   to permit equitable but not monetary claims); cf. Library of Congress v. Shaw, 478
   U.S. 310, 317–19 (1986) (statutory waiver of immunity from attorney’s fees does
   not thereby waive immunity from interest on those fees). Rather, “[t]o sustain a
   claim that the Government is liable for awards of monetary damages, the waiver of
   sovereign immunity must extend unambiguously to such monetary claims.” Lane,
   518 U.S. at 192. We have previously explained that a statutory provision “does not
   waive sovereign immunity for monetary claims” where the provision can plausibly
   be read in a manner that would not authorize monetary relief. Authority of the
   Equal Employment Opportunity Commission to Impose Monetary Sanctions
   Against Federal Agencies for Failure to Comply with Orders Issued by EEOC
   Administrative Judges, 27 Op. O.L.C. 24, 26–27 (2003) (“Navy Opinion”) (citing
   Availability of Money Damages Under the Religious Freedom Restoration Act, 18
   Op. O.L.C. 180, 180 (1994)). The rule that suit is permitted only on the terms
   Congress has authorized extends as well to matters of forum; a waiver of immuni-
   ty for suits in one forum does not necessarily constitute a waiver in all forums. See
   Shaw, 309 U.S. at 501 (“Even when suits [against the United States] are author-
   ized[,] they must be brought only in designated courts.”).
       As we observed in a prior opinion, “[a]lthough most of the sovereign immunity
   case law arises in the context of suits before federal district courts, these principles
   apply with equal force to agency adjudications.” Navy Opinion, 27 Op. O.L.C. at
   27. “In our view, there can be no doubt that normal sovereign immunity presump-




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   tions apply” to the question whether an agency can itself grant a particular form of
   relief against the government. Id. at 28.2
       In 2003, we considered whether the statute conferring authority on EEOC to
   enforce Title VII’s federal-sector provision through “appropriate remedies,” 42
   U.S.C. § 2000e-16(b), supplied the requisite waiver of sovereign immunity to
   support an order of attorney’s fees against an agency as a sanction for failure to
   follow an administrative judge’s orders. We concluded that it did not. We
   observed that section 2000e-16(b) waives federal agencies’ immunity from suits
   seeking remedies for unlawful discrimination, but “[a]ttorney’s fees imposed as a
   sanction for failure to comply with AJ orders relating to the adjudicatory pro-
   cess . . . are not a remedy for any act of discrimination.” Navy Opinion, 27 Op.
   O.L.C. at 29. We further explained that “neither section 2000e-16(b), nor any
   other statute, contains a provision that even pertains to violations of AJ orders,
   much less provides an explicit waiver of the government’s immunity to monetary
   sanctions for violations of such orders.” Id. Finally, we rejected EEOC’s argument
   that the Federal Rules of Civil Procedure supplied the necessary waiver. “[E]ven if
   Congress had waived sovereign immunity for violations of the Federal Rules of
   Civil Procedure in federal court,” we explained, “it would not follow that it has
   also waived immunity for arguably analogous (though formally distinct) violations
   before an entirely different body where these rules do not apply.” Id. at 31.
   “Indeed, . . . the doctrine of sovereign immunity requires the exact opposite
   presumption.” Id.

                                                     B.

       Within this framework, we consider EEOC’s authority to award the monetary
   relief at issue in this case. Our 2003 opinion, SSA argues, compels the conclusion
   that EEOC may not issue such an award absent an express waiver of sovereign
   immunity. No such waiver exists, the agency urges, because Title VII waives the
   government’s immunity only for damage awards upon a finding of unlawful
   discrimination, and the Settlement Agreement included no admission of liability.
   Memorandum for Virginia A. Seitz, Assistant Attorney General, Office of Legal
   Counsel, from David Black, General Counsel, Social Security Administration, Re:
   Equal Employment Opportunity Commission’s Monetary Award Authority at 3
   (Mar. 28, 2013) (“SSA Memorandum”).

       2
         In West v. Gibson, 527 U.S. 212 (1999), the Supreme Court suggested in dicta that “ordinary
   sovereign immunity presumptions” may not apply to the question whether an agency may grant relief
   against the government when Congress has unambiguously waived sovereign immunity with respect to
   that form of relief for claims brought in district court. Id. at 217. In our 2003 opinion, we disagreed
   with that suggestion, observing that “‘[i]t is settled law that a waiver of sovereign immunity in one
   forum does not effect a waiver in other forums.’” Navy Opinion, 27 Op. O.L.C. at 27–28 (quoting
   West, 527 U.S. at 226 (Kennedy, J., dissenting)).




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       EEOC responds that our 2003 opinion is inapposite because the Commission
   did not impose sanctions on SSA for failing to comply with an AJ’s order. Rather,
   “the relief awarded . . . pertains only to SSA’s breach of an EEOC settlement
   agreement.” EEOC Letter at 10. In the past, EEOC observes, we have held that
   “an agency can award through a settlement agreement any relief which a court
   could order if a finding of prohibited discrimination were made.” Id. (citing
   Proposed Settlement of Diamond v. Department of Health and Human Services,
   22 Op. O.L.C. 257, 262 (1998) (“Diamond Opinion”)); see also Authority of
   USDA to Award Monetary Relief for Discrimination, 18 Op. O.L.C. 52, 53 (1994)
   (“USDA Opinion”). In EEOC’s view, it follows that, “when an agency breaches
   an EEO settlement, EEOC can order as relief whatever a court could award upon a
   finding of a breach.” EEOC Letter at 10. Hence, the Commission asserts, if a court
   may order monetary relief upon finding that an agency has breached a Title VII
   settlement, so too can EEOC.
       EEOC does not appear to dispute that the waiver of sovereign immunity in
   Title VII applies only to claims of unlawful discrimination and does not extend to
   monetary claims against the government for breach of a Title VII settlement. See
   EEOC Letter at 5 & n.2. Rather, EEOC argues that courts may award money
   damages for breach of a settlement agreement under the Tucker Act, which waives
   the government’s sovereign immunity with respect to claims “founded . . . upon
   any express or implied contract with the United States, or for liquidated or
   unliquidated damages in cases not sounding in tort.” 28 U.S.C. § 1491(a)(1)
   (2012). EEOC notes that in Holmes v. United States, 657 F.3d 1303 (Fed. Cir.
   2011), the Federal Circuit determined that the Court of Federal Claims may
   exercise jurisdiction under the Tucker Act over suits alleging breach of a Title VII
   settlement, provided that the agreement itself contemplates money damages in the
   event of a breach. Id. at 1311–15. The agreement at issue in this matter, EEOC
   argues, contemplates money damages in the manner Holmes requires. Therefore,
   in EEOC’s view, the Tucker Act’s waiver applies, and sovereign immunity poses
   no bar to the Commission’s order of the monetary relief at issue in this matter.
       EEOC further contends that “the fact that the waiver [of sovereign immunity]”
   is found in the Tucker Act rather than Title VII “is not significant vis-à-vis
   EEOC’s authority to award back pay.” EEOC Letter at 11. In West v. Gibson, 527
   U.S. 212 (1999), EEOC notes, the Supreme Court held that EEOC may award
   compensatory damages as an “appropriate remed[y]” for a violation of Title VII,
   42 U.S.C. § 2000e-16(b), even though the provision authorizing that form of relief
   is found in a 1991 Title VII amendment that expanded the remedial authority of
   courts without explicitly referring to EEOC proceedings. 527 U.S. at 217.
   Similarly, here, EEOC argues that the Commission has authority to award money
   damages for breach of a Title VII settlement agreement because of the waiver of
   immunity contained in the Tucker Act. A contrary conclusion, EEOC contends,
   would “strip EEOC’s authority to enforce Title VII against agencies through



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   appropriate remedies, and rob it of the ability to ensure that an agency complies
   with its Title VII settlement promises.” EEOC Letter at 11 (internal quotation
   marks omitted).

                                                      III.

                                                       A.

      We are not persuaded by EEOC’s arguments. EEOC’s reliance on the Tucker
   Act is misplaced because the Tucker Act confers jurisdiction only on the Court of
   Federal Claims to hear contractual claims against the United States exceeding
   $10,000. See 28 U.S.C. § 1491(a)(1) (“The United States Court of Federal Claims
   shall have jurisdiction to render judgment upon any claim against the United
   States founded either upon the Constitution, or any Act of Congress or any
   regulation of an executive department, or upon any express or implied contract
   with the United States, or for liquidated or unliquidated damages in cases not
   sounding in tort.”).3 That limited waiver of sovereign immunity does not authorize
   EEOC to provide a forum for such disputes. See Shaw, 309 U.S. at 501 (“Even
   when suits [against the United States] are authorized[,] they must be brought only
   in designated courts.”); cf. Minnesota v. United States, 305 U.S. 382, 388 (1939)
   (“[I]t rests with Congress to determine not only whether the United States may be
   sued, but in what courts the suit may be brought.”).

                                                       1.

      In Holmes, on which EEOC places principal reliance, the Federal Circuit de-
   termined that Title VII posed no bar to the Court of Federal Claims’ exercise of
   jurisdiction under the Tucker Act to adjudicate a claim that an agency breached a
   Title VII settlement agreement, notwithstanding Title VII’s comprehensive
   remedial scheme and its conferral of jurisdiction on federal district courts. 657
   F.3d at 1312–13.4 In so holding, the court relied on the Supreme Court’s decision
   in Kokkonen v. Guardian Life Insurance, 511 U.S. 375 (1994), which held that a
   court with jurisdiction over an underlying dispute does not necessarily also have
   jurisdiction over claims that parties have breached an agreement settling that
   dispute. Id. at 381. Rather, the Court ruled, an independent basis of jurisdiction is

      3
         28 U.S.C. § 1346, known as the “Little Tucker Act,” confers jurisdiction on United States district
   courts for claims founded “upon any express or implied contract with the United States” that do not
   exceed $10,000.
       4
         Neither party challenges this aspect of the Federal Circuit’s decision; we therefore assume that it
   is correct for purposes of this opinion. As it is irrelevant to our resolution of the question presented, we
   likewise take no position on the parties’ dispute over whether the contract at issue contemplates money
   damages. Compare EEOC Letter at 6–8 with Maunz E-mail, supra note 1.




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   generally needed for a federal court to adjudicate such breach of settlement claims.
   Id.; see Holmes, 657 F.3d at 1312–13. Following Kokkonen, the Federal Circuit
   explained that, “although the [settlement agreement] arose out of Title VII
   litigation, [the plaintiff’s] suit for breach of contract is just that: a suit to enforce a
   contract with the government.” 657 F.3d at 1312. The court therefore held that the
   case was properly heard in the Court of Federal Claims under the Tucker Act,
   rather than in the federal district courts authorized to hear claims under Title VII.
       Conversely, federal courts with jurisdiction over Title VII claims have held that
   they may not adjudicate claims for damages resulting from a federal agency’s
   breach of a Title VII settlement agreement. See Taylor v. Geithner, 703 F.3d 328,
   334 (6th Cir. 2013); see also Munoz v. Mabus, 630 F.3d 856, 861–64 (9th Cir.
   2010); Frahm v. United States, 492 F.3d 258, 262–63 (4th Cir. 2007); Lindstrom
   v. United States, 510 F.3d 1191, 1194–96 (10th Cir. 2007). Those courts have
   explained that the waiver of sovereign immunity in Title VII, which authorizes
   suits against federal agencies for unlawful discrimination, “does not expressly
   extend to monetary claims against the government for breach of a settlement
   agreement that resolves a Title VII dispute.” Frahm, 492 F.3d at 262. And while
   the waiver of sovereign immunity in the Tucker Act does extend to such claims,
   “invoking the Tucker Act is a non sequitur” in federal district court, “because
   where . . . a suit involves a claim for money damages over $10,000, the Act
   waives the government’s immunity only in the Court of Federal Claims.” Frank-
   lin-Mason v. Mabus, 742 F.3d 1051, 1054 (D.C. Cir. 2014); see id. at 1056 (“[T]he
   Tucker Act does not contain a waiver of sovereign immunity in the district court
   for breach of a Title VII settlement agreement seeking damages in excess of
   $10,000.” (emphasis added)); accord Munoz, 630 F.3d at 864 (“Because [the
   plaintiff’s] breach of settlement agreement claim is essentially a contract action
   against the federal government whose resolution requires no interpretation of Title
   VII itself, his claim cannot seek jurisdictional refuge in Title VII and belongs, if
   anywhere, in the Court of Federal Claims.”).5
       This case law highlights why, even if we were to accept EEOC’s position that it
   “can order as relief whatever a court could award upon a finding of a breach,”
   EEOC Letter at 10, that standard does not help its case. The waiver of sovereign
   immunity in the Tucker Act is limited to cases heard in the Court of Federal
   Claims. It does not waive the federal government’s immunity, either in federal
   district court or in EEOC proceedings, for claims arising from breach of a


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         Notably, “unlike the district courts, . . . the [Court of Federal Claims] has no general power to
   provide equitable relief against the Government or its officers.” United States v. Tohono O’Odham
   Nation, 563 U.S. 307, 313 (2011). And the Federal Circuit has found that “[e]xcept in strictly limited
   circumstances . . . there is no provision in the Tucker Act authorizing the Court of Federal Claims to
   order equitable relief.” Massie v. United States, 226 F.3d 1318, 1321 (2000).




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   settlement agreement. As explained above, waivers of sovereign immunity are to
   be “strictly construed, in terms of [their] scope, in favor of the sovereign.” Lane,
   518 U.S. at 192. Consequently, the Tucker Act provides no authority for EEOC to
   award money damages to remedy a federal agency’s breach of a Title VII
   settlement.

                                            2.

       The Supreme Court’s decision in West does not compel a contrary result. In
   that case, the Supreme Court construed the provision granting EEOC authority to
   enforce Title VII “through appropriate remedies,” 42 U.S.C. § 2000e-16(b), as
   including the power to order remedies Congress deemed appropriate for enforcing
   Title VII’s substantive provisions in a later Title VII amendment. 527 U.S. at 218.
   Because Congress determined that compensatory damages are an appropriate
   remedy for victims of discrimination by federal agencies in the Civil Rights Act of
   1991, the Court concluded, section 2000e-16(b) authorizes EEOC to afford such
   relief in its enforcement proceedings. Id. at 218–19.
       West provides no support for construing the limited waiver of sovereign im-
   munity in the Tucker Act to apply to breach of settlement proceedings before
   EEOC. Unlike the Civil Rights Act of 1991, which amended Title VII itself, the
   Tucker Act is an unrelated statute that predated Title VII by several decades and as
   such says nothing about the remedies Congress considered suitable to effectuate
   the aims of Title VII. Cf. id. at 218 (“[I]n context the word ‘appropriate’ most
   naturally refers to forms of relief that Title VII itself authorizes.” (emphasis
   added)). More fundamentally, this matter does not concern the scope of EEOC’s
   authority to award “appropriate remedies” for workplace discrimination, but its
   authority to award remedies for a federal agency’s breach of a settlement agree-
   ment. See Frahm, 492 F.3d at 262–63 (section 2000e-16(b) waives the govern-
   ment’s sovereign immunity with respect to substantive Title VII claims but “does
   not expressly extend to monetary claims against the government for breach of a
   settlement agreement that resolves a Title VII dispute”). The Court’s interpretation
   of the term “appropriate remedies” as it appears in Title VII provides no basis for
   reading the limited waiver of sovereign immunity in the Tucker Act to authorize
   EEOC to award monetary relief for a federal agency’s breach of a Title VII
   settlement agreement.

                                            B.

       In addition to considering EEOC’s argument that the Tucker Act allows it to
   order a compensatory remedy for breach of a settlement agreement, we have also
   considered whether EEOC’s award of monetary relief is authorized by Title VII
   itself insofar as the award constitutes an order to perform on promises SSA made
   in the Settlement Agreement—in particular, promises to “distribute performance



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   awards on a fair and equitable basis, consistent with merit principles” and “to take
   corrective action if it did not keep this promise.” See EEOC Letter at 12 (“SSA
   promised to distribute performance awards on a fair and equitable basis, consistent
   with merit principles. It also promised to take corrective action if it did not keep
   this promise. OFO found that SSA breached these promises. As relief, EEOC
   ordered SSA to take corrective action, the very corrective action which SSA
   promised to, but did not, take.”).
      As EEOC notes, this Office has repeatedly recognized that Title VII’s waiver
   of sovereign immunity means that an agency may settle an administrative Title VII
   complaint by awarding monetary relief to a complainant, even without admitting
   liability for the alleged discrimination. USDA Opinion, 18 Op. O.L.C. at 52–54;
   see Diamond Opinion, 22 Op. O.L.C. at 261 & n.6 (quoting Local No. 93, Int’l
   Ass’n of Firefighters v. City of Cleveland, 478 U.S. 501, 515 (1986)). As long as
   the intended relief does not exceed the scope of remedies available in court, the
   government’s consent to be sued for violations of Title VII ordinarily permits
   voluntary settlement of a complaint alleging such violations. See Diamond
   Opinion, 22 Op. O.L.C. at 261–62 & n.6; see also USDA Opinion, 18 Op. O.L.C.
   at 53 (explaining that, under appropriations law, “agencies have authority to
   provide for monetary relief in a voluntary settlement of a discrimination claim
   only if the agency would be subject to such relief in a court action regarding such
   discrimination brought by the aggrieved person”).
      It might follow from this principle that EEOC has authority in certain circum-
   stances to enforce a settlement agreement by ordering an agency to perform on its
   promises, even if those promises include a commitment to pay money to a
   complainant. If, for example, the agency had settled a Title VII claim by promis-
   ing to provide a particular amount of back pay or other monetary relief and the
   complainant requested specific performance of that promise, EEOC might be able
   to order that relief without violating the doctrine of sovereign immunity. In such a
   circumstance, one could argue that the dispute is not, in essence, a contract dispute
   with the federal government, but rather a continuation of the same Title VII
   proceeding that gave rise to the settlement itself. Consequently, the same waiver of
   sovereign immunity that permitted the agency to resolve the Title VII complaint
   by voluntary settlement might also permit EEOC to compel the agency to make
   good on its promise.6
      But whatever effect the waiver of sovereign immunity in Title VII might have
   on EEOC’s authority to award monetary relief in other circumstances, we do not
   believe it authorizes the monetary award at issue here. The award at issue was not


      6
        Editor’s Note: The text of this footnote has been redacted. It includes privileged information and
   addresses an issue not necessary for the discussion here.




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   an order to perform on an agreement that provided back pay or other specific
   monetary relief to settle an underlying Title VII claim alleging past misconduct.
   Rather, it was an order to perform on a promise to take corrective action in the
   future to remedy any failure to distribute performance awards and QSIs on a “fair
   and equitable basis.” EEOC Letter at 12. Based on two principal considerations,
   we conclude that, for purposes of the sovereign immunity analysis, the dispute at
   issue here cannot fairly be characterized as merely a continuation of the same Title
   VII proceeding that gave rise to the settlement itself. Accordingly, the remedy
   EEOC awarded is not authorized by the waiver of sovereign immunity that
   allowed SSA to settle the class complaint and provide relief to the claimants in the
   first place.
       The nature of the present dispute over the meaning and application of Provision
   III.D illustrates that the dispute was not merely a continuation of the Title VII
   claim that gave rise to the settlement, but rather a distinct proceeding beyond the
   scope of the waiver of sovereign immunity upon which the settlement rested. First,
   the present dispute does not concern a specific settlement term that imposes clear
   obligations on the SSA—such as an agreement to provide a particular sum in back
   pay—but instead concerns SSA’s alleged failure to comply with a non-specific
   prospective promise to “correct any misapplications of its policies for granting
   performance awards and Quality Step Increases to ensure fair and equitable
   distribution of such awards, consistent with merit principles.” Settlement Agree-
   ment at 10. As SSA points out, in agreeing to this provision, it neither expressly
   consented to a particular numerical distribution of awards and QSIs, nor expressly
   agreed that the class members would be entitled to monetary relief in the event
   that they were dissatisfied with the number of awards and promotions received.
   Agency’s Response to Class’ Brief on Appeal at 8–10. Provision III.D, SSA
   observes, “contains no discussion of a monetary component and neither memorial-
   izes nor evidences a meeting of the minds between the parties that all class
   members could receive the average monetary award, or any monetary award for
   that matter, for the oversight period.” SSA Memorandum at 3–4. Rather, in SSA’s
   view, the disputed settlement term simply required compliance with merit
   principles and active oversight of its policies for issuing promotions and perfor-
   mance awards. See Maunz E-mail, supra note 1 (“[S]pecific enforcement [of
   Provision III.D] could include an ordered review of the agency’s policies, perhaps
   even by an expert.”). As a consequence, the proceedings regarding the enforce-
   ment dispute at issue required not only extensive debate over the meaning of
   SSA’s promise to distribute awards and QSIs on a “fair and equitable basis” and to
   “correct any misapplications of its policies,” but also extensive fact-finding




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   regarding SSA’s post-settlement conduct to determine whether the relevant
   standards had been met. See OFO Decision at 16–19.7
       Second, the present dispute does not concern monetary remedies for the alleged
   Title VII violations underlying the settlement, but monetary remedies for failure to
   comply with a settlement term governing SSA’s future conduct, i.e., SSA’s failure
   to distribute performance awards and QSIs on a “fair and equitable” basis after the
   settlement was reached. That is apparent from the extensive fact-finding required
   to determine SSA’s compliance with Provision III.D—if the monetary remedy
   awarded to the class members in the present dispute rested on the conduct that
   gave rise to their initial Title VII claims, there would have been no need for such
   additional fact-finding because those claims were resolved by the Settlement
   Agreement. It is, at a minimum, questionable whether the waiver of sovereign
   immunity in Title VII that permitted SSA to enter the Settlement Agreement in the
   first place would also permit SSA to promise to provide a monetary remedy in the
   event it failed to abide by a promise to refrain from particular conduct in the
   future. We have previously observed that, consistent with limitations on agencies’
   ability to compromise or abandon claims made against the United States in
   litigation, “settlement of a discrimination claim should be based on the agency’s
   good faith assessment of the litigation risk that a court might find complainants
   entitled to relief” based on the claims raised in their complaint. Diamond Opinion,
   22 Op. O.L.C. at 262. An agreement to provide monetary relief in the event of
   future noncompliance with a term of the settlement agreement would arguably be
   an impermissible agreement to compensate complainants for injuries not alleged in
   their complaint. Such conduct would not be at issue if the complainants were to
   proceed to court on their original claim. As such, an agreement to provide

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         Although OFO characterized its order as “specific enforcement” of the Settlement Agreement, we
   note that OFO’s order appears more akin to a legal remedy for breach than the equitable remedy of
   specific performance as that term is generally understood in contract law. The Supreme Court has
   observed that specific performance requires an agreement that is “certain, fair, and just in all its parts.”
   Dalzell v. Dueber Watch-Case Mfg. Co., 149 U.S. 315, 325 (1893). “‘The contract which is sought to
   be specifically executed ought not only to be proved,’” the Court explained, “‘but the terms of it should
   be so precise as that neither party could reasonably misunderstand them.’” Id. at 326 (quoting Colson v.
   Thompson, 15 U.S. (2 Wheat) 336, 341 (1817)). Accordingly, “‘[i]f the contract be vague or
   uncertain . . . a court of equity will not exercise its extraordinary jurisdiction to enforce it, but will
   leave the party to his legal remedy.’” Id. (quoting Colson, 15 U.S. (2 Wheat) at 341); see also
   Restatement (Second) of Contracts § 368 (1981) (“Specific performance . . . will not be granted unless
   the terms of the contract are sufficiently certain to provide a basis for an appropriate order.”).
       In determining that the class members were presumptively “entitled to the average honor award,
   monetary award, and QSI” (a number unknown at the time of decision), we do not believe that OFO
   enforced a term “‘so precise as that neither party could reasonably misunderstand [it].’” Dalzell, 149
   U.S. at 326 (quoting Colson, 15 U.S. (2 Wheat) at 341); cf. TAS Distributing Co., Inc. v. Cummins
   Engine Co., Inc., 491 F.3d 625, 637 (7th Cir. 2007) (rejecting claim that district court abused its
   discretion in refusing to order defendant to specifically perform on its “obligation to make ‘all
   reasonable efforts’ to manufacture and market the subject technology”).




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   monetary compensation for future noncompliance would raise significant ques-
   tions about whether the agency had acted in a manner consistent with its obliga-
   tion to provide settlement remedies based on a “good faith assessment” of the
   complainants’ likely recovery from the pending complaint.8
      For both of these reasons, taken together, we conclude that the dispute at issue
   was not merely a continuation of the underlying Title VII proceedings that resulted
   in the Settlement Agreement, and that the waiver of sovereign immunity upon
   which the settlement rested therefore cannot be said to authorize the award EEOC
   provided to remedy SSA’s alleged failure to comply with Provision III.D of the
   Settlement Agreement.9

                                                     IV.

       We conclude that the doctrine of sovereign immunity precludes the monetary
   relief ordered in this case.

                                                               JOHN E. BIES
                                                       Deputy Assistant Attorney General
                                                           Office of Legal Counsel




      8
         We do not suggest that an agency is precluded from including in a settlement its promise not to
   discriminate in the future. Title VII explicitly authorizes courts to enjoin agencies from engaging in
   unlawful employment practices. 42 U.S.C. § 2000e-5(g)(1). And we have recognized that “an
   appropriate remedy under Title VII . . . may include relief, including injunctive relief, that will make
   the plaintiff whole, prevent future violations of the act, and prevent retaliation against complainants.”
   Diamond Opinion, 22 Op. O.L.C. at 263. Because agencies may settle a discrimination claim and
   award any relief that would be available in court, a promise to refrain from discriminatory behavior in
   the future would be entirely proper.
       9
         As noted in Part I, EEOC’s regulations provide that “allegations that subsequent acts of discrimi-
   nation violate a settlement agreement shall be processed as separate complaints . . . rather than [through
   actions to enforce the settlement].” 29 C.F.R. § 1614.504(c). In proceedings before OFO, SSA argued
   that this provision precluded the class from receiving relief on their claims that the agency’s unequal
   post-settlement distribution of awards violated the Settlement Agreement. We express no view on this
   question, and do not address the scope of EEOC’s regulations. Rather, we consider the fact that EEOC
   effectively compensated the class members for discrimination that followed the settlement only insofar
   as that fact informs our view that the Commission’s award is barred by the doctrine of sovereign
   immunity.




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                  Payment of Back Wages to Alien Physicians
                     Hired Under the H-1B Visa Program
   The statute authorizing the H-1B visa program does not waive the federal government’s sovereign
     immunity. Therefore, an administrative award of back wages to alien physicians hired by the
     Department of Veterans Affairs under the program is barred by sovereign immunity.

                                                                              February 11, 2008

                   MEMORANDUM OPINION FOR THE GENERAL COUNSEL
                        DEPARTMENT OF VETERANS AFFAIRS
                              AND THE SOLICITOR
                             DEPARTMENT OF LABOR

       The Department of Labor (“DOL”) has determined that the Department of
   Veterans Affairs (“VA”) failed to pay the required prevailing wage to eleven alien
   physicians employed by VA hospitals pursuant to the H-1B visa program. VA
   requested our opinion regarding its statutory authority to pay back wages pursuant
   to the DOL order. DOL also provided its views on this issue. Before resolving the
   merits of this dispute, we requested additional views from both agencies regarding
   whether sovereign immunity bars the award of such monetary relief in an adminis-
   trative proceeding. We now conclude that the statute authorizing the H-1B
   program does not waive the federal government’s sovereign immunity, and the
   award of back wages is therefore barred.

                                                 I.

       The H-1B visa program (which takes its name from the paragraph of the Immi-
   gration and Nationality Act (“INA”) in which it is codified) allows aliens to enter the
   United States on a temporary basis to perform certain specialty occupations,
   including the practice of medicine. See 8 U.S.C. § 1101(a)(15)(H)(i)(b) (2000). In
   order to obtain an H-1B visa, the alien’s prospective “employer” (a term not defined
   in the Act) must submit a “labor condition application” to the Secretary of Labor. As
   part of that application, the employer must agree to pay wages that are at least “the
   actual wage level paid by the employer” to similarly situated employees or “the
   prevailing wage level” in the area, whichever is greater. Id. § 1182(n)(1)(A) (2000).
   The INA charges the Secretary of Labor with investigating and resolving any
   complaints over the employer’s compliance with those conditions. See id.
   § 1182(n)(2)(A). Should the Secretary find, after a hearing, that “an employer has
   not paid wages at the wage level specified under the application,” then the Secretary
   “shall order the employer to provide for payment of such amounts of back pay as
   may be required to comply.” Id. § 1182(n)(2)(D).
       Two VA hospitals submitted labor condition applications and hired eleven
   physicians under the H-1B program. The hospitals set the physicians’ pay based



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   on VA’s government pay scale. See 38 U.S.C. § 7404(b) (Supp. V 2005). Most of
   the physicians also received additional pay pursuant to VA’s special pay authori-
   ties. See id. §§ 7431–7433 (Supp. V 2005). Several years later, the physicians filed
   administrative complaints asserting that the hospitals had failed to pay them the
   prevailing wages for the areas in which they were employed. The DOL Adminis-
   trative Review Board ruled in the complainants’ favor and ordered the VA to pay
   approximately $230,000 in back wages.

                                            II.

      The principles governing sovereign immunity are well-established. As the
   Supreme Court has recognized, “[a]bsent a waiver, sovereign immunity shields the
   Federal Government and its agencies from suit.” FDIC v. Meyer, 510 U.S. 471,
   475 (1994); see also United States v. Mitchell, 463 U.S. 206, 212 (1983) (“It is
   axiomatic that the United States may not be sued without its consent.”). Sovereign
   immunity bars any action against the United States if “the judgment sought would
   expend itself on the public treasury or domain, or interfere with the public
   administration, or if the effect of the judgment would be to restrain the Govern-
   ment from acting, or to compel it to act.” Dugan v. Rank, 372 U.S. 609, 620
   (1963) (internal quotation marks and citation omitted). The Executive Branch has
   no authority to waive the federal government’s sovereign immunity; rather, that
   authority rests solely with Congress. See, e.g., United States v. Shaw, 309 U.S.
   495, 500–01 (1940) (explaining “that without specific statutory consent, no suit
   may be brought against the United States. No officer by his action can confer
   jurisdiction.”); United States v. N.Y. Rayon Importing Co., 329 U.S. 654, 660
   (1947) (“It has long been settled that officers of the United States possess no
   power through their actions to waive an immunity of the United States.”). And the
   terms of any statutory waiver must be unambiguous, both as to the nature of relief
   that may be ordered and the forum in which the relief may be sought. See, e.g.,
   Lane v. Pena, 518 U.S. 187, 192 (1996).
      Because Congress has the sole authority to set the terms of any waiver, an
   administrative agency has no more authority to prosecute or adjudicate a claim
   against the federal government than does a federal court. The federal courts
   accordingly have applied the same sovereign immunity principles in reviewing
   administrative adjudications as they have in federal court suits. See, e.g., United
   States v. Nordic Village, Inc., 503 U.S. 30, 37 (1992) (applying sovereign
   immunity principles to bankruptcy proceedings); Ardestani v. INS, 502 U.S. 129,
   137 (1991) (holding that sovereign immunity bars fee award to prevailing party in
   INS proceeding); Foreman v. Dep’t of Army, 241 F.3d 1349, 1352 (Fed. Cir. 2001)
   (applying sovereign immunity principles to conclude that the Merit Systems
   Protection Board lacks authority to impose monetary damages); cf. Fed. Mar.




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        Payment of Back Wages to Alien Physicians Hired Under the H-1B Visa Program


   Comm’n v. S.C. State Ports Auth., 535 U.S. 743, 76061 (2002) (state sovereign
   immunity applies in federal administrative proceeding). 1
       This Office likewise has recognized that sovereign immunity principles “apply
   with equal force to agency adjudications.” Authority of the Equal Employment
   Opportunity Commission to Impose Monetary Sanctions Against Federal Agencies
   for Failure to Comply With Orders Issued by EEOC Administrative Judges, 27
   Op. O.L.C. 24, 27 (2003) (“EEOC Opinion”). For instance, we recently concluded
   that sovereign immunity prevents the EEOC from imposing an attorney’s fee
   award against the federal government during an administrative adjudication. Id. at
   33. We also found that the USDA generally lacks the authority to award monetary
   relief to individuals whom it finds to have been discriminated against in USDA
   programs. See Authority of USDA to Award Monetary Relief for Discrimination,
   18 Op. O.L.C. 52 (1994) (“USDA Opinion”). And we found that the Special
   Counsel for Immigration Related Unfair Employment Practices may not bring
   administrative employment claims against a federal agency because the anti-
   discrimination statute in question did not expressly include the federal government
   within its ambit. See Enforcement Jurisdiction of the Special Counsel for Immigra-
   tion Related Unfair Employment Practices, 16 Op. O.L.C. 121 (1992) (“Special
   Counsel Opinion”); see also Waiver of Sovereign Immunity With Respect to
   Whistleblower Provisions of Environmental Statutes, 29 Op. O.L.C. 171, 174
   (2005) (concluding that Clean Water Act whistleblower provision does not waive
   federal government’s sovereign immunity).
       Notwithstanding these decisions, DOL contends that sovereign immunity
   should not apply to enforcement actions between two federal agencies. In support,
   DOL relies principally upon our opinion in EPA Assessment of Penalties Against
   Federal Agencies for Violation of the Underground Storage Tank Requirements of
   the Resource Conservation and Recovery Act, 24 Op. O.L.C. 84 (2000) (“EPA
   Opinion”), where, in concluding that the statute at issue clearly granted the EPA
   the authority to assess administrative penalties against federal agencies, we
   observed that “the doctrine of sovereign immunity does not apply to enforcement
   actions by one federal government agency against another.” Id. at 88. In another
   opinion, we observed that with respect to a dispute between two agencies, a
   sovereign immunity issue “would only arise if the judicial enforcement aspect of
   the enforcement scheme were found applicable.” Authority of Department of
   Housing and Urban Development to Initiate Enforcement Actions Under the Fair
   Housing Act Against Other Executive Branch Agencies, 18 Op. O.L.C. 101, 104
   n.4 (1994) (“HUD Opinion”).



       1
         Cases addressing state sovereign immunity may provide some guidance, as the Supreme Court has
   applied similar principles in the state and federal sovereign immunity contexts. See, e.g., Nordic
   Village, 503 U.S. at 37.




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      These opinions suggest that an administrative action, consisting of a dispute
   between two federal agencies, and resolved entirely within the Executive Branch,
   would not constitute a “suit” against the United States. See Special Counsel
   Opinion, 16 Op. O.L.C. at 124 n.3 (“We assume for purposes of this opinion that
   sovereign immunity would not bar administrative proceedings in which one
   executive agency would press charges against another executive agency and final
   decisional authority would be vested in the Executive.”) (emphasis added). In such
   a context, the resulting administrative penalty would neither “expend itself on the
   public treasury or domain,” Dugan, 372 U.S. at 620, nor result in a judicial order
   requiring or prohibiting agency action. Instead, the administrative penalty would
   amount simply to the transfer of money from one part of the federal government to
   another. See Special Counsel Opinion, 16 Op. O.L.C. at 124 n.4 (“The assessment
   of a civil penalty against a federal agency in a sense would not expend itself upon
   the fisc, because it would not have any net effect on the Treasury balance.”).
      Although some language in the EPA and HUD Opinions may be in tension with
   our subsequent recognition that sovereign immunity principles “apply with equal
   force to agency adjudications,” EEOC Opinion, 27 Op. O.L.C. at 27, we need not
   resolve that tension here, because the dispute between DOL and VA does not fall
   wholly within the Executive Branch. Rather, DOL’s order follows an administra-
   tive adjudication brought at the behest, and on behalf, of private parties—namely,
   the H-1B physicians. In the VA cases, DOL has ordered the payment of back pay
   awards that would go directly to the physicians in question—relief that clearly
   would “expend itself on the public treasury,” Dugan, 372 U.S. at 620. As the D.C.
   Circuit has recognized, sovereign immunity applies to actions like these, which are
   “brought by a government official acting for the benefit of private parties.” Dep’t
   of Army v. FLRA, 56 F.3d 273, 276 (D.C. Cir. 1995); see also Hubbard v. MSPB,
   205 F.3d 1315, 1317 (Fed. Cir. 2000) (affirming MSPB’s holding that sovereign
   immunity barred its award of back pay against EPA).
      DOL disagrees with this characterization and maintains that it should not be
   regarded as “acting for the benefit of private parties,” but rather should be seen as
   representing the public interest in enforcing the conditions on the H-1B program.
   DOL points out that the prevailing wage provisions of the H-1B program are not
   primarily intended to reward alien physicians, but rather to protect the wages of
   American workers from cheaper foreign competition. This may be so, but the
   argument does not bear on the sovereign immunity question. Federal agencies may
   represent the public interest through a wide variety of actions, but they do not have
   the authority to permit private parties to bring judicial or administrative suits
   against the government, or to order another federal agency to pay money judg-
   ments to private parties, unless Congress has unambiguously waived sovereign
   immunity.




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       Payment of Back Wages to Alien Physicians Hired Under the H-1B Visa Program


                                            III.

       We consider then whether Congress waived sovereign immunity for DOL
   administrative proceedings brought against federal employers under section
   212(n)(2) of the INA. See 8 U.S.C. § 1182(n)(2). The Supreme Court has made
   clear that any waiver of the federal government’s sovereign immunity “must be
   unequivocally expressed in statutory text . . . and will not be implied.” Lane, 518
   U.S. at 192 (citations omitted); see also Nordic Village, 503 U.S. at 37 (a reading
   of a statute that imposes monetary liability on the government will not be adopted
   unless it is “unambiguous”). Waivers of immunity are “construed strictly in favor
   of the sovereign and not enlarged beyond what the language requires.” Dep’t of
   Energy v. Ohio, 503 U.S. 607, 615 (1992) (internal quotation marks, citations, and
   alterations omitted). If an alternative reading of a statutory provision is available,
   then Congress has not waived sovereign immunity. See Nordic Village, 503 U.S.
   at 37.
       In this regard, we take it as a given that the fact that a VA hospital may qualify
   as an employer under the H-1B visa program does not conclusively establish that
   Congress waived sovereign immunity. Federal agencies may well be subject to
   substantive obligations when participating in a particular statutory program
   without falling subject to the statute’s remedial provisions. See, e.g., Dep’t of
   Energy, 503 U.S. at 623 (distinguishing among “substantive and procedural
   requirements” of statute, “administrative authority,” and “process and sanctions”);
   see also USDA Opinion, 18 Op. O.L.C. at 72 (concluding that although antidis-
   crimination provisions of both Fair Housing Act and Rehabilitation Act expressly
   apply to the federal government, these statutes do not waive sovereign immunity
   for monetary relief); Shaw, 309 U.S. at 500–01 (sovereign immunity may be
   waived only by Congress through statute, not by actions of Executive Branch
   officers). In the Eleventh Amendment context, the Supreme Court has held that
   states do not waive their constitutional immunity merely by participating in a
   federal program, even though the relevant statutes expressly contemplate that
   states fall within the class of beneficiaries. See, e.g., Atascadero State Hosp. v.
   Scanlon, 473 U.S. 234, 245–47 (1985) (although Rehabilitation Act applies to
   states, state does not waive Eleventh Amendment immunity by participating in
   program); Edelman v. Jordan, 415 U.S. 651, 673–74 (1974) (mere fact that state
   participated in federal aid program does not waive Eleventh Amendment immuni-
   ty, which bars retroactive award of benefits). Accordingly, the question is not
   whether federal agencies, such as VA, may hire workers through the H-1B visa
   program, but whether Congress has unambiguously determined that those agencies
   shall be subject to DOL’s remedial authority to adjudicate administrative com-
   plaints under the H-1B program and to award back pay.
       We are unable to find such an unambiguous waiver in this case. Congress did
   not expressly address the federal government’s sovereign immunity anywhere in
   the H-1B program. Nor did Congress clearly provide that a federal employer



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   would be subject to DOL’s remedial authority under section 212(n)(2) of the INA.
   See 8 U.S.C. § 1182(n)(2). Section 212(n)(2) does not contain a definition of
   “employer,” nor is the term otherwise defined for purposes of the H-1B program.
   We have recognized that general terms such as “employer” or “person” “should
   not be read to include federal agencies in the absence of affirmative evidence that
   Congress intended that they be included.” Special Counsel Opinion, 16 Op. O.L.C.
   at 124; see also United States v. United Mine Workers, 330 U.S. 258, 270 (1947)
   (declining to construe “employer” under the Norris-LaGuardia Act to include the
   United States “where there is no express reference to the United States and no
   evident affirmative grounds for believing that Congress intended to withhold an
   otherwise available remedy [obtaining a restraining order] from the Govern-
   ment”). 2 That rule of construction would preclude the finding of an “unambigu-
   ous” waiver of sovereign immunity, unless some other provision of the INA made
   clear that federal agencies must be included under the back pay provisions of
   section 212(n)(2). 3
       Seeking to identify such provisions, DOL points to several that it asserts show
   Congress’s expectation that federal agencies would fall within the scope of the
   term “employer” for purposes of section 212(n)(2). The first provision, 8 U.S.C.
   § 1184(l)(1) (2000), allows an “interested Federal agency” to request the waiver of
   a foreign residence requirement for alien graduate students who, following their
   education, seek to remain in the United States for employment at a health care
   facility. The statute specifically addresses “the case of a request by the Department
   of Veterans Affairs” for a waiver on behalf of an alien who “agrees to practice
   primary care or specialty medicine.” Id. § 1184(l)(1)(D)(i) (Supp. V 2005). This
   provision, however, does not apply only to applicants for H-1B visas, but also to
   aliens seeking other types of immigration benefits. The provision likewise does
   not directly refer to DOL’s remedial authority under section 212(n)(2). According-

      2
         The Secretary of Labor has defined “employer” by regulation to mean “a person, firm, corpora-
   tion, contractor, or other association or organization in the United States that has an employment
   relationship with H-1B . . . nonimmigrants and/or U.S. worker(s).” 20 C.F.R. § 655.715 (2007); see
   also 8 C.F.R. § 214.2(h)(4)(ii) (2007) (similar definition in Department of Homeland Security regula-
   tions). This regulatory definition could not waive the federal government’s sovereign immunity, be-
   cause the waiver “must be unequivocally expressed in statutory text.” Lane, 518 U.S. at 192. We note,
   however, that like the statute, this regulatory definition is ambiguous as to whether federal agencies fall
   within its ambit, because neither “person” nor “other association or organization in the United States”
   clearly includes federal agencies. See, e.g., Vt. Agency of Natural Res. v. United States, 529 U.S. 765,
   780 (2000) (noting “longstanding interpretive presumption that ‘person’ does not include the sover-
   eign”).
       3
         The lack of an explicit waiver in the H-1B statute contrasts sharply with other statutes expressly
   authorizing one federal agency to enforce the statute’s requirements against another federal agency.
   See, e.g., 42 U.S.C. § 2000e-16(b) (2000) (authorizing EEOC to enforce antidiscrimination provisions
   of Title VII against federal agencies in administrative proceedings, including through award of back
   pay); id. § 6903(15) (2000) (defining “person” to “include each department, agency, and instrumentali-
   ty of the United States” for purposes of DOL’s administrative enforcement of whistleblower provisions
   of Solid Waste Disposal Act).




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        Payment of Back Wages to Alien Physicians Hired Under the H-1B Visa Program


   ly, we cannot regard this provision as an unequivocal waiver of sovereign
   immunity for the award of back pay.
      DOL also points to a 1998 amendment to the INA prescribing special rules for
   an H-1B employer that is “an institution of higher education . . . or a related or
   affiliated nonprofit entity; or . . . a nonprofit research organization, or a Govern-
   mental research organization,” 8 U.S.C. § 1182(p)(1) (2000). With respect to
   institutions and organizations covered by this provision, “the prevailing wage level
   shall only take into account employees at such institutions and organizations in the
   area of employment.” Id. In addition, such employers are exempt from paying the
   H-1B filing fee, id. § 1184(c)(9)(A) (Supp. V 2005), and from the annual numeri-
   cal limitations on H-1B visas, id. § 1184(g)(5). DOL reasons that Congress’s
   efforts to prescribe special rules for “Governmental research organizations”
   demonstrates an understanding that federal agencies as a class would be H-1B
   employers. The statute does not define the term “Governmental research organiza-
   tion,” however. 4 Even assuming that this term includes certain federal government
   entities such as the National Institutes of Health, it could not be read unambigu-
   ously to waive sovereign immunity for all federal agencies under section
   212(n)(2). The 1998 amendment demonstrates that Congress did address one way
   in which the prevailing wage requirement might impact universities, nonprofit
   organizations, and some government research entities. 5 Congress spoke with no
   such clarity, however, as to whether federal agencies generally could be subject to
   administrative complaints and the award of monetary relief.
      Finally, section 212(j)(2) of the INA permits an H-1B nonimmigrant who is a
   medical school graduate, but who has not fulfilled certain licensing requirements,
   to teach or conduct research for “a public or nonprofit private educational or
   research institution or agency in the United States.” 8 U.S.C. § 1182(j)(2) (2000).
   Once again, this phrase is ambiguous. An “educational or research institution or
   agency in the United States” does not clearly include federal agencies. Even if this
   phrase does signal that a federal agency may be an employer under the H-1B
   program, the phrase neither appears in the definition portion of the statute, nor in
   the remedial provisions. Insofar as a waiver of sovereign immunity “must be
   unequivocally expressed in statutory text . . . and will not be implied,” Lane, 518



       4
         DOL regulations define this term to mean “a United States Government entity whose primary
   mission is the performance or promotion of basic research and/or applied research.” 20 C.F.R.
   § 656.40(e)(1) (2007).
       5
         The legislative history of this provision indicates that Congress recognized a distinction between
   private entities and the nonprofit or government entities in question. The Senate Report on a bill
   containing an earlier version of this provision noted that it “separates the prevailing wage calculations
   between academic and research institutions and other nonprofit entities and those for for-profit
   businesses. . . . The bill establishes in statute that wages for employees at colleges, universities,
   nonprofit research institutes, and other nonprofit entities must be calculated separately from industry.”
   S. Rep. No. 105-186, at 29–30 (1998).




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   U.S. at 192, we cannot read this provision as an express waiver of sovereign
   immunity.
      We agree with DOL that these provisions, taken together, suggest that Congress
   contemplated that certain federal entities may file applications as employers under
   the H-1B program, but we do not regard these suggestions as the unambiguous
   text required to subject the United States to liability for back pay judgments. The
   Supreme Court has demanded a “clear statement” of waiver so as to ensure that
   Congress directly considers the consequences of exposing the federal government
   to suit and potential financial liability. As the initial dispute between DOL and VA
   demonstrates, it is hardly clear that Congress gave such consideration in enacting
   the INA provisions governing the H-1B program. Indeed, the INA makes no
   provision for the potential conflict between the INA’s “prevailing wage” require-
   ment and the pay scales established by the federal civil service laws. Nor did
   Congress address this conflict in 1998, when it created certain exceptions to the H-
   1B rules for educational and research entities, but made no express provision for
   federal agencies other than “Governmental research organizations.”
      The present dispute between VA and DOL itself constitutes evidence that
   Congress did not directly consider the consequences of applying the H-1B
   program to federal employers, much less that it considered the consequences of
   waiving sovereign immunity and exposing the VA hospitals to financial liability.
   VA originally requested our advice as to whether it had the statutory authority to
   depart from civil service pay scales and pay a prevailing wage. The uncertainty
   over that question reflects the fact that in contrast to other federal laws, here,
   Congress did not clearly address the impact of the H-1B program on federal pay
   statutes. See, e.g., 10 U.S.C. § 2164(e) (2000) (authorizing Secretary of Defense to
   appoint school staff “without regard to the provisions of any other law relating to
   the number, classification, or compensation of employees” based on consideration
   of compensation paid to comparable employees by local educational agencies in
   the State in which the military installation is located); 42 U.S.C. § 288-4(c)(3)
   (2000) (authorizing Director of National Institutes of Health to appoint certain
   individuals “without regard to the provisions of title 5 relating to appointment and
   compensation”). Congress’s silence on this issue demonstrates why a clear
   statement of a waiver is required and further supports the conclusion that the INA
   does not constitute an “unambiguous” waiver of sovereign immunity.

                                            IV.

      DOL requests that if we find that the administrative awards of back pay are
   barred by sovereign immunity, we nonetheless clarify that VA must comply with
   the prevailing wage requirements in future cases. We agree that VA should not file
   a labor condition application seeking DOL approval under the H-1B program
   unless VA is able, under its statutory pay authorities, to honor the prevailing wage
   requirements of that application. Although VA has no authority to pay an H-1B



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        Payment of Back Wages to Alien Physicians Hired Under the H-1B Visa Program


   employee compensation beyond what is authorized by its pay statutes, see, e.g.,
   Kizas v. Webster, 707 F.2d 524, 535–37 (D.C. Cir. 1983), VA’s special pay
   authorities do appear to provide it with sufficient flexibility to enable the Depart-
   ment to pay the prevailing wage in many instances. Should VA determine that it
   underpaid employees wages to which they were entitled under the law, we agree
   with DOL that VA may correct that error to the extent that it could have paid the
   higher wage in the first instance. See, e.g., 3 General Accounting Office, Princi-
   ples of Federal Appropriations Law 12-5 (2d ed. 1994) (recognizing that an
   agency has authority to pay an employee money erroneously not paid). In the
   absence of a clear waiver of sovereign immunity, however, VA may neither be
   required to defend itself in an administrative proceeding nor compelled to pay
   back wages as a result of that administrative proceeding. 6
       Congress, of course, provided an additional mechanism for ensuring compliance
   with these requirements by granting DOL the authority to review labor condition
   applications in advance and to deny any that do not meet the statutory requirements.
   Cf. In re Hunter Holmes McGuire Veterans Affairs Med. Ctr., No. 94-INA-00210,
   1996 WL 616606, at *1 (Bd. Alien Labor Cert. App. Oct. 7, 1996) (affirming denial
   of labor certification where VA hospital was unable under federal law to offer
   prevailing wage to anesthesiologist; finding “that the labor certification regulations
   do not provide an exception, either express or implied, for a Federal wage sched-
   ule”). It is true that the statute permits DOL to review applications “only for
   completeness and obvious inaccuracies.” 8 U.S.C. § 1182(n). Still, an employer’s
   failure to list an acceptable source of prevailing wage data, as we understand
   occurred with respect to the applications submitted by some of the VA hospitals in
   question, would seem to fall within the scope of that review. Congress’s failure to
   waive sovereign immunity may limit DOL’s ability to enforce the H-1B require-
   ments retrospectively, but DOL retains authority to ensure compliance at the front-
   end through its review of these applications before an alien may receive an H-1B
   visa.

                                                            STEVEN A. ENGEL
                                                      Deputy Assistant Attorney General
                                                          Office of Legal Counsel




        6
          We note in this regard that sovereign immunity does not apply simply to awards of retrospective
   relief, such as back pay. Rather, sovereign immunity also would prevent a private party from bringing an
   administrative action against VA under the INA’s retaliation provision, 8 U.S.C. § 1182(n)(2)(C)(iv), or
   requiring VA to reinstate an employee after such a proceeding. See, e.g., Dugan, 372 U.S. at 620
   (sovereign immunity bars an action against the United States “if the effect of the judgment would be to
   restrain the Government from acting, or to compel it to act”).




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  APPLICABILITY OF THE EMOLUMENTS CLAUSE AND THE FOREIGN
 GIFTS AND DECORATIONS ACT TO THE PRESIDENT’S RECEIPT OF THE
                     NOBEL PEACE PRIZE

       The Emoluments Clause of the Constitution does not apply to the President’s receipt of the Nobel
Peace Prize.

        The Foreign Gifts and Decorations Act does not bar the President from accepting the Peace
Prize without congressional consent.

                                                         December 7, 2009

                                  MEMORANDUM OPINION FOR
                                THE COUNSEL TO THE PRESIDENT

        This memorandum concerns whether the President’s receipt of the Nobel Peace Prize
would conflict with the Emoluments Clause of the Constitution, which provides that “no Person
holding any Office of Profit or Trust under [the United States], shall, without the Consent of the
Congress, accept of any present, Emolument, Office, or Title, of any kind whatever, from any
King, Prince, or foreign State.” U.S. Const. art. I, § 9, cl. 8. As we previously explained in our
oral advice and now explain in greater detail, because the Nobel Committee that awards the
Peace Prize is not a “King, Prince, or foreign State,” the Emoluments Clause does not apply.
You have also asked whether the Foreign Gifts and Decorations Act, 5 U.S.C. § 7342 (2006),
bars the President from receiving the Peace Prize. Here, too, we confirm our previous oral
advice that it does not.

                                                   I.

        On October 9, 2009, the Norwegian Nobel Committee (the “Peace Prize Committee”
or the “Committee”), headquartered in Oslo, Norway, announced that the President will be this
year’s recipient of the Nobel Peace Prize. The 2009 Peace Prize, which will consist of ten
million Swedish Kroner (or approximately $1.4 million), a certificate, and a gold medal bearing
the image of Alfred Nobel, is expected to be awarded by the Nobel Committee to the President
on December 10, 2009—the anniversary of Nobel’s death. See Statutes of the Nobel Foundation
§ 9, available at http://nobelprize.org/nobelfoundation/statutes.html (last visited Nov. 24, 2009)
(“Nobel Foundation Statutes”); see also The Nobel Prize Amounts, available at
http://nobelprize.org/nobel_prizes/amounts.html (last visited Nov. 24, 2009).

        The Peace Prize is a legacy of Swedish chemist Alfred Bernhard Nobel. In his will,
Nobel directed that a portion of his wealth be used to establish a set of awards, one of which, the
Peace Prize, was intended to honor the person or entity that “shall have done the most or the best
work for fraternity between nations, for the abolition or reduction of standing armies and for the
holding and promotion of peace congresses.” Nobel Foundation Statutes § 1 (setting forth the
pertinent provision of Nobel’s will). The relevant assets of the Nobel estate have been managed
since 1900 by the Nobel Foundation, a private institution based in Stockholm, Sweden. See
Birgitta Lemmel, The Nobel Foundation: A Century of Growth and Change (2007), available
at http://nobelprize.org/nobelfoundation/history/lemmel (last visited Nov. 24, 2009). The
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Foundation is responsible for managing the assets of the bequest in such a manner as to provide
for the annual award of the Nobel prizes and the operation of the prize-awarding bodies,
including the Nobel Committee that selects the Peace Prize. Nobel Foundation Statutes § 14;
see also Lemmel, supra (“One vital task of the Foundation is to manage its assets in such a way
as to safeguard the financial base of the prizes themselves and of the prize selection process.”).
Unlike the other Nobel prizes, for accomplishments in fields such as literature and physics,
which are awarded by committees appointed by Swedish institutions, Nobel specified in his will
that the recipient of the prize “for champions of peace” was to be selected “by a committee of
five persons to be elected by the Norwegian Storting [i.e., the Norwegian Parliament].” Nobel
Foundation Statutes § 1.

         On April 26, 1897, the Storting formally agreed to carry out Nobel’s will and, in August
of that year, elected the first members of the Nobel Committee that would award the prize
funded by Nobel’s estate. That Committee—not the Storting itself, or any other official
institution of the Norwegian government, or the Nobel Foundation—has selected the Peace Prize
recipients since 1901. To be sure, in its nascent years, the Nobel Committee was more “closely
linked not only to the Norwegian political establishment in general, but also to the Government,”
than it is today. See Øyvind Tønnesson, The Norwegian Nobel Committee (1999), available at
http://nobelprize.org/nobel_prizes/peace/articles/committee (last visited Nov. 24, 2009). Indeed,
until 1977, the Committee’s official title was the Nobel Committee of the Norwegian Storting.
Nevertheless, it has long been recognized that the “[C]ommittee is formally independent even of
the Storting, and since 1901 it has repeatedly emphasized its independence.” Tønnesson, supra.
In 1936, for instance, the Norwegian Foreign Minister and a former Prime Minister recused
themselves from the Committee’s deliberations out of concern that bestowing the award on the
German pacifist Carl von Ossietzky would be perceived as an act of Norwegian foreign policy.
Id.; see also Berlin Protests Ossietzky Award, N.Y. Times, Nov. 26, 1936, at 22 (noting that
“Norway [d]enies [r]esponsibility for Nobel [d]ecision”). To make clear the independent nature
of the Committee’s decisions, moreover, the Storting in the very next year, 1937, barred
government ministers from sitting on the Nobel Committee. See Special Regulations for the
Award of the Nobel Peace Prize and the Norwegian Nobel Institute, etc., adopted by the Nobel
Committee of the Norwegian Storting on the 10th day of April in the year 1905 (including
amendments of 1977, 1991, 1994, 1998 and 2000) § 9, available at
http://nobelprize.org/nobelfoundation/ statutes-no.html (last visited Nov. 24, 2009) (“Nobel
Peace Prize Regulations”) (“If a member of the [Nobel] Committee is appointed a member of the
Government during his period of office, or if a member of the Government is elected a member
of the Committee, he shall resign from the Committee for as long as he continues in office as a
Minister”). Furthermore, for more than 30 years, no member of the Committee has been permitted
as a general matter to continue serving in the Storting. See Tønnesson, supra (“[I]n 1977 . . .
the Storting decided that its members should not participate in nonparliamentary committees
appointed by the Storting itself.”). 1 That said, an appointment to the Committee does not appear
to require a sitting member of the Storting to resign immediately from his or her government
position, and thus two of the current members, who joined the Nobel Committee in 2009, appear
to have served on the Storting during much, if not all, of the period during which this year’s
        1
          To further emphasize the Committee’s independence from the Norwegian government, including the
monarchy, “[u]nlike the prize award ceremony in Stockholm [for the other Nobel Prizes], it is the Chairperson of
the Nobel Committee, and not the King [of Norway]” who formally presents the Peace Prize. Tønnesson, supra.



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Prize recipient was selected. See List of Nobel Committee Members, available at
http://nobelpeaceprize.org/en_GB/nomination_committee/members/ (last visited Dec. 4, 2009).
The other three members of the Committee were private individuals. Id.

         Apart from the Storting’s role in selecting the members of the Nobel Committee, the
Norwegian government has no meaningful role in selecting the Prize recipients or financing the
Prize itself. In addition to fully funding the Prize, the Sweden-based private Nobel Foundation,
established pursuant to Alfred Nobel’s will, is responsible for the Committee’s viability and the
administration of the award. Specifically, your Office has informed us that the Committee’s
operations, including the salaries of the various Committee members and of the staff, are funded
by the Foundation and not by the Norwegian or Swedish governments. See E-mail from Virginia
R. Canter, Associate Counsel to the President, to David J. Barron, Acting Assistant Attorney
General, Office of Legal Counsel (Nov. 2, 2009, 19:11 EST) (“E-mail to Barron”) (summarizing
telephonic interview with Geir Lundestad, Secretary to the Nobel Committee and Director of the
Nobel Institute); see also Nobel Foundation Statutes § 11 (“The Board of the Foundation shall
establish financial limits on the work that the prize-awarding bodies perform in accordance with
these statutes”); id. § 6 (“A member of a Nobel Committee shall receive remuneration for his
work, in an amount to be determined by the prize-awarding body [i.e., the Nobel Committee].”).
The Committee also deliberates and maintains staff in the Nobel Institute building, which is
owned by the private Nobel Foundation rather than by the government of Sweden or Norway.
See The Nobel Institute, available at http://nobelpeaceprize.org/en_GB/institute/ (last visited
Dec. 4, 2009) (noting that Nobel Institute building is also where the recipient of the Peace Prize
is announced); see also Description of Nobel Institute Building, available at
http://nobelpeaceprize.org/en_GB/institute/nobel-building/ (last visited Dec. 4, 2009). Although
the Nobel Foundation plays a critical role in sustaining the Nobel Committee and the Peace
Prize, it is the Nobel Committee that independently selects the Prize recipients. See
Organizational Structure of the Nobel Entities, available at http://nobelprize.org/
nobelfoundation/org_structure.html (last visited Nov. 24, 2009) (“The Nobel Foundation does
not have the right or mandate to influence the nomination and selection procedures of the Nobel
Laureates.”); see also Lemmel, supra (“[T]he Prize-Awarding Institutions are not only entirely
independent of all government agencies and organizations, but also of the Nobel Foundation.”).

                                                  II.

        The Emoluments Clause provides that “no Person holding any Office of Profit or Trust
under [the United States], shall, without the Consent of the Congress, accept of any present,
Emolument, Office, or Title, of any kind whatever, from any King, Prince, or foreign State.”
U.S. Const. art. I, § 9, cl. 8. Adopted unanimously at the Constitutional Convention, the
Emoluments Clause was intended to recognize the “necessity of preserving foreign Ministers &
other officers of the U.S. independent of external influence,” specifically, undue influence and
corruption by foreign governments. See 2 The Records of the Federal Convention of 1787, at
389 (Max Farrand ed., rev. ed. 1966) (notes of James Madison); see also 3 id. at 327 (“It was
thought proper, in order to exclude corruption and foreign influence, to prohibit any one in
office from receiving or holding any emoluments from foreign states.” (remarks of Governor
Randolph)); Applicability of the Emoluments Clause to Non-Government Members of ACUS,



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17 Op. O.L.C. 114, 116 (1993) (“ACUS”); President Reagan’s Ability to Receive Retirement
Benefits from the State of California, 5 Op. O.L.C. 187, 188 (1981) (discussing the background
of the ratification of the Clause).

        The President surely “hold[s] an[] Office of Profit or Trust,” and the Peace Prize,
including its monetary award, is a “present” or “Emolument . . . of any kind whatever.” U.S.
Const. art I, § 9, cl. 8. The critical question, therefore, concerns the status of the institution that
makes the award. Based on the consistent historical practice of the political branches for more
than a century with respect to receipt of the Peace Prize by high federal officials, as well as our
Office’s precedents interpreting the Emoluments Clause in other contexts, we conclude that the
President in accepting the Prize would not be accepting anything from a “foreign State” within
the Clause’s meaning. Accordingly, we do not believe that the President’s acceptance of the
Peace Prize without congressional consent would violate the Emoluments Clause.

                                                          A.

        None of our Office’s precedents concerning the Emoluments Clause specifically
considers the status of the Nobel Committee (or the Nobel Foundation), but there is substantial
and consistent historical practice of the political branches that is directly relevant. The President
would be far from the first government official holding an “Office of Profit or Trust” to receive
the Nobel Peace Prize. Rather, since 1906, there have been at least six federal officers who have
accepted the Prize while serving in their elected or appointed offices. The Peace Prize has been
received by two other sitting Presidents—Theodore Roosevelt and Woodrow Wilson—by a
sitting Vice President, Secretary of State, and Senator, and by a retired General of the Army, 2
with the most recent of these acceptances having occurred in 1973. Throughout this history,
we have found no indication that either the Executive or the Legislative Branch thought
congressional approval was necessary.

        The first instance of the Nobel Committee awarding the Peace Prize to a sitting officer
occurred only five years after the Committee began awarding the Prize. In 1906, President
Theodore Roosevelt received the Peace Prize.3 On December 10 of that year, United States
Minister to Norway Herbert H.D. Pierce accepted the “diploma, medal, and order upon the Nobel
trustees [of the Nobel Foundation] for the amount of the prize” on Roosevelt’s behalf. See
“Emperor Dead” and Other Historic American Diplomatic Dispatches 336-37 (dispatch from
Pierce to Secretary of State Elihu Root) (Peter D. Eicher ed., 1997) (“Pierce Dispatch”). Not
only did Roosevelt accept the Peace Prize while President, he also chose as President to use the
award money (roughly $37,000) to establish a foundation for the promotion of “industrial
peace.” See Oscar S. Straus, Under Four Administrations: from Cleveland to Taft 239-40 (1922)
(noting that Roosevelt transferred the draft of the monetary award to Chief Justice Fuller in
January of 1907 to initiate efforts to establish the Foundation).
         2
            See Memorandum to File from Richard L. Shiffrin, Deputy Assistant Attorney General, Office of Legal
Counsel, Re: Proposed Award of Honorary British Knighthood to Retiring Military Officer (Aug. 27, 1996) (retired
military officers continue to “hold[] [an] Office of Profit or Trust” under the United States and hence remain subject
to the Emoluments Clause); see also 53 Comp. Gen. 753 (1974) (same).
           3
             See List of Nobel Peace Prize Laureates, available at http://nobelprize.org/nobel_prizes/peace/laureates
(last visited Nov. 19, 2009).



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         We have found no indication that the President or Congress believed that receipt of the
Prize, including its award money, required legislative approval. Although Congress passed
legislation to establish Roosevelt’s foundation, see Act of Mar. 2, 1907, ch. 2558, 34 Stat. 1241
(1907), it did so some months after he accepted the Peace Prize, and we think it clear that neither
the President nor Congress thought this law necessary to satisfy the Emoluments Clause. 4 The
bill that established the trust said nothing about consent even though Congress assuredly knew
how to express such legislative approval for Emoluments Clause purposes. For instance, the
same Congress that established the foundation at Roosevelt’s request also “authorized [Professor
Simon Newcomb, a retired Naval Officer] to accept the decoration of the order ‘Pour le Mérite,
für Wissenschaftern und Kunste,’ conferred upon him by the German Emperor,” Act of Mar. 30,
1906, ch. 1353, 34 Stat. 1713, and granted “[p]ermission . . . to [a Navy Rear-Admiral] . . . to
accept the China war medal, with Pekin clasp, tendered to him by the King of Great Britain, and
the Order of the Red Eagle, with swords, tendered to him by the Emperor of Germany,” S.J. Res.
98, 59th Cong., 34 Stat. 2825 (1907). 5

        Perhaps most importantly, the statute that established the foundation to administer the
prize money that Roosevelt had accepted does not address at all Roosevelt’s receipt of the gold
medal and diploma. Yet the medal and the diploma have always constituted elements of the
Peace Prize, see Pierce Dispatch at 337 (noting receipt of Nobel medal); see also Nobel Lecture
of President Roosevelt (May 5, 1910), available at http://nobelprize.org/nobel_prizes/peace/
laureates/1906/roosevelt-lecture.html (last visited Nov. 23, 2009) (“The gold medal which
formed part of the prize I shall always keep, and I shall hand it on to my children as a precious
heirloom.”), and they constitute a “present” or “Emolument . . . of any kind whatever” within the
meaning of the Emoluments Clause. Thus, if the law establishing the trust to be funded by the
award money had been intended to provide congressional consent for President Roosevelt’s
receipt of the Prize, it would presumably have encompassed these elements of the Prize as well.

         4
            Consistent with this understanding of the congressional action, the bill establishing the foundation was
modeled after documents creating trusts, see Straus, supra, at 239, and not statutes conferring legislative consent
to officers’ receipt of gifts from foreign states. Further, the statute’s legislative history contains no indication that
the bill was intended to ratify Roosevelt’s acceptance of a gift from a foreign power; nor does it indicate that his
acceptance of the Prize without congressional consent was inappropriate. See S. Rep. No. 59-7283 (1907); see also
41 Cong. Rec. 4113 (1907) (“There can be no possible objection [to the bill]. It establishes trustees, who are to
receive from the President the Nobel prize for the foundation of a society for the promotion of industrial peace.”
(statement of Sen. Lodge)). Ultimately, the Foundation never expended any funds, and in July of 1917, Congress
dissolved the trust. See H.J. Res. 313, 65th Cong., 40 Stat. 899 (1918) (“Joint Resolution Providing for the
disposition of moneys represented in the Alfred Bernard Nobel peace prize, awarded in nineteen hundred and six”).
Roosevelt then distributed the Nobel Prize money, along with the interest it had accrued, to various charities in the
United States and Europe. See Straus, supra, at 241.
         5
           See also, e.g., J. Res. 39, 54th Cong., 29 Stat. 759 (1896) (“authoriz[ing]” President Harrison “to accept
certain medals presented to him by the Governments of Brazil and Spain during the term of his service as President
of the United States”); J. Res. 4, 42d Cong., 17 Stat. 643 (1871) (“[C]onsent of Congress is hereby given to . . . [the]
secretary of the Smithsonian Institution, to accept the title and regalia of a commander of the Royal Norwegian
Order of St. Olaf, conferred upon him for his distinguished scientific service and character by the King of Sweden
and Norway”); J. Res. 39, 38th Cong., 13 Stat. 604 (1865) (Navy Captain “authorized to accept the sword of honor
recently presented to him by the government of Great Britain”); J. Res. 14, 33d Cong., 10 Stat. 830 (1854)
(“authoriz[ing] . . . accept[ance of ] a gold medal recently presented . . . by His Majesty the King of Sweden”).



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        The example more than a decade later of President Wilson also clearly reflects an
understanding by the political branches that receipt of the Peace Prize does not implicate the
Emoluments Clause. When, in December of 1920, President Wilson received the Peace Prize,
he, unlike President Roosevelt, did not seek to donate the Prize proceeds to a charitable cause or
enlist Congress’s aid in accomplishing such a charitable purpose. Instead, he simply accepted
the Prize and deposited the award money in a personal account in a Swedish bank, apparently
hoping for a favorable movement in the Kroner/dollar exchange rate. See 67 The Papers of
Woodrow Wilson 51-52 (Arthur S. Link ed., 1992) (diary of Charles Lee Swem). President
Wilson does not appear to have sought congressional approval for his acceptance, nor does it
appear that Congress thought its consent was required.

        These Presidents are not, as indicated above, the only federal officers who have received
the Peace Prize. Senator Elihu Root in 1913, Vice President Charles Dawes in 1926, retired
General of the Army George Marshall in 1953, and Secretary of State Henry Kissinger in 1973
each received the Nobel Peace Prize. See List of Nobel Peace Prize Laureates, supra. As was
the case with Presidents Roosevelt and Wilson, none of these recipients, as far as we are aware,
received congressional consent prior to accepting the Prize or congressional ratification of such
receipt at any time thereafter.

        This longstanding treatment of the Nobel Peace Prize is particularly significant to our
analysis because several of the Prizes were awarded when the Nobel Committee—then known
as the Nobel Committee of the Norwegian Storting—lacked some of the structural barriers to
governmental control that are present today, such as rules generally barring government
ministers and legislators from serving on the Committee. If anything, then, these prior cases
arguably would cause more reason for concern than would be present today, and yet the
historical record reveals no indication that either the Congress or the Executive believed receipt
of the Prize implicated the Emoluments Clause at all. The absence of such evidence is
particularly noteworthy since the Clause was recognized as a bar to gifts by foreign states
without congressional consent throughout this same period of time, such that the Attorney
General and this Office advised that various gifts from foreign states could not be accepted,
see, e.g., Gifts from Foreign Prince, 24 Op. Att’y Gen. 116, 118 (1902), and Congress passed
legislation specifically manifesting its consent to some gifts bestowed by foreign states on
individuals covered by the Clause. See supra n.5. To be sure, this long, unbroken practice of
high federal officials accepting the Nobel Peace Prize without congressional consent cannot
dictate the outcome of our constitutional analysis. But we do think such practice strongly
supports the conclusion that the President’s receipt of the Nobel Peace Prize would not conflict
with the Emoluments Clause, as it may fairly be said to reflect an established understanding of
what constitutes a gift from a “foreign State” that would trigger application of the Clause’s
prohibition. Cf. American Ins. Ass’n v. Garamendi, 539 U.S. 396, 415 (2003) (analyzing
President’s foreign affairs power under the Constitution in light of “longstanding practice”
in Executive Branch and congressional silence); Dames & Moore v. Regan, 453 U.S. 654, 686
(1981) (noting that a “‘systematic, unbroken, executive practice, long pursued to the knowledge
of the Congress and never before questioned . . . may be treated as a gloss on’” the Constitution);
Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 610-11 (1952) (Frankfurter, J.,
concurring) (“Deeply embedded traditional ways of conducting government cannot supplant the



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Constitution or legislation, but they give meaning to the words of a text or supply them.”);
McCulloch v. Maryland, 17 U.S. (4 Wheat.) 315, 401 (1819) (where “the great principles of
liberty are not concerned . . . [a doubtful question,] if not put at rest by the practice of the
government, ought to receive a considerable impression from that practice”).

                                                        B.

        The precedents of our Office reinforce the constitutional conclusion that the historical
practice recounted above strongly suggests. Indeed, our Office’s numerous opinions on the
Emoluments Clause have never adverted to the receipt of the Peace Prize by government
officials and certainly have never suggested that the numerous acceptances of the Prize were
contrary to the Clause. That is not surprising. Under these same opinions, it is clear that, due to
the unique organization of the Nobel Committee (including its reliance on the privately endowed
Nobel Foundation), Nobel Peace Prize recipients do not receive presents or emoluments from a
“foreign State” for purposes of the Emoluments Clause.

        The precedents of the Office do establish that the Emoluments Clause reaches not only
“foreign State[s]” as such but also their instrumentalities. ACUS, 17 Op. O.L.C. at 122;
Applicability of Emoluments Clause to Employment of Government Employees by Foreign
Public Universities, 18 Op. O.L.C. 13, 18 (1994) (“Public Univ.”). Quite clearly, the Nobel
Committee is not itself a foreign state in any traditional sense. The issue, therefore, is whether
the Committee has the kind of ties to a foreign government that would make it, and by extension
the Nobel Foundation in financing the Prize, an instrumentality of a foreign state under our
precedents. Our past opinions make clear that an entity need not engage specifically in
“political, military, or diplomatic functions” to be deemed an instrumentality of a foreign state. 6
See Public Univ., 18 Op. O.L.C. at 19; see also ACUS, 17 Op. O.L.C. at 122 (“[T]he language of
the Emoluments Clause does not warrant any distinction between the various capacities in which
a foreign State may act.”). Thus, for example, we have determined that entities such as
corporations owned or controlled by a foreign government and foreign public universities may
fall within the prohibition of the Clause. ACUS, 17 Op. O.L.C. at 121-22.

       To determine whether a particular case involves receipt of a present or emolument from a
foreign state, however, our Office has closely examined the particular facts at hand. Specifically,
we have sought to determine from those facts whether the entity in question is sufficiently
independent of the foreign government to which it is arguably tied—specifically with respect to
the conferral of the emolument or present at issue, e.g., hiring an employee or bestowing an
award, Public Univ., 18 Op. O.L.C. at 20—that its actions cannot be deemed to be those of that




        6
            Accordingly, we have explained that corporations owned or controlled by a foreign government are
presumptively foreign states under the Emoluments Clause, even though the Act of State doctrine suggests that
“when foreign governments act in their commercial capacities, they do not exercise powers peculiar to sovereigns,”
and thus are not entitled to the immunity from suit that might be available. ACUS, 17 Op. O.L.C. at 120 (“[N]othing
in the text of the Emoluments Clause limits its application solely to foreign governments acting as sovereigns.”).



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foreign state. In short, our opinions reflect a consistent focus on whether an entity’s decision
to confer a particular present or emolument is subject to governmental control or influence. 7

        The factors we have considered include whether a government is the substantial source
of funding for the entity, e.g., Applicability of Emoluments Clause to Proposed Service of
Government Employee on Commission of International Historians, 11 Op. O.L.C. 89, 90 (1987)
(“International Historians”); whether a government, as opposed to a private intermediary, makes
the ultimate decision regarding the gift or emolument, e.g., Memorandum for John G. Gaine,
General Counsel, Commodity Futures Trading Commission, from Leon Ulman, Deputy
Assistant Attorney General, Office of Legal Counsel, Re: Expense Reimbursement in
Connection with Trip to Indonesia (Aug. 11, 1980) (“Indonesia Op.”); and whether a government
has an active role in the management of the entity, such as through having government officials
serve on an entity’s board of directors, e.g., Public Univ., 18 Op. O.L.C. at 15. No one of these
factors has proven dispositive in our prior consideration of Emoluments Clause issues. Rather,
we have looked to them in combination to assess the status of the entity for purposes of the
Clause, keeping in mind at all times the underlying purpose that the Clause is intended to serve.
See, e.g., Memorandum for H. Gerald Staub, Office of Chief Counsel, NASA, from Samuel A.
Alito, Jr., Deputy Assistant Attorney General, Office of Legal Counsel, Re: Emoluments Clause
Questions raised by NASA Scientist’s Proposed Consulting Arrangement with the University
of New South Wales (May 23, 1986) (“given [foreign public university’s] functional and
operational separation and independence from the government of Australia and state political
instrumentalities . . . . [t]he answer to the Emoluments Clause question . . . must depend [on]
whether the consultancy would raise the kind of concern (viz., the potential for ‘corruption and
foreign influence’) that motivated the Framers in enacting the constitutional prohibition”).

       Consistent with this analysis, we have concluded in the past that Emoluments Clause
concerns are raised where the “ultimate control” over the decision at issue—e.g., an employment
decision or a decision to bestow an award—resides with the foreign government. For instance,
an employee of the Nuclear Regulatory Commission (“NRC”) sought authorization to work for
a consulting firm that was retained by the Mexican government. Application of the Emoluments
Clause of the Constitution and the Foreign Gifts and Decorations Act, 6 Op. O.L.C. 156, 158
(1982). Because we concluded that the “ultimate control, including selection of personnel,
remains with the Mexican government,” id. (“the retention of the NRC employee by the
consulting firm appears to be the principal reason for selection of the consulting firm by the
Mexican government”), we determined that the Emoluments Clause barred the arrangement.
Similarly, we concluded that an invitation to join a commission of international historians that
was established and funded entirely by the Austrian government constituted an invitation from
the Austrian government itself. International Historians, 11 Op. O.L.C. at 90.

       By contrast, although we have previously opined that foreign public universities are
presumptively instrumentalities of a foreign state for the purposes the Emoluments Clause, we
determined that two NASA scientists on leave without pay could be employed by the University
           7
             Where a foreign state indisputably and directly confers a present or emolument, such considerations of
autonomy and control may be relevant, but not decisive. See ACUS, 17 Op. O.L.C. at 119. Here, however, the
critical issue is whether the Nobel Committee, and by extension the Nobel Foundation, is an instrumentality of a
foreign government for purposes of awarding the privately endowed Peace Prize.



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of Victoria in British Columbia, Canada, without triggering that constitutional restraint. Public
Univ., 18 Op. O.L.C. at 13. We came to this conclusion because the evidence demonstrated that
the University acted independently of the Canadian (or the British Columbian) government when
making faculty employment decisions. Id. at 15 (“[T]he University of Victoria should not be
considered a foreign state.”). To be sure, as we acknowledged, the University was under the
formal control of the British Columbia government. Id. at 20 (noting that the government had
“ultimate” control of the University); see also id. at 15 (noting that the faculty was “constituted”
by the University’s Board of Governors, the majority of whom were appointed by the provincial
government). Nevertheless, it was critical to our analysis that the specific conduct at issue—the
University’s selection of faculty—was not made by the University “under statutory compulsion”
or pursuant to the “dictates of the government.” Id. at 20-21 (quoting McKinney v. University of
Guelph, [1990] 3 S.C.R. 229, 269 (Can.) (plurality op.)).

        Similar considerations of autonomy informed our view that a federal officer could serve
as a consultant to Harvard University on a project funded by the government of Indonesia. See
Indonesia Op. at 5. Although the consulting services were to be rendered for the benefit of
Indonesia and the individual consultant’s expenses were to be reimbursed by Harvard from funds
paid by Indonesia, we identified no violation of the Emoluments Clause. We reached this
conclusion in significant part because, under the consulting arrangement, Harvard had the sole
discretion over the consultants it chose, and Indonesia had no veto power over those choices.
Id. (“Since . . . the foreign government neither controls nor even influences the selection and
payment of consultants, the Emoluments Clause is not implicated.”).

        In light of these precedents, we believe that it is significant that the Nobel Committee’s
selection of the Peace Prize recipient is independent of the dictate or influence of the Norwegian
government. As far as we are aware, the Norwegian government has no authority to compel the
Committee to choose the Prize recipient; nor does it have any veto authority with respect to the
selection by the Committee members, who, in any event, are not appointed by a single official
to whom they are accountable, but are instead elected by the multimember Storting. See Nobel
Foundation Statutes § 1. To be sure, Norwegian government officials may submit nominations
to the Committee, but that opportunity is shared by any “[m]embers of national assemblies and
governments of states,” along with “University rectors” and “professors of social sciences,
history, philosophy, law and theology.” Nobel Peace Prize Regulations § 3. Indeed, the formal
process of nomination and selection of a Prize recipient is not guided by the government, but by
the private, Sweden-based Nobel Foundation and the Nobel Committee. 8 For example, pursuant
to the Foundation’s rules, no prize-awarding body, including the Peace Prize Committee, may
reveal the details of its deliberations “until at least 50 years have elapsed after the date on which
the decision in question was made.” Nobel Foundation Statutes § 10. We have found no

         8
            The Storting appears to have the limited authority only to approve “[i]nstructions concerning the election
of members of the Nobel Committee” itself. See Nobel Foundation Regulations § 9. Any other amendments to the
Committee’s rules of operation, including its award selection guidelines, are decided upon by the Committee itself,
after views are solicited from the Nobel Foundation. Id. (“Proposals for amendments to other provisions of these
regulations may be put forward by members of the Norwegian Nobel Committee or by members of the Board of
Directors of the Nobel Foundation. Before the Norwegian Nobel Committee makes a decision concerning the
proposal, it shall be submitted to the Board of Directors of the Nobel Foundation for an opinion.”).



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indication that the Norwegian government or its officials, if requesting such information, would
be exempt from this restraint on disclosure. Other aspects of the selection process, including
guidelines on nominations and supporting materials, are either provided in the private
Foundation’s statutes or delegated by the Foundation—not by the Norwegian government—
to the prize-awarding bodies, including the Peace Prize Committee. E.g., id. § 7 (“To be
considered eligible for an award, it is necessary to be nominated in writing by a person
competent to make such a nomination.”). These formal limits on the capacity of the Norwegian
government to influence, let alone control, the Committee’s decision, are consistent with the
Committee’s own repeated assertions of its independence. See Tønnesson, supra.

        The Government of Norway’s financial connection to the Nobel Committee is even more
attenuated. It appears that the members of the Nobel Committee are compensated for their
services by the privately funded Nobel Foundation, see E-mail to Barron, and the precise amount
of the remuneration is set by the Nobel Committee, not the Norwegian government. See Nobel
Foundation Statutes § 6. The Peace Prize itself, including its cash award and other elements, is
funded by the Nobel Foundation, which alone is responsible for ensuring that all of the Nobel
prize-awarding bodies can accomplish their purposes and which is itself financed by private
investments and not government funding. Id. § 14 (“The Board [of the Foundation] shall
administer the property of the Foundation for the purposes of maintaining good long-term prize-
awarding capacity and safeguarding the value of the Foundation’s assets in real terms.”); see
also The Nobel Foundation’s Income Statement (2008), available at http://nobelprize.org/
nobelfoundation/incomes.html (last visited Dec. 7, 2009); Lemmel, supra (describing Nobel
Foundation’s investment strategies to ensure financial base of Nobel Prizes).

        Thus, in our view, the only potentially relevant tie to the Norwegian government is that,
in accordance with Alfred Nobel’s will, the Storting elects the Nobel Committee’s five members.
Further, we are aware that, notwithstanding the rules generally barring sitting members of the
Storting from the Nobel Committee, two members of the Storting served on the Committee for
several months before leaving their parliamentary seats. However, in light of the strong basis
for the Committee’s autonomy, both as to the decision it makes and the finances upon which it
draws, we do not view the Storting’s appointment authority, or a minority of the Committee
members’ short-term overlap with parliamentary service, as having dispositive significance.

       Nor has our Office done so in the past in analogous cases. In determining that an
award to a Navy scientist from the Alexander von Humboldt Foundation was from the German
government for the purposes of the Emoluments Clause, for example, we noted that the
“awards are made by a ‘Special Committee,’ on which the Federal Ministries for Foreign Affairs
and Research and Technology are represented.” See Letter for Walter T. Skallerup, Jr., General
Counsel, Department of the Navy, from Robert B. Shanks, Deputy Assistant Attorney General,
Office of Legal Counsel at 2 (Mar. 17, 1983). But we did not indicate that the presence of the
government ministers on the award committee was the decisive factor in our analysis. Instead,
we also noted that the Foundation was reestablished (because it had once been dissolved) by
the Federal Republic of Germany, specifically by its Ministry of Foreign Affairs. In addition,
we noted that the Foundation that administered the award was financed mainly through annual
payments from the West German government. See id. By contrast, the Nobel Committee is
financed by the private Nobel Foundation, and although the Norwegian government may have



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  Applicability of the Emoluments Clause and the Foreign Gifts and Decorations Act to the President’s
                                   Receipt of the Nobel Peace Prize

formally established the Committee (as the “Nobel Committee of the Norwegian Storting”),
it did so pursuant to a private individual’s will, which assigned the Storting the limited role of
electing the Committee’s members, who would be charged with exercising their independent
judgments.

        Likewise, we concluded that the University of British Columbia in hiring faculty was
not acting as a foreign state for the purposes of the Emoluments Clause—notwithstanding the
provincial government’s power to appoint a majority of the members of the University’s board
of governors. Public Univ., 18 Op. O.L.C. at 14, 22 (citing Harrison v. University of British
Columbia, [1990] 3 S.C.R. 451, 459 (Can.) (plurality op.)). We also determined that the Prince
Mahidol Foundation was not an instrumentality of the Government of Thailand for the purposes
of the Emoluments Clause, although several officials of the Thai government and the Royal
Princess of Thailand sat on the Foundation’s board. Memorandum to File from Daniel L.
Koffsky, Re: Application of the Emoluments Clause to a U.S. Government Employee Who
Performs Services for the Prince Mahidol Foundation (Nov. 19, 2002) (“Mahidol Op.”). 9 In
each case, we found countervailing indications of autonomy to be more significant. As noted
above, we concluded that the University of British Columbia’s faculty decisions, including
contract negotiations and collective bargaining, were not subject to governmental compulsion.
Public Univ., 18 Op. O.L.C. at 20-21 (noting University’s “‘legal autonomy’”). And despite the
presence of the Thai government and royalty, we determined that the decision-making process of
the Prince Mahidol Foundation’s Board evidenced “independent judgment.” Mahidol Op. at 4
(also noting that “most of the funds for the Foundation do not come from the [Thai]
government”). These same considerations concerning the exercise of independent judgment
and financial autonomy are at least as present here.

          In sum, determining whether an entity is an instrumentality of a foreign government is
necessarily a fact-bound inquiry, see Application of the Emoluments Clause of the Constitution
and the Foreign Gifts and Decorations Act, 6 Op. O.L.C. 156, 158 (1982) (“Each situation must
. . . be judged on its facts.”), and the weight of the evidence in light of this Office’s consistent
precedents—and as reinforced by the substantial historical practice—demonstrates that the
awarding of the privately financed Peace Prize through the Nobel Committee does not constitute
the conferral of a present or emolument by a “foreign State” for the purposes of the Emoluments
Clause.




          9
            Similarly, the Supreme Court has indicated that a government’s appointment authority is not given
dispositive weight in determining whether a nominally private entity is, in fact, “what the Constitution regards as the
Government.” See Lebron v. National R.R. Passenger Corp., 513 U.S. 374, 392 (1995) (holding that Amtrak was a
state actor subject to the First Amendment). That the federal government appointed a majority of Amtrak’s directors
was not considered to be of controlling importance. As the Lebron Court observed, the Consolidated Rail
Corporation (“Conrail”) was held “not to be a federal instrumentality, despite the President’s power to appoint,
directly or indirectly, 8 of its 15 directors.” Id. at 399; see also Regional Rail Reorganization Act Cases, 419 U.S.
102, 152 (1974) (“Conrail is not a federal instrumentality by reason of the federal representation on its board of
directors.”).



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                                                III.

        Our reasoning regarding the Emoluments Clause is equally applicable to the Foreign
Gifts and Decorations Act. The Act provides express consent for officials to accept “gifts and
decorations” from “foreign government[s]” under certain limited circumstances not present here.
See 5 U.S.C. § 7342(b) (2006) (“An employee may not . . . accept a gift or decoration, other than
in accordance with the provisions of” the Act); see also id. § 7342(a)(1)(E) (providing that the
President is subject to the Act). Section 7342(a)(2) defines the term “foreign government” as
follows:

               “foreign government” means –
                        (A) any unit of foreign governmental authority, including any
                        foreign national, State, local, and municipal government;
                        (B) any international or multinational organization whose
                        membership is composed of any unit of foreign government
                        described in subparagraph (A); and
                        (C) any agent or representative of any such unit or such
                        organization, while acting as such.

        While we do not necessarily assume that Congress intended the meaning of “foreign
government” to be coextensive with the constitutional term “foreign State,” we have recognized
that the Act’s reference to “any unit of foreign governmental authority” is likely narrower in
scope than the Emoluments Clause. See ACUS, 17 Op. O.L.C. at 121 (recognizing that
corporations owned or controlled by foreign States are arguably not “units of foreign
governmental authority,” although they are presumptively subject to the Emoluments Clause);
cf. S. Rep. No. 95-194, at 29 (1977) (definition of “foreign government” intended to reach
“foreign governmental subdivision(s)” and “quasi-government organizations”). For the reasons
discussed in detail above, the Nobel Committee in choosing the recipients of the Peace Prize,
like the Nobel Foundation in financing the Prize, operates as a private non-governmental
organization and not as a “unit” of a foreign government. Moreover, given the Foundation’s
private nature and the facts that the Committee acts independently of any government and is
not required to include any government officials on it, see The Norwegian Nobel Committee,
available at http://nobelprize.org/prize_awarders/peace/committee.html (last visited Nov. 23,
2009) (“Although this is not a requirement, all committee members have been Norwegian
nationals.”), we conclude that neither is an “international or multinational organization” because
neither is “composed of any unit of foreign government,” let alone composed of units of more
than one foreign government. 5 U.S.C. § 7342(a)(2)(B); see also Memorandum to the General
Counsel, The Smithsonian Institution, from Daniel L. Koffsky, Acting Assistant Attorney
General, Re: Emoluments Clause and World Bank (May 24, 2001), available at
www.usdoj.gov/olc/opinions.htm (concluding that international organizations of which the
United States is a member are not generally subject to the Emoluments Clause and observing that
the Act’s coverage of international organizations was likely “motivated by policy concerns as
opposed to constitutional ones”). Nor is the Committee as a whole, or, by extension, the Nobel
Foundation in financing the Prize, an “agent or representative” of any unit of a foreign
government or any international organization for purposes of the Act. Although two members
of the Committee continued to serve in the Storting before leaving their parliamentary seats,



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  Applicability of the Emoluments Clause and the Foreign Gifts and Decorations Act to the President’s
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we do not believe this limited tie between the Government of Norway and the Committee,
affecting a minority of the Committee’s members, transformed the Nobel Committee into an
agent or representative of the Norwegian government. Id. § 7342(a)(2)(C). The countervailing
indications of autonomy described above support that conclusion. Consequently, the Foreign
Gifts and Decorations Act poses no bar to the President’s receipt of the Peace Prize.

                                                 IV.

       For the reasons given above, we conclude that neither the Emoluments Clause nor the
Foreign Gifts and Decorations Act prohibits the President from receiving the Nobel Peace Prize
without congressional consent.

       Please let us know if we may be of further assistance.


                                                                       /s/


                                                              DAVID J. BARRON
                                                        Acting Assistant Attorney General




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            Whether the Defense of Marriage Act Precludes the
            Nonbiological Child of a Member of a Vermont Civil
               Union From Qualifying for Child’s Insurance
                  Benefits Under the Social Security Act
   The Defense of Marriage Act would not prevent the non-biological child of a partner in a Vermont civil
     union from receiving child’s insurance benefits under the Social Security Act.

                                                                                     October 16, 2007

               MEMORANDUM OPINION FOR THE ACTING GENERAL COUNSEL
                       SOCIAL SECURITY ADMINISTRATION

       The Social Security Act defines a “child” for the purpose of determining eligi-
   bility for child’s insurance benefits (“CIB”) by reference to the inheritance law in
   the relevant state. 42 U.S.C. § 416(h)(2) (2000). The law provides that a child shall
   receive CIB on account of a disabled parent when the child would inherit as a son
   or daughter if the parent were to die intestate. Id. Vermont law provides that the
   parties to a same-sex civil union enjoy the same benefits of parentage laws that
   would apply to a married couple, and so the natural child of one member of the
   union may be deemed to be the child of the other member for purposes of intestacy
   under Vermont law. Vt. Stat. Ann. tit. 15, § 1204; see also Miller-Jenkins v.
   Miller-Jenkins, 912 A.2d 951, 970 (Vt. 2006).
       You have asked whether the Defense of Marriage Act (“DOMA”), Pub. L. No.
   104-199, 110 Stat. 2419 (1996), would prevent the Commissioner of Social
   Security (the “Commissioner”) from providing the non-biological child of one
   member of a Vermont civil union with social security benefits on account of that
   individual’s relationship with the child. 1 We conclude that it would not. Although
   DOMA limits the definition of “marriage” and “spouse” for purposes of federal
   law, the Social Security Act does not condition eligibility for CIB on the existence
   of a marriage or on the federal rights of a spouse in the circumstances of this case;
   rather, eligibility turns upon the state’s recognition of a parent-child relationship,
   and specifically, the right to inherit as a child under state law. A child’s inher-
   itance rights under state law may be independent of the existence of a marriage or
   spousal relationship, and that is indeed the case in Vermont. Accordingly, we
   conclude that nothing in DOMA would prevent the non-biological child of a


       1
         See Letter for Steven G. Bradbury, Principal Deputy Assistant Attorney General, Office of Legal
   Counsel, from Thomas W. Crawley, Acting General Counsel, Social Security Administration (June 6,
   2007) (“SSA Letter”). We are informed that the Commissioner has agreed to be bound by the opinion
   of this Office. See E-mail for John P. Elwood, Deputy Assistant Attorney General, Office of Legal
   Counsel, from Thomas W. Crawley, Acting General Counsel, Social Security Administration (June 29,
   2007, 12:16 EST).




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   partner in a Vermont civil union from receiving CIB under the Social Security
   Act.

                                             I.

       Two women, Karen and Monique, entered into a civil union under Vermont
   law in 2002, and Monique gave birth to a son, Elijah, in 2003. Karen did not
   formally adopt Elijah, but she appears on the birth certificate as his “2nd parent”
   and on other documents as his “civil union parent.” See SSA Letter at 1. In 2005,
   the Commissioner found Karen to be eligible for disability benefits, and she then
   filed an application for CIB on behalf of Elijah. Id. At the time of the application,
   Karen was domiciled in Vermont. Id. at 2. In order to determine whether federal
   law would allow Elijah to qualify as Karen’s “child” on account of her civil union
   with Elijah’s natural mother, we first consider whether Elijah would qualify as
   Karen’s “child” under 42 U.S.C. § 416(e)(1). We then consider whether the
   interpretive principle mandated by DOMA affects Elijah’s status under the Social
   Security Act.
       The Social Security Act provides that an applicant may be eligible for CIB if he
   is the dependent “child” of an individual entitled to disability benefits. 42 U.S.C.
   § 402(d) (2000). The Act defines “child” to include “the child or legally adopted
   child of an individual,” as well as stepchildren and, in some cases, grandchildren.
   Id. § 416(e)(1). In many, if not most, cases the existence of a parent-child relation-
   ship must be established under the provisions of section 416(h) that further define
   the relationship for CIB purposes.
       With respect to Elijah’s relationship to Karen, the Act directs the Commission-
   er to look to how the relevant state would define the parent-child relationship for
   purposes of inheritance law. Specifically, the Act provides:

          [T]he Commissioner of Social Security shall apply such law as
          would be applied in determining the devolution of intestate personal
          property by the courts of the State in which such insured individual
          is domiciled at the time such applicant files application . . . . Appli-
          cants who according to such law would have the same status relative
          to taking intestate personal property as a child . . . shall be deemed
          such.

   42 U.S.C. § 416(h)(2)(A). The Commissioner has issued regulations tracking this
   statutory provision, and they provide, in relevant part, that a “natural child” shall
   be defined based on “the law on inheritance rights that the State courts would use
   to decide whether [the individual] could inherit a child’s share of the insured’s
   personal property if the insured were to die without leaving a will.” 20 C.F.R.
   § 404.355(b)(1) (2007). Where, as here, the insured is living, the Commissioner




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                     Nonbiological Child of a Member of a Vermont Civil Union


   “look[s] to the laws of the State where the insured has his or her permanent
   home.” Id.
       Because Karen was domiciled in Vermont at the time of Elijah’s application,
   we look to Vermont law for guidance. The Vermont statute addressing intestate
   succession provides that the “estate of a decedent, not devised nor bequeathed and
   not otherwise appropriated and distributed in pursuance of law, shall descend” in
   the first instance “to the children of such decedent or the legal representatives of
   deceased children,” but the statute does not otherwise define “children.” Vt. Stat.
   Ann. tit. 14, § 551(1); see also Miller-Jenkins v. Miller-Jenkins, 912 A.2d 951,
   969 (Vt. 2006) (recognizing that under Vermont law, “the term ‘parent’ is specific
   to the context of the family involved” and has been principally defined through
   judicial precedent). The civil union statute provides broadly that parties to a civil
   union shall have “all the same benefits, protections and responsibilities under
   law . . . as are granted to spouses in a marriage,” Vt. Stat. Ann. tit. 15, § 1204(a),
   including “laws relating to . . . intestate succession,” id. § 1204(e)(1). The statute
   further provides that parties to a civil union shall enjoy the same rights, “with
   respect to a child of whom either becomes the natural parent during the term of the
   civil union,” as “those of a married couple.” Id. § 1204(f).
       The Vermont Supreme Court recently relied upon these provisions to hold that
   a child, like Elijah, who is born to one partner of a civil union during the existence
   of the civil union, should be deemed the child of the other partner under Vermont
   law for purposes of determining custodial rights following the dissolution of the
   civil union. Miller-Jenkins, 912 A.2d at 969–70. 2 The court reasoned that in the
   context of marriage, courts have regularly found that a child born by artificial
   insemination should be deemed to be the child of the husband, even if there is no
   biological connection. Such holdings followed the intent of the spouses in the
   marriage, ensured that the child would have two parents, and avoided the need for
   requiring adoption proceedings in every case. Id. Because section 1204 requires
   equal treatment of partners in civil unions, the court held that the same result
   should apply to the non-biological partner in a civil union. Id. at 970–71.
       Although Miller-Jenkins recognized the parent-child relationship in the context
   of custodial rights, we see no reason why Vermont courts would reach a different
   result when considering who would constitute a child for purposes of inheritance.
   The Vermont civil union statute makes clear that a partner in a civil union shall
   enjoy not merely the “rights” that a married person would enjoy, but more broadly
   all “benefits, protections and responsibilities under law.” Vt. Stat. Ann. tit. 15,


       2
         In addition, the Vermont Supreme Court identified certain factors to support its conclusion,
   including the following: the parties to the civil union expected and intended for the non-biological
   parent to be the child’s parent, the non-biological partner participated in the artificial insemination
   decision, and no other individual had a claim to be the child’s parent. Id. at 970. In Elijah’s case, it is
   apparent from the birth certificate and other documents that the partners to the civil union intended for
   Karen to be his parent. See SSA Letter at 1.




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   § 1204(a). With respect to civil union partners, these “benefits, protections and
   responsibilities” specifically include both bequeathing and inheriting property,
   should one partner die intestate. Id. § 1204(e)(1). Insofar as Vermont law further
   seeks to place partners in a civil union on equal footing with married couples with
   respect to children, see id. § 1204(f), we believe that Vermont courts similarly
   would conclude that the property of a partner in a civil union who dies intestate
   would descend on the same terms as it would for a married person, and in
   particular, would go to those who would be recognized as his or her children under
   Vermont law. Accordingly, as applied here, we conclude that Vermont law would
   recognize Elijah as Karen’s child for purposes of his right to inherit, should she die
   intestate.

                                                          II.

      The question remains whether DOMA would prevent the Commissioner from
   otherwise recognizing Elijah as a beneficiary under the Social Security Act.
   Congress enacted DOMA in response to the decision of the Hawaii Supreme Court
   in Baehr v. Lewin, 852 P.2d 44 (Haw. 1993), which held that the equal protection
   guarantee of that state’s constitution required the recognition of same-sex mar-
   riage. See H.R. Rep. No. 104-664, at 3–4 (1996) (“House Report”). DOMA seeks
   to ensure that neither the federal government nor individual states are forced to
   give legal effect to same-sex marriages, either on account of one state’s recogniz-
   ing such a marriage or by the judicial interpretation of existing law. See id. at 2. At
   the same time, DOMA respects states’ traditional rights in the arena of domestic
   relations, allowing them to establish their own public policies with respect to
   same-sex unions. See id. 3
      DOMA contains two operative provisions. The first provision, codified at 28
   U.S.C. § 1738C (2000), provides that a state need not give full faith and credit to
   “a relationship between persons of the same sex that is treated as a marriage”
   under the laws of another state. That provision, which provides that each state may
   adopt its own public policy with respect to same-sex marriage, is not implicated
   here. It is the second provision of DOMA, codified at 1 U.S.C. § 7, that arguably
   might bear upon Elijah’s entitlement to CIB under the Social Security Act. This
   section, 1 U.S.C. § 7, was added to the Dictionary Act, 1 U.S.C. §§ 1 et seq., to



       3
           The House Report described DOMA as having “two primary purposes”:
               The first is to defend the institution of traditional heterosexual marriage. The second is
               to protect the right of the States to formulate their own public policy regarding the le-
               gal recognition of same-sex unions, free from any federal constitutional implications
               that might attend the recognition by one State of the right for homosexual couples to
               acquire marriage licenses.
   Id. at 2.




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                  Nonbiological Child of a Member of a Vermont Civil Union


   define “marriage” and “spouse” for purposes of federal statutes and regulations as
   follows:

             In determining the meaning of any Act of Congress, or of any rul-
          ing, regulation, or interpretation of the various administrative bu-
          reaus and agencies of the United States, the word “marriage” means
          only a legal union between one man and one woman as husband and
          wife, and the word “spouse” refers only to a person of the opposite
          sex who is a husband or a wife.

   1 U.S.C. § 7. This section reflects a federal policy against interpreting any federal
   law, regulation, or other administrative act so as to afford legal consequence to
   same-sex marriages. The provision defines “marriage” and “spouse” for those
   purposes so as to exclude reading those terms to extend to same-sex relationships.
       By its terms, 1 U.S.C. § 7 does not apply to Elijah’s eligibility for CIB under
   the Social Security Act. As discussed, Elijah’s eligibility arises out of his status as
   Karen’s “child” under section 416, and the law provides that he “shall be deemed
   such” simply because he “would have the same status relative to taking intestate
   personal property as a child” under Vermont law. 42 U.S.C. § 416(h)(2)(A). That
   analysis does not require any interpretation of the words “marriage” or “spouse”
   under the Social Security Act or any other provision of federal law. Nor does the
   analysis even require interpreting those terms under Vermont law in a way that
   might have consequence for the administration of federal benefits. An individual
   may qualify as a “child” under section 416 wholly apart from the existence of any
   marriage at all, as would be the case of a natural-born child of an unmarried
   couple, or, as is the case here, where Vermont recognizes a parent-child relation-
   ship outside the context of marriage. The fact that Elijah’s right of inheritance
   ultimately derives from Vermont’s recognition of a same-sex civil union is simply
   immaterial under DOMA. Accordingly, DOMA would not preclude Elijah from
   qualifying for CIB as a child of Karen under the Social Security Act.

                                                   STEVEN A. ENGEL
                                             Deputy Assistant Attorney General
                                                 Office of Legal Counsel




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                                          I   U.S. Departot of Justice
                                              Office of Legal Counsel




Office of the                                 Washington, D.C. 20530    JAN   2   |Q7
Deputy Assistant Attorney General




                   Memorandum for the Solicitor of the Interior
                Re: Scope of the Term "Particular Matter" Under
                    18 U.S.C. 208

     This responds to your request for our opinion on the scope
of the term "particular matter" in 18 U.S.C. 208(a).  Your letter
asked whether and, if so, to what extent that term includes
"general rulemaking and the formulation of general policy
decisions," so as to bar a government official's participation in
any such activity if he or an entity with which he is associated
has a "financial interest" that would be affected by it.    You
stated that it has been the understanding of the Department of
the Interior that section 208 generally does not apply in
situations where a governmental activity affects large numbers of
private parties and has more or less the same impact on all

    Section 208(a) reads in full as follows:
            Except as permitted by subsection (b) hereof,
        whoever, being an officer or employee of the executive
        branch of the United States Government, of any
        independent agency of the United States, a Federal
        Reserve bank director, officer, or employee, or of the
        District of Columbia, including a special Government
        employee, participates personally and substantially as a
        Government officer or employee, through decision,
        approval, disapproval, recommendation, the rendering of
        advice, investigation, or otherwise, in a judicial or
        other proceeding, 'application, request for a ruling or
        other determination, contract, claim, controversy,
        charge, accusation, arrest, or other particular matter
        in which, to his knowledge, he, his spouse, minor child,
        partner, organization in which he is serving as officer,
        director, trustee, partner or employee, or any person or
        organization with whom he is negotiating or has any
        arrangement concerning prospective employment, has a
        financial interest--
             Shall be fined not more than $10,000, or
         imprisoned not more than two years, or both.                    Caa
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similarly situated parties.   2

     According to your letter, your present inquiry is occasioned
by advice received from the Office of Government Ethics (OGE) to
the effect that section 208(a) bars an employee's participation
in any sort of governmental activity, including rulemaking and
general policy deliberations, that would have a "direct and
predictable effect" on the employee's financial interest. You
referred to a published opinion of this Office, 2 Op. O.L.C. 151
(1978)("1978 OLC opinion") as a possible source of OGE's
interpretation.  This opinion concluded that section 208(a)
"applies to any discrete or identifiable decision,
recommendation, or other matter even though its outcome may have
a rather broad impact," including "rule-making proceedings or
advisory committee 3 deliberations of general applicability." 2
Op. O.L.C. at 155.     Your letter asked that we "review and
clarify" the conclusion of the 1978 opinion on the applicability
of section 208 to "general rulemakings, legislation, and general
policy."
     We have carefully reviewed the text and legislative history
of section 208 in light of the concerns expressed in your letter.
For reasons set forth more fully below, we endorse the general
legal conclusion of the 1978 OLC opinion respecting the potential
applicability of section 208 to rulemaking and other governmental
actions of general applicability. We note, however, that the
effects of this interpretation are tempered by the "direct and
predictable effect" requirement that has been read into section
208(a) from the time of its enactment.  The availability of -an
exemption from the disqualification requirement under section
208(b) further mitigates the statute's potentially far-reaching
impact.

 2It is not entirely clear from your letter whether your agency's
position is that section 208 is never applicable in the context
of rulemaking and other such "general" governmental activities,
or that its applicability is determined on a case-by-case basis.
The hypothetical examples cited on page 2 of your letter suggest
that you believe that section 208 may be applicable where a
rulemaking will "immediately" and "uniquely" affect only a few
private parties.
 3This opinion, dated June 29, 1978, was prepared in response to
an inquiry from the Chief Counsel of the Food and Drug
Administration regarding the scope of the term "particular
matter" in connection with the activities of persons from the
private sector on advisory committees of the FDA. Some members
of the advisory committees were employed by pharmaceutical
companies, or by universities engaged in research for such
companies.   The committees were employed by the FDA to advise in
matters that involved segments of the regulated industry as a
whole rather than particular products or companies.


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         I.     Scope of the Term "Particular Matter"
               A. Section 208 and its Legislative History
              Under section 208(a), a government official must disqualify
         himself from acting in any "judicial or other proceeding,
         application, request for a ruling or other determination,
         contract, claim, controversy, charge, accusation, arrest or
         other particular matter" that might affect his private financial
         interest. Focusing on the words of the statutory text alone, it
         is not clear exactly how far Congress meant the term "particular
         matter" to extend. While the plain meaning of the phrase
         "particular matter" may easily embrace rulemaking and general
         policy making, it is true that the specific proceedings
         enumerated in section 208(a) all suggest the likely involvement
         of a numerically limited class of affected interests. This does
         not, however, necessarily decide the scope of the catch-all
         final category of "other particular matter[s]."
              Turning to the legislative history, it becomes apparent that
         the adjective "particular" was not intended to limit the
         statute's reach in terms of the number of parties or entities
         that might be affected by a matter, or the peculiarity of the
         matter's effect on particular parties. Nor was this term
         otherwise intended to preclude or limit application of the
         statute to certain kinds of governmental proceedings.  On the
         contrary, the legislative history indicates that Congress
         intended the disqualification requirement in section 208 to
         apply to all governmental proceedings and actions.
              The prohibition on government officials' acting in matters
         affecting a personal financial interest was enacted in its
         present form as part of the general restructuring of the conflict
         of interest laws that took effect in January 1963.  See Pub. L.
         No. 87-849, 76 Stat. 1119 (1962).  Prior to that time, the
         prohibition was limited to "the transaction of business with" a
         nongovernmental business entity in which the official had a
         pecuniary interest.  See 18 U.S.C. 434 (1958 ed.).    This
         prohibition was originally enacted in 1863 in an environment of

          4Section 434 provided:
                         Whoever, being an officer, agent or member
                      of, or directly or indirectly interested in
                      the pecuniary profits or contracts of any
                      corporation, joint-stock company, or associa-
                      tion, or of any firm or partnership, or other
                      business entity, is employed or acts as an
                      officer or agent of the United States for the
                      transaction of business with such business
                      entity, shall be fined not more than $2,000 or
                      imprisoned not more than two years, or both.


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4.




     wartime procurement frauds, and was intended to curb government
     officials' transacting business on behalf of the United States
     with any business entity in which they had a financial interest.
     See Manning, Federal Conflict of Interest Law 110 (1964).
          The prohibition enacted in section 208 was much broader than
     that contained in section 434.   The legislative history
     indicates that Congress intended to "abandon[] the limiting
     concept of the 'transaction of business'" and to expand the
     statute to "embrace[] any participation on behalf of the
     Government in a matter in which the employee has an outside
     financial interest              . . "   S.   Rep. No.   2213,   87th Cong.,     2d
     Sess. 13 (1962).     See also H.R. Rep. No. 748, 87th Cong.,                  1st
     Sess. 13 (1961).
          In the conflict of interest legislation originally intro-
     duced in April 1961 by the Kennedy administration, the re-
     quirement of disqualification in the event of a financial
     interest was to apply in connection with "a transaction involving
     the Government."  See 107 Cong. Rec. 6835, 6839 (1961).   This
     phrase was defined elsewhere in the administration's bill to
     include "any proceeding, application, request for a ruling or
     other determination, contract, claim, case or other particular
     matter."   Id.
          The phrase "transaction involving the government" and its
     definition were borrowed from model legislation prepared by the
     Association of the Bar of the City of New York, whose 1960
     Report, "Conflict of Interest and Federal Service," was
     acknowledged as one of the most important influences in the
     recodification of the federal conflict of interest laws. This
     Report made clear that the phrase "transaction involving the
     government" was intended to comprehend "all federal executive
     action."
           In the bill reported out of the House Judiciary Committee,
     the phrase "transaction involving the government" was replaced by
     the enumeration of proceedings originally contained in the defi-
     nition section of the administration's bill. According to the
     administration's analysis of the House bill, this enumeration
     was intended to be "comprehensive of all matters that come before

     5 See Report of the Association of the Bar of the City of New
     York at 198-99 (1960)(hereinafter,              New York City Bar Report):
             An effective conflict of interest rule on disquali-
             fication must reach out to compel disqualification
             of the interested official not only in respect of
             business transactions with business entities, but,
             in respect of all federal executive action that
             substantially affects his personal economic
             interests    .   . ..



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    a Federal department or agency." Hearings on Federal Conflict
    of Interest Legislation before the Antitrust Subcommittee of the
    House Judiciary Committee, 87th Cong., 1st Sess. 38 (1961)
    (analysis submitted by Assistant Attorney General Katzenbach,
    Office of Legal Counsel).  The administration's analysis noted
    that the word "particular" was included as a modifier of "matter"
    to "emphasize that the restriction applies to a specific case or
    matter and not to a general area of activity." Id. Section
    208(a) was described as barring "almost any type of significant
    participation in Government action in the consequences of which
    [an official] has a substantial economic interest." Id. at 41.


    B.     The Term "Particular Matter" in the Statutory Scheme
         When the term "particular matter" in section 208 is examined
    in the context of the statutory scheme of the conflict of inter-
    est laws as a whole, it becomes even clearer that Congress did
    not intend to confine its scope to matters affecting only a few
    parties, or to somehow exclude from section 208's disquali-
    fication requirement government actions that have a similar
    impact on similarly situated parties.
          The term "particular matter" is used in five other
    provisions of the conflicts laws.     In two of these, 18 U.S.C.
    203(a) and the first paragraph of 18 U.S.C. 205, it appears at
    the end of a long list of governmental proceedings in which
    government officials are barred in representing 6 private parties.
    This list   is identical in all relevant respects to that in
    section 208(a).    To our knowledge, no question has ever been
    raised as to the comprehensive scope of the proceedings named in
    those statutes.    Indeed, we think it would be very difficult to
    argue that a government employee could be paid to represent a
    private party before an executive agency in any connection,
    without raising a question under both of these sections.
          The term "particular matter" also appears in 18 U.S.C.
    203(c), the second paragraph of 18 U.S.C. 205, and 18 U.S.C.
    207.   But in these three provisions the term is modified by the
    phrase "involving a specific party or parties." In contrast to
    section 203(a) and the first paragraph of section 205, the term.
    thus modified has generally been understood not to include
    "general rule-making, formulation of general policy or stan-
    dards, other similar administrative matters, and legislative
    activities -- none of which typically involve specific
    parties . . . ."  S. Rep. No. 170, 95th Cong., 1st Sess. 48
    (1977).     See also Memorandum of the Attorney General Regarding

     6The list  of proceedings in sections 203(a) and 205 does not
    include the introductory words "judicial or other" that appear in
    section 208.


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Conflict o5 Interest Provisions of Public Law 87-849,   18 U.S.C.
201, Note.
     We think that the presence or absence of the qualifying
phrase "involving a specific party or parties" in the conflicts
laws is an important indicator of the intended scope of any of
these provisions, and are inclined to agree with the statement
in the 1978 OLC opinion that "[t]he clear implication is that
general rulemaking and the formulation of general policy would be
covered in the absence of the reference to specific parties."
1978 OLC opinion at 154.   We note that this conclusion appears
to be consistent with the longstanding administrative




7 The cited Attorney General's
                                interpretive memorandum, prepared
contemporaneously with the passage of the conflicts laws in 1963,
stated with respect to the postemployment prohibitions of section
207 that "past participation in or official responsibility for a
matter of this kind on behalf of the government does not
disqualify a former employee from [subsequently] representing
another person in a proceeding which is governed by the rule or
other result of the matter." See also Letter from Assistant
Attorney General Rehnquist to the Secretary of the Interior,
July 14, 1969 (former Interior Department official may represent
the Alaskan Federation of Natives before Congress on the general
subject of Alaskan native land claims, even though he partici-
pated in specific land claim matters while in government
service); letter from Deputy Assistant Attorney General Lawton to
the Chairman of the Judiciary Committee, Council of the District
of Columbia, May 18,-1979 (legislative activities generally will
not involve "a specific party or parties" so as to prohibit
postemployment representation in connection with the same subject
matter).
8 One of the most authoritative commentators
                                             on the 1963
conflicts laws has stated:
       The significance of the phrase 'involving a specific
    party or parties' must not be dismissed lightly or
    underestimated. Law 87-849 discriminates with great
    care in its use of this phrase. Wherever the phrase
    does appear in the new statute it will be found to
    reflect a deliberate effort to impose a more limited ban
    and to narrow the circumstances in which the ban is to
    operate.
Manning,   supra, at 204.


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       interpretation of the term "particular matter" in section 208.10
             This is not to say that the word "particular" does not
       introduce some limiting principle into the statute's coverage.
       As Assistant Attorney General Katzenbach suggested in his com-
       ments on the provisions in the House bill that were eventually
       enacted, the term was intended to signify that an official need
       not be disqualified from participating in a "general area of
       activity" just because he has a financial interest that would be
       affecte by a "specific" matter. See House Hearings at 38,
       supra.     This suggests that section 208's disqualification
       requirement should be limited, in the phraseology of the 1978 OLC
       opinion, to the "discrete and indentifiable" matter that affects
       an official's financial interest, and not extended to related
       matters that do not have this effect. But this does not mean
       that the word "particular" categorically excludes certain types
       of governmental actions from the reach of the statute's
       disqualification requirement.
       II.   Scope of the Term "Financial Interest"
            Support for the conclusion that Congress did not intend to
       exclude whole categories of governmental activities from the
       prohibition in section 208(a) is found in the legislative history
       in connection with the definition of a disqualifying "financial
       interest."
            The draft legislation of the Association of the Bar of the
       city of New York, which as previously noted served in many

       10 A Presidential Memorandum dated May 2,
                                                 1963, entitled
       "Preventing Conflicts of Interest on the Part of Special
       Government Employees" explained the scope of section 208(a) as
       "not limited to those involving a specific party or parties," but
       extending to "a matter of any type the outcome of which will have
       a direct and predictable effect upon the financial interests
       covered by the section," (emphasis supplied).  This memorandum
       was drafted in this Office, and its substance has now been
       incorporated at p. 4 of Appendix C, Chapter 735 of the Federal
       Personnel Manual.
         SThis Office has never had the occasion to consider whether a
       matter related to one in which the official concededly has a
       financial interest constitutes the same "particular matter" for
       purposes of section 208(a).  The question of what constitutes the
       same "particular matter" has, however, been addressed on numerous
       occasions over the years in the context of the postemployment
       restrictions of 18 U.S.C. 207(a).   See, e.g., Memorandum from
       Deputy Assistant Attorney General Ulman, to Assistant Attorney
       General Kauper, April 6, 1976.   See also ABA Formal Opinion No.
       342 (1975).  The resolution of the question in this context
       depends in large part upon the facts in a given situation.


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            respects as a model for the bill introduced in the spring of
            1961, provided that disqualification should be mandatory in the
            event that a government official had a "direct and substantial
            economic interest" in a matter. New York City Bar Report at 279.
            The term "substantial economic interest" was defined to
            incorporate two specific exceptions: first, an exception for any
            financial interest of a government employee derived exclusively
            from his or her government employment; and, second, an exception
            for the interest of a government employee "solely as a member of
            the general public, or of any significant economic or other
            segment of the general public." See New York City Bar Report at
            281-82.   In any case in which these exceptions did not apply, the
            only avenue for exemption from the disqualification requirement
            was a presidential order suspending operation of the statute
            based on a presidential determination that the national interest
            in the individual's service outweighed the public interest in
            disqualification.   Id. at 282.
                 The analogous provisions of the bill introduced by the
            administration and ultimately enacted into law contained a
            stricter disqualification requirement, but a more flexible waiver
            provision.   Section 208(a) required disqualification in the
            event of a "financial interest," a term qualified neither by the
            word "substantial" nor by any exceptions. Some relief was intro-
            duced through the waiver provisions of section 208(b).   Under
            this section, an appointing official could exempt an individual
            if he determined that the financial interest involved was "not so
            substantial as to affect the integrity of the services which the
            Government may expect" from the employee; alternatively, a
            general exemption might be promulgated by an agency rule in cases
            where the particular financial interest involved was considered
            "too remote or too inconsequential to affect the integrity" of




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      officials' services.12 These provisions were described in the
                                                     0
      legislative history as allowing exemption on a case-by-case or
      class-wide basis in the event that a financial interest was "de
      minimis." See S. Rep. No. 2213, 87th Cong., 2d Sess. 14 (1962).
           It would appear from this legislative history that Congress
      did not intend the term "financial interest" to be qualified by a
      substantiality test. It also seems fair to infer that Congress
      did not intend to exclude financial interests arising from
      federal service and financial interests shared with many others,
      as had been pRoposed in the New York City Bar's draft
      legislation.    Instead, the rigor of section 208(a)'s
      disqualification requirement was to be tempered primarily

      12 Section 208(b) provides in pertinent part as follows:

                     Subsection (a) hereof shall not apply (1)
                 if the officer or employee first advises the
                 Government official responsible for appoint-
                 ment to his position of the nature and
                 circumstances of the judicial or other
                 proceeding, application, request for a ruling
                 or other determination, contract, claim,
                 controversy, charge, accusation, arrest, or
                 other particular matter and makes full
                 disclosure of the financial interest and
                 receives in advance a written determination
                 made by such official that the interest is not
                 so substantial as to be deemed likely to
                 affect the integrity of the services which the
                 Government may expect from such officer or
                 employee, or (2) if, by general rule or
                 regulation published in the Federal Register,
                 the financial interest has been exempted from
                 the requirements of clause (1) hereof as being
                 too remote or too inconsequential to affect
                 the integrity of Government officers' or
                 employees' services. . . .
      131This Office has had occasion
                                      in the recent past to consider
      whether interests arising from federal employment constitute
      financial interests under section 208. See memorandum from
      Charles J. Cooper, Assistant Attorney General, Office of Legal
      Counsel,    to Richard Willard, Assistant Attorney General,   Civil
      Division, "18 U.S.C. 208 and Participation of Departmental
      Attorneys in Debt Ceiling Litigation," December 6, 1985.   While
      the situation at issue there did not in the end require
      resolution of this question, we expressed "doubt" as to the
      correctness of the conclusion in a prior opinion of this Office
      that section 208 did not extend to financial interests derived
      from federal employment, in light of the "plain language" of the
      statute.


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               through operation of section 208(b)'s discretionary waiver
               provision.
                     Of course, even though Congress did not intend any
               categorical exceptions to section 208's disqualification
               requirement, it is still  necessary to determine the existence of
               a disqualifying "financial interest" on a case-by-case basis in
               light of the all the circumstances.   In most situations, this
               will depend upon the test of proximity reflected in the concept
               of "direct and predictable effect" thatl as been read into the
               statute from the time of its enactment.     But this determina-
               tion does not depend upon the size of the financial interest at
               stake or the fact that a particular financial interest is one
               shared generally with many others. While such considerations may
               be grounds for granting a waiver, under either section 208(b)(1)
               or section 208(b)(2), they do not determine the statute's
               applicability in the first instance.


               141The "direct and predictable
                                              effect" test for determining when
               a financial interest should give rise to disqualification was
               announced contemporaneously with the enactment of section 208 in
               1963, see Presidential Memorandum "Preventing Conflicts of
               Interest on the Part of Special Government Employees," May 2,
               1963, and has been followed consistently over the ensuing 20
               years of administrative interpretation. See, e.g., Memorandum
               from Assistant Attorney General Rehnquist, Office of Legal
               Counsel, to the Counsel to the President, December 10, 1970
               ("Continued Service as Commissioner of the Federal Power
               Commission until February 1, 1971").   During this period it has
               only once been suggested that the term "particular matter" might
               be similarly limited in scope.   In a Memorandum to the Files
               dated July 28, 1969, then-Assistant Attorney General Rehnquist
               stated that while there are "obvious limits" to the term
               "particular matter," the "line marking those limits ought not to
               be drawn between a matter for adjudication, on the one hand, and
               a matter relating to rule-making, on the other." The memorandum
               went on to suggest that
                  [ilf a sufficiently small and discreet enough group of persons
                  or entities would be affected by the proposed rule-making,
                  such a proceeding could very well be encompassed within
                  the provisions of section 208. Were the affected groups
                  sufficiently large, the limits of the requirement that
                  the entity have a "financial interest" in the proceeding
                  as well as the limits of the term "particular matter,"
                  would doubtless somewhere be reached.
               We believe this passage can best be understood as a helpful gloss
               on the scope of the statutory term "financial interest," rather
               than as an invitation to introduce flexibility into the
               definition of a "particular matter."


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    III. Conclusion
          We believe that the term "particular matter" in section
    208(a) extends to rulemaking and general policy matters, as well
    as matters such as adjudications that affect only a limited
    number of private parties. The language and legislative history
    of section 208, as well as other provisions of the conflict of
    interest laws, support an interpretation under which the
    statutory disqualification requirement extends to all discrete
    matters that are the subject of agency action, no matter how
    general their effect. Whatever flexibility there is in applying
    section 208(a) in the context of such a discrete matter must be
    introduced in connection with determining whether, intlight of
    all the facts, the matter is likely to have a direct and
    predictable effect on an official's private financial interest.
    If section 208(a) does apply, then an official may participate in
    that matter only if granted a waiver by the appointing official
    under section 208(b).
         In the final paragraph of your letter, you ask us generally
    to address the situation of employees of the Department of the
    Interior who may in the past have participated in certain
    rulemaking and other "general" departmental matters on the
    assumption that secti6n 208 had no applicability at all to such
    activities. Even if we had the factual information needed to
    assess the propriety of an individual's participation in a
    specific context, we believe that it would be inappropriate for
    us to do so after the fact. We can say, however, that if an
    employee participated in a matter in good faith reliance on
    advice from an appropriate source concerning the scope of section
    208, it is unlikely that such an employee would be held
    accountable for a violation of that provision.


                                       S          C
                                         Samuel A. Alito, Jr.
                                     Deputy Assistant Attorney General
                                        Office of Legal Counsel




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                        Complaint
                          Exhibit J
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               Responsibility of Agencies to Pay Attorney’s Fee
                Awards Under the Equal Access to Justice Act
   The judgment of attorney’s fees and expenses entered against the United States in Cienega Gardens v.
     United States cannot be paid out of the Judgment Fund because the Equal Access to Justice Act
     provides for payment.
   Pursuant to EAJA, the Department of Housing and Urban Development must pay the award. HUD
     would be the “agency over which the [plaintiffs] prevail[ed]” under EAJA because it administered
     the federal program that was the subject of the litigation.

                                                                                    October 16, 2007

            MEMORANDUM OPINION FOR THE ASSISTANT ATTORNEY GENERAL
                                CIVIL DIVISION

      You have asked for our opinion on which agency, if any, must pay the judg-
   ment of attorney’s fees and expenses entered against the United States in Cienega
   Gardens v. United States, No. 02-5050 (Fed. Cir. Mar. 5, 2004). In particular, you
   have asked whether the award may be paid out of the Judgment Fund, under 31
   U.S.C. § 1304 (2000), or whether it must be paid out of the appropriations of an
   agency responsible for the award under the Equal Access to Justice Act (“EAJA”),
   28 U.S.C. § 2412 (2000).
      On December 9, 2005, we advised that the award could not be paid out of the
   Judgment Fund, because the Judgment Fund is available only when “payment is
   not otherwise provided for.” 31 U.S.C. § 1304(a)(1). EAJA provides for payment,
   by directing that a fee award “be paid by any agency over which the party prevails
   from any funds made available to the agency by appropriation or otherwise.” 28
   U.S.C. § 2412(d)(4). We further advised that the Department of Housing and
   Urban Development (“HUD”) would be the “agency over which the [plaintiffs]
   prevail[ed]” under EAJA, because HUD administered the federal program that was
   the subject of the litigation. This opinion confirms our previous advice and
   provides additional analysis of these questions.

                                                    I.

       The Federal Circuit imposed the fee award in Cienega Gardens at the close of a
   protracted lawsuit challenging amendments to a HUD program designed to
   subsidize low- and moderate-income multifamily housing. After almost a decade
   of litigation and three rounds of appeals, the United States Court of Appeals for
   the Federal Circuit ruled that the amendments constituted a regulatory taking of
   the plaintiffs’ property and ordered the United States to pay just compensation.
   The court of appeals further ordered that the United States pay the plaintiffs the
   attorney’s fees and expenses incurred during their third appeal, the stage of the
   litigation during which the plaintiffs prevailed on their takings claims. Before



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   considering which instrumentality of the federal government must pay this fee
   award, we discuss the relevant events in the Cienega Gardens litigation.

                                            A.

       The plaintiffs in Cienega Gardens were the owners of housing constructed in
   the 1970s under the National Housing Act, Pub. L. No. 73-479, 48 Stat. 1246
   (1934) (codified as amended at 12 U.S.C. §§ 1701–1750g (2000 & Supp. V.
   2005)), and financed with HUD-insured low-interest mortgages. As a condition of
   receiving the HUD-insured mortgages, the plaintiffs incorporated into their
   mortgage contracts with private lenders a variety of restrictions on the properties,
   including restrictions on income levels of tenants, allowable rental rates, and the
   rate of return on initial equity that the owners could receive. By their terms, these
   restrictions remained in effect for the duration of the mortgage contracts. Under
   HUD regulations then in effect, developers retained the right to prepay their loans
   and satisfy their mortgage obligations after twenty years. 24 C.F.R. §§ 221.524(a),
   236.30(a) (1970). Owners who prepaid the mortgages would be released from the
   regulatory restrictions.
       As the twenty-year mark for many HUD-insured mortgages approached, Con-
   gress became concerned that large numbers of owners would exercise their
   prepayment rights and remove their properties from the low-income housing pool.
   Congress found that such an event “would precipitate a grave national crisis in the
   supply of low income housing that was neither anticipated nor intended when
   contracts for these units were entered into.” Emergency Low Income Housing
   Preservation Act of 1987, Pub. L. No. 100-242, tit. II, § 202(a)(4), 101 Stat. 1877,
   1877 (1988) (“ELIHPA”); see also S. Rep. No. 101-316, at 105 (1990).
       Congress chose to forestall such an outcome by enacting ELIHPA, which
   blocked the owners from exercising their prepayment rights without first obtaining
   HUD approval. In order to obtain that approval, the owners were required to
   submit a “plan of action” informing HUD of how the developers would use the
   property following prepayment. ELIHPA § 223, 101 Stat. at 1879. HUD could
   only approve prepayment upon finding that the plan would “not materially
   increase economic hardship for current tenants or involuntarily displace current
   tenants (except for good cause) where comparable and affordable housing is not
   readily available.” Id. § 225(a)(1), 101 Stat. at 1880. In 1988, HUD issued an
   interim rule implementing these prepayment restrictions, 53 Fed. Reg. 11,224
   (Apr. 5, 1988) (codified at 24 C.F.R. pt. 248 (1989)), and issued instructions to its
   field offices detailing the procedures for filing and reviewing plans of action. In
   1990, HUD issued a final rule implementing the prepayment restrictions imposed
   under the interim rule. 55 Fed. Reg. 38,944 (Sept. 21, 1990) (codified at 24 C.F.R.
   pt. 248 (1991)).
       The ELIHPA restrictions would have expired after two years, but Congress
   extended them before their expiration, Pub. L. No. 101-494, 104 Stat. 1185 (1990),



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   and then made them permanent under the Low-Income Housing Preservation and
   Resident Homeownership Act of 1990, Pub. L. No. 101-625, tit. VI, 104 Stat.
   4249 (“LIHPRHA”). HUD continued to issue regulations implementing ELIHPA
   and LIHPRHA. 1 The plaintiffs were effectively prohibited from prepaying their
   mortgages until Congress enacted the Housing Opportunity Program Extension
   Act of 1996, which permitted owners to exercise their prepayment rights and be
   free from the affordability restrictions if they agreed not to increase their rents
   until sixty days after prepayment. See Pub. L. No. 104-120, § 2(b), 110 Stat. 834,
   834.

                                                     B.

      In 1994, the Cienega Gardens plaintiffs brought suit in the Court of Federal
   Claims challenging their inability to prepay the HUD-insured mortgages under
   ELIHPA and LIHPRHA. Cienega Gardens v. United States, 33 Fed. Cl. 196
   (1995). Throughout the litigation, the United States was represented by attorneys
   from the Civil Division of the Department of Justice (“DOJ”), with attorneys from
   HUD appearing on the briefs as “of counsel.” We understand that the Civil
   Division and HUD had no significant disagreement over the positions asserted
   during the course of the litigation.
      Pursuant to the Tucker Act, 28 U.S.C. § 1491(a)(1) (2000), the plaintiffs named
   the United States as the only defendant. Plaintiffs’ complaint charged that the
   government had violated several duties allegedly owed to the plaintiffs by
   implementing the prepayment restrictions that Congress had imposed through
   ELIHPA and LIHPRHA. First, plaintiffs claimed that the government had
   breached express contracts with the plaintiffs in the form of the regulatory
   agreements that incorporated the prepayment right. Second, plaintiffs claimed that
   the government had violated certain statutory directives in the manner in which it
   had administered the programs under sections 221(d)(3) and 236 of the National
   Housing Act. Finally, plaintiffs claimed that the government had taken their


       1
         See Prepayment of a HUD-Insured Mortgage by an Owner of Low Income Housing, 56 Fed. Reg.
   20,262 (May 2, 1991) (proposed rule); Guidelines for Determining Appraisals of Preservation Value
   Under the Low-Income Housing Preservation and Resident Homeownership Act of 1990, 56 Fed. Reg.
   64,932 (Dec. 12, 1991) (notice and request for public comment); Prepayment of a HUD-Insured
   Mortgage by an Owner of Low Income Housing, 57 Fed. Reg. 11,992 (Apr. 8, 1992) (interim rule);
   Preservation of Multifamily Assisted Rental Housing: Interim Guidelines for the Section 222(e)
   Windfall Profits Test, 57 Fed. Reg. 12,064 (Apr. 8, 1992) (notice of interim guidelines and request for
   public comment); Final Guidelines for Determining Appraisals of Preservation Value Under the Low-
   Income Housing Preservation and Resident Homeownership Act of 1990, 57 Fed. Reg. 19,970 (May 8,
   1992) (notice); Delegation of Authority for the Emergency Low Income Housing Preservation Act of
   1987, as Amended by the Low Income Housing Preservation and Resident Homeownership Act of
   1990, and as Further Amended by the Housing and Community Development Act of 1992, 58 Fed.
   Reg. 63,384 (Dec. 1, 1993) (notice of delegation of authority).




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   property without just compensation, in violation of the Fifth Amendment, by
   denying them the right to put their property to a more profitable use after twenty
   years.
       In the initial round of litigation, the Court of Federal Claims granted summary
   judgment in the plaintiffs’ favor on the contract claim, held that plaintiffs could
   maintain a claim for a regulatory taking, and ruled in the government’s favor on all
   other claims. Cienega Gardens v. United States, 33 Fed. Cl. 196 (1995). The court
   then held a trial to determine contract damages for four model plaintiffs. Cienega
   Gardens v. United States, 38 Fed. Cl. 64 (1997). On appeal, the Federal Circuit
   upheld the rulings in the government’s favor but reversed on the contract claim,
   holding that HUD was not in privity with plaintiffs under the regulatory agree-
   ments. Cienega Gardens v. United States, 194 F.3d 1231 (Fed. Cir. 1998).
       The case returned to the Court of Federal Claims to address plaintiffs’ remain-
   ing claim for a regulatory taking. The trial court dismissed that claim on the
   ground that plaintiffs had failed to exhaust their administrative remedies by not
   filing a plan of action with HUD seeking a release from the affordability re-
   strictions. The Federal Circuit reversed on appeal, however, holding that the
   plaintiffs had “set forth uncontested facts demonstrating that it would be futile for
   them to file prepayment requests with HUD.” Cienega Gardens v. United States,
   265 F.3d 1237, 1248 (Fed. Cir. 2001).
       Following another remand, the trial court rejected the regulatory taking claim
   on the merits. The plaintiffs filed a third appeal, and the Federal Circuit again
   reversed, ruling that the four model plaintiffs had suffered a regulatory taking and
   that the other plaintiffs should be given the opportunity to prove the facts underly-
   ing their claims before the trial court. Cienega Gardens v. United States, 331 F.3d
   1319 (Fed. Cir. 2003). 2

                                                    C.

      Following their success on the third appeal, the plaintiffs moved for an award
   of attorney’s fees and expenses from the United States under EAJA, 28 U.S.C.
   § 2412(d). In relevant part, section 2412(d)(1)(A) provides:

           Except as otherwise specifically provided by statute, a court shall
           award to a prevailing party . . . fees and other expenses . . . incurred
           by that party in any civil action (other than cases sounding in
           tort) . . . brought by or against the United States . . . , unless the court


      2
        The Cienega Gardens litigation has continued, although the subsequent developments are not
   relevant to the issues addressed in this opinion. See, e.g., Cienega Gardens v. United States, 503 F.3d
   1266 (Fed. Cir. 2007); Independence Park Apts. v. United States, 449 F.3d 1235, on reconsideration,
   465 F.3d 1308 (Fed. Cir. 2006).




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          finds that the position of the United States was substantially justified
          or that special circumstances make an award unjust.

   28 U.S.C. § 2412(d)(1)(A). In a brief order, the Federal Circuit granted the motion
   for fees and expenses under section 2412(d), but limited the award to those
   incurred during the plaintiffs’ third appeal, when the court of appeals reversed the
   trial court’s denial of the regulatory taking claim:

          The application is granted in part. The court allows reasonable attor-
          ney fees and expenses pursuant to the EAJA for Cienega III, in the
          amount of $147,373.24 as reasonable attorney fees and $9,386.16 in
          expenses, for a total of $156,759.40.

   Order, Cienega Gardens v. United States, No. 02-5050, at 2 (Mar. 5, 2004). To
   award fees under this provision, the Federal Circuit was obliged to find that the
   efforts of the United States to defend the Court of Federal Claims’ ruling on the
   regulatory takings question in the third appeal were not “substantially justified”
   and that no “special circumstances” made the award of fees unjust. The Federal
   Circuit’s conclusion provided no explanation for why the United States was not
   justified in seeking to defend the trial court decision, and on its face, such a ruling
   would appear questionable. The United States did not seek further review of that
   decision, however.

                                             II.

      In light of the Federal Circuit’s judgment, you have asked which federal agen-
   cy, if any, bears responsibility under EAJA to pay the award of attorney’s fees and
   expenses in the Cienega Gardens case. EAJA provides that “[f]ees and other
   expenses awarded under this subsection to a party shall be paid by any agency
   over which the party prevails from any funds made available to the agency by
   appropriation or otherwise.” 28 U.S.C. § 2412(d)(4). In most cases, which federal
   agency must pay the award is not likely to be an issue. The defendant in the case
   will be a federal agency or an officer acting on behalf of a federal agency, and the
   plaintiff’s suit will directly challenge the action or inaction of the government
   defendant. In such a case, the “agency over which the party prevails” would be
   clearly identified.
      The circumstances of this case, however, have engendered some disagreement
   over which agency, or whether in fact any agency, should be responsible for the
   award of attorney’s fees and expenses. The plaintiffs did not sue any one agency
   but rather brought suit against the United States. Furthermore, the primary issue in
   the litigation was whether two statutes enacted by Congress, ELIHPA and
   LIHPRHA, had effected an uncompensated taking of plaintiffs’ property. You and
   HUD therefore have expressed the view that Cienega Gardens constitutes the rare
   case in which no agency bears responsibility for the fee award and in which



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   payment should be made out of the Judgment Fund, 31 U.S.C. § 1304, which
   Congress established to cover judgments against the United States for which no
   appropriation is otherwise available. See Letter for Debra Diener, Chief Counsel,
   Financial Management Service, Department of the Treasury, from Carole W.
   Wilson, Associate General Counsel for Litigation, Department of Housing and
   Urban Development, Re: Cienega Gardens, et al. v. United States, United States
   Court of Appeals for the Federal Circuit, Award of Attorneys’ Fees (May 12,
   2004) (“HUD Letter”), and attached Memorandum of Law (May 11, 2004) (“HUD
   Memo”); Memorandum for Steven Bradbury, Principal Deputy Assistant Attorney
   General, Office of Legal Counsel, from Peter D. Keisler, Assistant Attorney
   General, Civil Division, Re: Request for New Opinion Concerning Payment of
   Judgments under the Equal Access to Justice Act at 10-12 (May 4, 2005) (“DOJ
   Letter”).
      The Department of the Treasury, which administers the Judgment Fund, disa-
   grees. Treasury notes that the Judgment Fund is available only when “payment is
   not otherwise provided for” by federal law, 31 U.S.C. § 1304(a)(1). Letter for
   Stuart E. Schiffer, Deputy Assistant Attorney General, Civil Division, Department
   of Justice, from Margaret Marquette, Chief Counsel, Financial Management
   Service, Department of the Treasury, Re: Cienega Gardens, et al. v. United States,
   No. 02-5050 (Fed. Cir.) at 2 (Feb. 1, 2005). Treasury contends that EAJA does
   provide for payment of “fees and other expenses” by “any agency over which the
   party prevails” and that HUD is the responsible agency under the statute. Treasury
   notes that “the cause of action was based upon a statute within HUD’s purview (12
   U.S.C. § 4122), DOJ consulted with HUD as the client agency, and HUD attor-
   neys were listed on the court briefs as ‘of counsel.’” Id. Based on this understand-
   ing, Treasury has declined payment absent an opinion to the contrary from this
   office.
      Accordingly, you have asked for this office’s view as to whether the Judgment
   Fund is authorized to pay EAJA judgments entered against the United States,
   when no agency has been named as a defendant in the litigation. As both Treas-
   ury’s response and your memorandum suggest, this question also requires
   consideration of whether Congress deemed a particular agency to be responsible
   under EAJA for the fee award. For the reasons discussed below, we conclude that
   the Judgment Fund is not available to satisfy the fee award, because HUD
   constitutes the “agency over which the party prevail[ed]” under EAJA.

                                            A.

      The Judgment Fund is available “to pay final judgments, awards, compromise
   settlements, and interest and costs specified in the judgments” against the United
   States only when “payment is not otherwise provided for.” 31 U.S.C. § 1304(a)(1).
   If Congress has made an appropriation that is reasonably interpreted to cover a
   liability incurred by the government, the liability must be satisfied out of that



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   appropriation. “The fact that it might be necessary to do some statutory interpreta-
   tion to determine if a particular appropriation is available to pay a judgment or
   compromise settlement does not preclude use of that appropriation.” Matter of:
   S.S. Silberblatt, Inc. v. East Harlem Pilot Block—Payment of Judgment, 62 Comp.
   Gen. 12, 16 (1982) (rejecting HUD’s argument that a settlement should be paid out
   of the Judgment Fund). 3
       Here, Congress did provide a statutory mechanism for the payment of EAJA
   awards by specifically providing that fee awards “shall be paid by any agency over
   which the party prevails from any funds made available to the agency by appropri-
   ation or otherwise.” 28 U.S.C. § 2412(d)(4). Congress, in other words, intended to
   ensure that, to the extent possible, fee awards should be paid by whichever agency,
   or agencies, may be described as having been prevailed over in an action against
   the United States. Congress did not intend for agencies to turn to the Judgment
   Fund to pay a fee award under EAJA, unless it can be said that the plaintiffs did
   not prevail over “any agency.”
       The history of EAJA confirms this interpretation. The original version of the
   statute provided:

           Fees and other expenses awarded under this subsection may be paid
           by any agency over which the party prevails from any funds made
           available to the agency, by appropriation or otherwise, for such pur-
           pose. If not paid by any agency, the fees and other expenses shall be
           paid in the same manner as the payment of final judgments is made
           in accordance with sections 2414 and 2517, of this title.

   Pub. L. No. 96-481, tit. II, § 204(a), 94 Stat. 2325, 2329 (1980) (emphasis added)
   (codified at 28 U.S.C. § 2412(d)(4)(A) (Supp. V 1981)). 4 In 1982, this office
   opined that Congress had not intended to give the losing agency unfettered
   discretion to seek payment from the Judgment Fund, but rather “a reasonable
   amount from the unrestricted appropriations of an agency must be allocated to the
   payment of awards for fees and expenses” under EAJA. Funding of Attorney Fee
   Awards Under the Equal Access to Justice Act, 6 Op. O.L.C. 204, 205 (1982). We
   concluded that an agency could seek payment from the Judgment Fund “only
   when making an award out of agency funds would be a very heavy financial blow
   to the agency[.]” Id. at 211. This office therefore recognized that the previous


       3
         Although the Executive Branch is not bound by the legal opinions of the Comptroller General, in
   resolving appropriation issues we consider them for what persuasive value they may have. See, e.g.,
   Submission of Aviation Insurance Program Claims to Binding Arbitration, 20 Op. O.L.C. 341, 343 n.3
   (1996).
       4
         Sections 2414 and 2517(a) of title 28 set forth the standard procedures for obtaining disburse-
   ments from the Treasury to satisfy a judgment against the United States.




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   version of EAJA would permit an agency to turn to the Judgment Fund for the
   payment of fee awards only under very narrow circumstances.
      Congress eliminated even this narrow agency discretion by amending EAJA in
   1985. Rather than providing that an agency “may” pay a fee award from available
   funds, Congress declared that the agency “shall” pay the award from agency
   funds. Pub. L. No. 99-80, § 2(d), 99 Stat. 183, 185 (1985). Congress also eliminat-
   ed the second sentence of the former section 2412(d)(4)(A) that permitted the
   agency to treat a fee award like other judgments. EAJA now provides simply that
   “[f]ees and other expenses awarded under this subsection to a party shall be paid
   by any agency over which the party prevails from any funds made available to the
   agency by appropriation or otherwise.” 28 U.S.C. § 2412(d)(4) (emphasis added).
   These amendments confirm that Congress did not intend that the Judgment Fund
   be used to pay fee awards under EAJA. The Judgment Fund is available to pay a
   fee award only if there is no agency over which the plaintiffs can be said to have
   prevailed under EAJA.

                                            B.

       We therefore turn to the question whether “any agency” may be held responsi-
   ble for the Cienega Gardens fee award. As a general rule, the “agency over which
   the party prevails” under EAJA will be the agency whose regulatory interest was
   at stake in the litigation and whose actions or policies are successfully challenged
   in the court action. This interest may be identified by the fact that the agency took
   affirmative action against the prevailing party, in the form of a regulation or
   administrative ruling, or it may be identified by the fact that the agency had
   statutory authority over the regulatory program that the prevailing party success-
   fully challenged. In a typical case, that agency may be named as the plaintiff or the
   defendant, but EAJA does not require that the agency itself be specifically named
   as a party. These considerations, as we explain, point towards the conclusion that
   HUD is the agency responsible under EAJA.
       EAJA provides that a court shall award fees upon finding that the “position of
   the United States” is not “substantially justified.” 28 U.S.C. § 2412(d)(1)(A).
   EAJA defines the “position of the United States” to mean “in addition to the
   position taken by the United States in the civil action, the action or failure to act
   by the agency upon which the civil action is based.” Id. § 2412(d)(2)(D) (emphasis
   added). It further provides that “[w]hether or not the position of the United States
   was substantially justified shall be determined on the basis of the record (including
   the record with respect to the action or failure to act by the agency upon which the
   civil action is based) which is made in the civil action for which fees and other
   expenses are sought.” Id. § 2412(d)(1)(B) (emphasis added). Congress added these
   latter two provisions in the same 1985 amendment in which it clarified that
   agencies could not use the Judgment Fund to pay fee awards assessed against them
   under EAJA. Pub. L. No. 99-80, §§ 2(b), 2(c)(2), 99 Stat. 183, 184–85. Before the



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   1985 amendment, several courts had interpreted EAJA to prohibit consideration of
   the actions of the agency that preceded the lawsuit. 5 Congress thus made clear
   through the 1985 amendment that EAJA predicates responsibility for the fee award
   not simply on the litigating position of the United States, but on the course of
   regulatory action, or inaction, giving rise to the position of the United States over
   which the private litigants prevailed.
       This definition of the “position of the United States” is consistent with the
   purpose underlying EAJA. As the Supreme Court has explained, “Congress passed
   the EAJA in response to its concern that persons ‘may be deterred from seeking
   review of, or defending against, unreasonable governmental action because of the
   expense involved in securing the vindication of their rights.’” Sullivan v. Hudson,
   490 U.S. 877, 883 (1989) (quoting Pub. L. No. 96-481, § 202(a), 94 Stat. 2321,
   2325 (1980)). Through EAJA, Congress sought “to diminish the deterrent effect of
   seeking review of, or defending against, governmental action by providing in
   specified situations an award of attorney fees, expert witness fees, and other costs
   against the United States.” Pub. L. No. 96-481, § 202(b)(1), 94 Stat. at 2325.
   Congress sought therefore to reduce the cost, and consequent deterrent effect, of
   challenging or defending against unreasonable government action. Hudson, 490
   U.S. at 883 (“When the cost of contesting a Government order, for example,
   exceeds the amount at stake, a party has no realistic choice and no effective
   remedy. In these cases, it is more practical to endure an injustice than to contest
   it.”) (quoting S. Rep. No. 96-253, at 5 (1979)). By the same token, by transferring
   the costs of litigation to the agency responsible for the subject matter of the
   litigation and whose actions or policies are under challenge, EAJA would deter the
   “unreasonable governmental action” that gave rise to litigation in the first place.
       EAJA further recognizes that the agency responsible for the fee award need not
   be a named party to the lawsuit. EAJA provides that a “prevailing party” may win
   fees, but the statute contains no corresponding requirement that the agency “over
   which the party prevails” have been a named party to the litigation. See 28 U.S.C.
   § 2412(d)(1)(A), (d)(4). Indeed, EAJA recognizes that fees may be awarded in any
   action “brought by or against the United States,” id. § 2412(d)(1)(A) (emphasis
   added), which is defined to include not only the government as a named party but
   also “any agency and any official of the United States acting in his or her official
   capacity.” Id. § 2412(d)(2)(C). In assigning responsibility for the payment of fee

       5
         See Spencer v. NLRB, 712 F.2d 539, 546–57 (D.C. Cir. 1983) (concluding that “‘the position of
   the United States,’ for the purposes of the Act, means the arguments relied upon by the government in
   litigation,” not the underlying action of the government); Gava v. United States, 699 F.2d 1367, 1371
   (Fed. Cir. 1983) (“In determining an application for attorney’s fees under the Act, the inquiry is
   directed to the justification for the government’s litigating position before the court, not the justification
   for the government’s administrative action that prompted the suit.”). But see Natural Res. Def. Council
   v. EPA, 703 F.2d 700, 707 (3d Cir. 1983) (“We hold that the word ‘position’ refers to the agency action
   which made it necessary for the party to file suit.”).




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   awards, however, Congress stated that the fees shall be paid by “any agency over
   which the party prevails,” id. § 2412(d)(4), and not by “the United States” or by
   one of its officials. This difference in language confirms that the “agency over
   which the party prevails” will include the agency whose conduct led to “the
   position of the United States,” even if the agency was not named as a party to the
   litigation.
       Applying these principles to the case at hand, we believe that EAJA assigns
   responsibility for the fee award in the Cienega Gardens case to HUD, the agency
   charged with administering the federal statutory scheme in question. HUD issued
   the regulations in 1970 that were incorporated into plaintiffs’ mortgage notes and
   initially gave them the right to prepay their HUD-insured loans after twenty years
   and be released from the affordability restrictions. Following Congress’s enact-
   ment of ELIHPA and LIHPRHA, HUD again issued regulations that implemented
   those statutes and recognized what the Federal Circuit held to be the loss of
   plaintiffs’ prepayment rights. Plaintiffs’ successful takings claims were predicated
   on the uncompensated deprivation of property rights created and rescinded under
   this HUD-administered regulatory scheme. Under these circumstances, we believe
   that the plaintiffs are most reasonably said to have prevailed over HUD.
       In opposition to this conclusion, HUD maintains, and you agree, that HUD
   should not be deemed the agency responsible for the fee award, because HUD
   lacked any institutional interest in the litigation surrounding plaintiffs’ takings
   claim. HUD Memo at 4; DOJ Letter at 7. HUD took no direct action against any of
   the plaintiffs, who did not file any petition with HUD, but instead brought suit in
   the Court of Claims following the enactment of ELIHPA and LIHPRHA. In
   addition, plaintiffs’ takings claims did not challenge any HUD regulation or
   administrative decision, and the outcome of the litigation—a monetary award
   compensating the plaintiffs for their losses—did not affect or alter any existing
   HUD program. HUD Memo at 4; DOJ Letter at 7. HUD acknowledges that it had
   an institutional interest in the earlier stages, where the plaintiffs asserted claims for
   breach of contract and administrative violations. HUD Memo at 7. The agency
   maintains, however, that once the dismissal of those claims was upheld on appeal,
   HUD had no remaining interest in the litigation, and specifically had no institu-
   tional interest in the third appeal that was the subject of the fee award. At that
   point, “the plaintiffs’ only remaining claim . . . was that the enactment of
   LIHPRHA constituted a temporary regulatory taking of a property right.” Id. The
   governmental entity that effectuated the unconstitutional taking was Congress,
   which enacted the statutes that of their own force deprived the plaintiffs of their
   property interests. DOJ Letter at 10. Under this view, HUD itself lacked any
   institutional interest in the litigation by the time of the fee award, and therefore, it
   should not be deemed to be the agency over which the plaintiffs prevailed.
       We disagree, however, with the suggestion that HUD lacked a regulatory inter-
   est in plaintiffs’ takings claims. HUD acknowledges its “institutional interest” in




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   the breach of contract and administrative law claims that arose out of its actions in
   granting the prepayment rights and then in restricting prepayment under ELIHPA
   and LIHPRHA. HUD Memo at 7. We see no reason why this institutional interest
   would not extend to the takings claims that arose out of the very same actions. 6
   The Cienega Gardens litigation directly challenged the constitutionality of the
   HUD-administered changes to the low-income housing program. HUD issued the
   regulations that originally set the terms of plaintiffs’ prepayment rights, and when
   Congress enacted ELIHPA and LIHPRHA, HUD was not a passive observer to
   events. Rather, HUD issued regulations and other guidance recognizing the loss of
   the plaintiffs’ prepayment rights and setting the terms under which HUD would
   approve prepayment in the future. By the time of the Federal Circuit’s judgment,
   Congress may have relaxed the restrictions on prepayment through a 1996 statute,
   see supra p. 231, but that was merely a fortuity. Had Congress not altered the
   statutory scheme, the Federal Circuit decision likely would have led HUD to alter
   its regulatory policies to prevent the United States from being exposed to continu-
   ing liability based on regulatory takings claims.
       It is true that the Cienega Gardens plaintiffs brought suit against the United
   States in the Court of Claims without first petitioning HUD for the right to prepay
   the mortgages in question. HUD Memo at 7. The Federal Circuit found that such
   an action would have been futile, however. Cienega Gardens, 265 F.3d at 1248.
   HUD’s regulations provided that plaintiffs could only exercise their prepayment
   right if HUD was satisfied that the plaintiffs’ plan of action would not unduly
   diminish the availability of low-income housing. 7 Plaintiffs contended that they
   could not meet that standard, and the Federal Circuit found the facts underlying
   this contention to be undisputed. Cienega Gardens, 265 F.3d at 1248. Plaintiffs’
   successful takings claim amounted to a declaration that the existing HUD regula-
   tions reflected an uncompensated taking of their prepayment rights. The fact that
   the remedy in the case was compensation, rather than injunctive relief directed at


      6
         Indeed, as HUD notes, the agency’s attorneys appeared “of counsel” on the government’s briefs
   throughout the litigation, including on the third appeal. HUD Memo at 7. We do not regard the
   participation of counsel as a basis ipso facto for assigning responsibility to HUD, but the participation
   of HUD attorneys does confirm that HUD constituted the agency with the specific regulatory interest in
   the Cienega Gardens litigation.
       7
         HUD states that it “never promulgated regulations to enforce the restrictions on prepayment
   contained in ELIHPA and LIHPRHA. HUD’s regulations permitting prepayment after twenty years
   remained in effect throughout the time when prepayment was restricted by those statutes.” HUD Memo
   at 2. HUD, however, issued multiple sets of regulations to implement ELIHPA and LIHPRHA, see
   supra p. 218 & n. 1, including regulations to implement the “plan of action” restriction on prepayment.
   See 24 C.F.R. § 248.221(b)(1)(i) (1993) (“The [Federal Housing] Commissioner may approve a plan of
   action that involves termination of the low income affordability restrictions only upon a written finding
   that . . . [t]he supply of vacant, comparable housing is sufficient to ensure that the prepayment will not
   materially affect . . . [t]he availability of decent, safe and sanitary housing affordable to lower income
   and very low income families in the area . . . .”).




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   the agency, does not alter the fact that HUD’s actions and policies were at issue in
   the litigation.
      In addition to suggesting that HUD lacked a regulatory interest in the takings
   claim, you and HUD suggest that HUD should not be held responsible for the fee
   award on the ground that the agency itself did not engage in any unreasonable
   action to cause plaintiffs’ loss. HUD Memo at 7; DOJ Letter at 9. The Federal
   Circuit described Congress as the responsible actor in taking plaintiffs’ property
   through the enactment of ELIHPA and LIHPRHA. See, e.g., Cienega Gardens,
   331 F.3d at 1328 (describing the questions on the appeal as whether plaintiffs’
   property interest was “taken by the enactment of ELIHPA and LIHPRHA” and
   whether “the regulatory restriction in the statutes” was significant enough to
   require compensation). Under this view, HUD’s regulatory actions amounted to
   nothing more than implementing the directives of ELIHPA and LIHPRHA. HUD
   did not add to plaintiffs’ injury, and HUD lacked any statutory authority to
   determine whether those federal laws constituted a taking or to provide the
   plaintiffs with payment for any lost property interest. Because HUD took no
   wrongful action, you maintain that “making HUD pay EAJA fees, under the
   circumstances, would not promote Congress’s primary reason for making agencies
   liable for EAJA fees: to penalize unreasonable agency action.” DOJ Letter at 8.
      We do not disagree that HUD did nothing more than carry out its statutory
   obligations in this case, yet that fact does not relieve HUD of its responsibilities
   under EAJA for fees and costs incurred by plaintiffs who successfully challenged
   the HUD-administered program. Congress may be the entity most responsible for
   the regulatory takings recognized by the Federal Circuit, but Congress clearly
   cannot be the “agency over which the plaintiffs prevailed.” See 5 U.S.C.
   § 551(1)(A) (excluding Congress from the definition of “agency” under the
   Administrative Procedure Act). It is no doubt true that “Congress’s primary reason
   for making agencies liable for EAJA fees” is “to penalize unreasonable agency
   action.” DOJ Letter at 8. Yet EAJA does not require a specific finding of fault
   before an agency may be held responsible for the award; it requires only a
   showing that the “position of the United States” was not “substantially justified.”
   28 U.S.C. § 2412(d)(1)(A). Upon finding that the “position of the United States” is
   not “substantially justified,” EAJA requires payment from the “agency over which
   the plaintiffs prevailed” without regard to whether the agency properly or improp-
   erly exercised its discretion.
      For the above reasons, we conclude that HUD does constitute the agency over
   which the plaintiffs prevailed in Cienega Gardens. The agency responsible to pay
   a fee award against the United States under EAJA is the agency whose regulatory
   interest is at stake in the litigation. This interest may be identified by the fact that
   the agency took affirmative action against the prevailing party, in the form of a
   regulation or administrative ruling, or it may be identified by the fact that the
   agency had statutory authority over the regulatory program that the prevailing




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               Responsibility of Agencies to Pay Attorney’s Fee Awards Under EAJA


   party successfully challenged. By either measure, HUD would constitute the
   agency responsible to pay the fee award to the Cienega Gardens plaintiffs.

                                                      C.

      Our conclusion that HUD bears responsibility for the fee award does not end
   our analysis, because EAJA provides for payment by “any agency over which the
   party prevails,” suggesting that more than one agency may bear responsibility.
   Accordingly, we must consider whether another agency, namely DOJ, should be
   deemed jointly responsible. HUD suggests that if the plaintiffs prevailed over any
   agency, it was DOJ, because “DOJ, not HUD, was entirely responsible for the
   arguments made and briefs filed in the third appeal” for which the plaintiffs were
   awarded fees. HUD Memo at 7. HUD further points out that DOJ, not HUD, had
   the ability to settle the litigation. Id.; see 28 U.S.C. § 2414 (2000). This would be
   true in most cases involving the federal government, however. With the exception
   of independent agencies that have their own litigating authority, the Attorney
   General has the statutory authority to control the course of any litigation brought
   by or against the United States or one of its agencies. 28 U.S.C. § 516 (2000). We
   do not believe that Congress intended for DOJ to be deemed the “agency over
   which the party prevails” under EAJA merely by virtue of its statutorily mandated
   role as litigating counsel. 8 If we were to adopt such an interpretation, DOJ would
   become responsible for all fee awards under EAJA (except those involving
   independent agencies), even when the plaintiff has named an agency like HUD as
   the defendant and has clearly challenged a specific agency action as unreasonable.
   This interpretation would render largely superfluous the 1985 amendment, in
   which Congress made clear that the “position of the United States” includes more
   than the arguments advanced in the briefs; it includes also the “action or failure to
   act . . . upon which the civil action is based.” 28 U.S.C. § 2412(d)(2)(D).
      Our view that the regulating agency, and not DOJ, would constitute the agency
   subject to a fee award is consistent with fee-shifting principles and fee-shifting
   statutes that govern private litigation, which generally impose fee awards on the
   parties to the lawsuits, not on the lawyers who represent them. 9 Indeed, parties

       8
         We need not address whether our conclusion would be any different in a case in which DOJ
   attorneys engaged in acts of litigation misconduct or advanced a legal argument contrary to the views
   of the agency involved. We understand that there was no such disagreement or misconduct in this case.
       9
         Some fee-shifting statutes specifically identify the party responsible for the fee award. See, e.g.,
   29 U.S.C. § 2617(a)(3) (2000) (Family and Medical Leave Act) (“The court in such an action shall, in
   addition to any judgment awarded to the plaintiff, allow a reasonable attorney’s fee, reasonable expert
   witness fees, and other costs of the action to be paid by the defendant.”) (emphasis added); 42 U.S.C.
   § 2000e-5(k) (2000) (Title VII) (“In any action or proceeding under this subchapter the court, in its
   discretion, may allow the prevailing party, other than the Commission or the United States, a
   reasonable attorney’s fee (including expert fees) as part of the costs, and the Commission and the
   United States shall be liable for costs the same as a private person.”) (emphasis added). Others speak




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   bear responsibility for fee awards in the same manner that they do for judgments.
   It is the exceptional circumstance when a statute or rule specifically identifies that
   counsel, in addition to the litigant, may be responsible for sanctions or fees. 10
   DOJ’s authority to direct litigation in the federal courts may provide it with
   somewhat greater control over the “position of the United States” than a typical
   attorney would have over the position of the client, yet we see no basis in EAJA to
   suggest that Congress intended to adopt a novel rule, where counsel would be
   subject to liability based upon a good faith defense of the position of their clients.
   Rather, we believe that EAJA, by providing that the fees shall be paid by the
   “agency over which the party prevails,” provides that the responsible agency—
   whether or not named as a party adverse to the prevailing party—would be the
   agency that functions as the relevant adversary for fee-shifting purposes, because
   the litigation implicates its regulatory interests and challenges the agency’s actions
   or policies. 11

                                                       III.

      For the reasons given, we conclude that HUD constitutes the agency over
   which the Cienega Gardens plaintiffs prevailed under EAJA. Because EAJA
   provides for payment, the Judgment Fund is not available and, therefore, the award
   must come out of HUD appropriations.

                                                              STEVEN A. ENGEL
                                                        Deputy Assistant Attorney General
                                                            Office of Legal Counsel




   in terms of the “prevailing party,” but the fee judgment falls on the losing party, not the losing party’s
   counsel. See, e.g., 15 U.S.C. § 1117(a) (2000) (Lanham Act) (“The court in exceptional cases may
   award reasonable attorney fees to the prevailing party.”).
        10
           See, e.g., Fed. R. Civ. P. 37(a)(4)(A) (providing in discovery that “the court shall, after affording
   an opportunity to be heard, require the party or deponent whose conduct necessitated the motion or the
   party or attorney advising such conduct or both of them to pay to the moving party the reasonable
   expenses incurred in making the motion, including attorney’s fees”).
        11
           We note that our view does not mean that DOJ could never be the “agency over which the party
   prevails.” A different case would be presented if DOJ’s own actions or policies were challenged in the
   litigation. See Memorandum for Stephen R. Colgate, Assistant Attorney General, Justice Management
   Division, from Richard Shiffrin, Deputy Assistant Attorney General, Office of Legal Counsel, Re:
   Payment of Attorney’s Fees Under the Equal Access to Justice Act (Aug. 25, 1994) (acknowledging
   DOJ’s responsibility to pay EAJA fee award where DOJ had intervened in bankruptcy litigation to
   challenge, unsuccessfully, the constitutionality of the Bankruptcy Amendments and Federal Judgeship
   Act of 1984).




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                        Complaint
                         Exhibit K
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          Constitutionality of the Direct Reporting Requirement in
          Section 802(e)(1) of the Implementing Recommendations
                     of the 9/11 Commission Act of 2007
   Section 802(e)(1) of the Implementing Recommendations of the 9/11 Commission Act of 2007 does
     not prohibit DHS or OMB officials from reviewing, in accordance with established Executive
     Branch review and clearance procedures, the DHS Chief Privacy Officer’s draft section 802 reports
     before the reports are transmitted to Congress.
   Section 802(e)(1) is best interpreted not to prohibit DHS and OMB officials from commenting on a
     draft CPO report where the CPO is permitted to, and in fact does, transmit to Congress a final report
     that does not reflect the comments or amendments from such officials.
   Section 802(e)(1)’s direct reporting requirement need not be enforced in circumstances where its
     application would require the CPO to ignore the results of the President’s review, through DHS and
     OMB, of a particular report. In such circumstances, the statute must yield to the President’s exercise
     of his constitutional authority to supervise subordinate Executive Branch officers and their commu-
     nications with Congress.

                                                                                       January 29, 2008

                     MEMORANDUM OPINION FOR THE GENERAL COUNSEL
                         OFFICE OF MANAGEMENT AND BUDGET
                          AND THE ACTING GENERAL COUNSEL
                         DEPARTMENT OF HOMELAND SECURITY

      You have asked for our opinion regarding the constitutionality of section
   802(e)(1) of the Implementing Recommendations of the 9/11 Commission Act of
   2007, Pub. L. No. 110-53, 121 Stat. 266, 360 (2007) (codified at 6 U.S.C. § 142
   (Supp. I 2007)) (the “Act” or “9/11 Act”). Section 802(e)(1) provides, in relevant
   part, that the Chief Privacy Officer (“CPO”) of the Department of Homeland
   Security (“DHS” or “the Department”) must submit reports “directly to the
   Congress . . . without any prior comment or amendment by the Secretary, Deputy
   Secretary, or any other officer or employee of the Department or of the Office of
   Management and Budget” (“OMB”). 6 U.S.C. § 142(e)(1). Specifically, you have
   asked whether we read section 802(e)(1) to prohibit DHS and OMB personnel
   from reviewing, commenting upon, or amending the CPO’s reports and, if so,
   whether such prohibitions are constitutional. 1
      We conclude, first, that section 802(e)(1) does not prohibit DHS or OMB per-
   sonnel from reviewing, in accordance with established Executive Branch review


      1
       See Letter for Steven G. Bradbury, Principal Deputy Assistant Attorney General, Office of Legal
   Counsel, from Gus P. Coldebella, Acting General Counsel, Department of Homeland Security (Nov. 6,
   2007); Letter for Steven G. Bradbury, Principal Deputy Assistant Attorney General, Office of Legal
   Counsel, from Jeffrey A. Rosen, General Counsel, Office of Management and Budget (Sept. 25, 2007).




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   and clearance procedures, the CPO’s section 802 reports before the reports are
   finalized and transmitted to Congress. The plain text of section 802(e)(1) concerns
   only the transmittal of reports that have been commented upon or amended by
   DHS or OMB officials; it does not purport to bar “review” of draft reports by such
   officials. Furthermore, any reading of the statute that would foreclose such review
   must be avoided if at all possible because of the serious constitutional issue that
   would arise if the statute were interpreted to interfere with the President’s ability
   to supervise the work of the CPO through review of the CPO’s draft reports by the
   Secretary of Homeland Security and the Director of OMB. Based upon the same
   principle of constitutional avoidance, we conclude, second, that the statute must be
   read not to prohibit DHS and OMB officials from commenting upon a draft report
   where, consistent with the supervisory review process, the CPO is permitted to,
   and in fact does, transmit to Congress a final report that does not reflect the
   comments or amendments suggested by those officials. Third, we conclude,
   however, that where supervisory review by the President, through the Secretary or
   the Director of OMB, results in comments or amendments on a draft report by
   DHS or OMB personnel, the CPO must be allowed to consider and incorporate
   those comments and amendments in the final report in the manner contemplated
   by the review. If section 802(e)(1) were applied to prevent the CPO from doing so,
   the statute would substantially frustrate the President’s exercise of his constitu-
   tional authority to supervise the actions of a subordinate executive officer (the
   CPO) and to supervise the content, and particularly any classified or privileged
   content, of official Executive Branch communications with Congress. To the
   extent section 802(e)(1)’s application would purport to require that result, section
   802(e)(1) would be unconstitutional.
      As discussed more fully below, the constitutional grounds for these conclusions
   are well settled and have been long recognized by all three branches. For decades,
   the Executive Branch has consistently objected to direct reporting requirements
   similar to the one at issue here on the ground that such requirements infringe upon
   the President’s constitutional supervisory authority over Executive Branch
   subordinates and information. The Supreme Court and Congress have also
   acknowledged and respected this supervisory authority as a fundamental part of
   our system of government. These precedents from all three branches, and the
   constitutional principles they recognize, inform our conclusion that the terms of
   section 802(e)(1) must yield to the extent their application would interfere with the
   President’s constitutional authority to comment upon or amend, through his
   subordinates at DHS or OMB, a CPO report before the report is transmitted to
   Congress. 2

      2
         If DHS establishes a policy of declining to enforce section 802(e)(1) on the constitutional grounds
   set forth in this opinion, DHS should report that decision to Congress as required by statute. See 28
   U.S.C. § 530D(a)(1)(A)(i), (b), (e) (Supp. V 2005) (establishing a 30-day deadline for Executive




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        Constitutionality of Direct Reporting Requirement in Section 802(e)(1) of 9/11 Act


                                                    I.

       Congress created the position of the DHS Chief Privacy Officer in the Home-
   land Security Act of 2002, Pub. L. No. 107-296, § 222, 116 Stat. 2135, 2155
   (2002) (codified as amended at 6 U.S.C. § 142 (Supp. V 2005)) (“HSA”). The
   HSA established the CPO as a “senior official” with significant operational and
   policy responsibilities who is appointed by, and reports directly to, the Secretary.
   6 U.S.C. § 142(a)(1)–(5) (Supp. I 2007).
       The 9/11 Act expands the CPO’s policymaking authority and permits the CPO
   to investigate possible violations of privacy laws and programs in a manner
   consistent with the CPO’s status as a senior Executive Branch official who is
   accountable to the President. 6 U.S.C. § 142(a)–(d) (Supp. I 2007). The provisions
   of the Act granting the CPO investigative authority contemplate that the CPO will
   have access to internal Department and Executive Branch information. Id.
   § 142(b)(1)(A). The Act also provides that in reviewing such information and in
   discharging his investigative and policymaking responsibilities, the CPO “shall
   report to, and be under the general supervision of, the Secretary.” Id.
   § 142(c)(1)(A). Further, the Act states that the CPO’s exercise of the statute’s new
   grant of subpoena authority is “subject to the approval of the Secretary,” id.
   § 142(b)(1)(C), and that the CPO’s investigative authority is subordinate to that of
   the Department’s Inspector General, id. § 142(c)(2)(B)(i).
       The reporting requirements in section 802(e) were enacted as part of the 9/11
   Act provisions that expanded the CPO’s statutory authority as outlined above. The
   House version of the bill (H.R. 1, 110th Cong.) included the direct reporting
   provision in section 802(e)(1) as part of a broader amendment that would have
   permitted the CPO to issue and enforce subpoenas without the Secretary’s
   approval, and that would have given the CPO a five-year term of office. The
   Administration specifically objected to these and other provisions of H.R. 1 in its
   comments on the bill. See Statement of Administration Policy on H.R. 1 (Jan. 9,
   2007). The Senate subsequently amended H.R. 1 to remove the provisions
   granting the CPO independent subpoena authority and a five-year term, but did not
   alter the direct reporting language. See S. 4, 110th Cong. § 503 (as reported in
   Senate, Mar. 13, 2007). Emphasizing the Senate bill’s recognition of the CPO as a
   senior Executive Branch policy officer, the Administration reiterated its constitu-


   Branch departments to submit to “Congress a report of any instance in which” they “establish[] or
   implement[] a formal or informal policy to refrain from enforcing, applying, or administering any pro-
   vision of any Federal statute . . . on the grounds that such provision is unconstitutional”).
       Editor’s Note: On March 4, 2008, the Secretary of Homeland Security sent a letter report to Con-
   gress pursuant to 28 U.S.C. § 530D in which the Department of Homeland Security disclosed and
   explained its decision to implement a non-enforcement policy regarding section 802(e)(1) of the 9/11
   Act based on the legal advice in this memorandum.




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   tional objection to the bill’s direct reporting provision, which was then designated
   as section 503 of S. 4. See Statement of Administration Policy on S. 4 (Feb. 28,
   2007). The Senate did not amend the provision, however, and the Senate-passed
   version was included in the enrolled bill as section 802(e)(1). The President signed
   the Act on August 3, 2007. 3
      As provided in section 802, the CPO is responsible for investigating and ensur-
   ing departmental compliance with federal privacy laws and programs, and has
   policymaking authority over departmental policies as well as regulatory and
   legislative proposals for the collection, use, and disclosure of personal information
   by the federal government generally. See 6 U.S.C. § 142(a)–(d). Section 802(e)
   requires the CPO to prepare an annual report to Congress that addresses the CPO’s
   areas of statutory and policymaking responsibility, including “activities of the
   Department that affect privacy, complaints of privacy violations, implementation
   of the Privacy Act of 1974, internal controls, and other matters.” Id. § 142(a)(6),
   (e). The direct reporting provision at issue here, section 802(e)(1), provides that
   the CPO “shall”:

               submit reports directly to the Congress regarding performance of
               the responsibilities of the senior official under this section [the
               CPO], without any prior comment or amendment by the Secre-
               tary, Deputy Secretary, or any other officer or employee of the
               Department or the Office of Management and Budget[.]

   Id. § 142(e)(1).
       You have asked whether section 802(e)(1) must be interpreted, and, if so,
   whether it may constitutionally be applied, (1) to prohibit DHS and OMB officials
   from reviewing a draft report before it is finalized and transmitted to Congress, (2)
   to prohibit those officials from offering comments upon a draft report even if the
   comments will not be incorporated or reflected in the final report to Congress, and
   (3) to prohibit the CPO from considering and actually incorporating into the final
   report DHS or OMB comments and amendments in the manner contemplated by
   the President’s supervisory review process.




       3
         It is well settled that Presidents may “‘approve legislation containing parts which are objectiona-
   ble on constitutional grounds.’” Presidential Authority to Decline to Execute Unconstitutional Statutes,
   18 Op. O.L.C. 199, 202 (1994) (quoting INS v. Chadha, 462 U.S. 919, 942 n.13 (1983), and citing
   authorities dating back to the 1940s for the proposition that “the President’s signing of a bill does not
   affect his authority to decline to enforce constitutionally objectionable provisions thereof”).




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        Constitutionality of Direct Reporting Requirement in Section 802(e)(1) of 9/11 Act


                                                     II.

                                                     A.

      Section 802(e)(1) is not fairly read to prohibit the CPO from submitting his
   draft reports for review by DHS and OMB officials before the reports are finalized
   and transmitted to Congress. The statute refers only to “prior comment or amend-
   ment by” DHS and OMB officials; it does not by its terms address any “review” of
   the draft reports by these officials. Thus, the plain language of the statute permits
   the CPO to share his draft report with others at DHS, including the Secretary, and
   to submit it for prior review to OMB, including in accordance with the established
   OMB clearance process that applies to Executive Branch communications to
   Congress relating to legislation or legislative proposals. See OMB Circular No. A-
   19, Legislative Coordination and Clearance (Sept. 20, 1979). 4
      Interpreting section 802(e)(1) consistent with its text to permit review of draft
   CPO reports by DHS and OMB officials is also compelled by the principle that
   statutes must be construed whenever reasonably possible to avoid raising a serious
   constitutional question. See Solid Waste Agency of N. Cook Cty. v. Army Corps of
   Eng’rs, 531 U.S. 159, 160 (2001). Article II of the Constitution vests the executive
   power in the President, and makes clear that he may rely upon, and bears respon-
   sibility for the conduct of, executive officers who stand subordinate to him. The
   President cannot fully and effectively discharge his constitutional responsibilities
   if Congress may, by statute, interfere with his ability to supervise the actions of
   such officers, especially their communications with Congress. Accordingly, we
   have long recognized that statutes that interfere with the President’s ability to
   supervise, directly or through subordinate officials, the Executive Branch’s
   communications with Congress raise serious constitutional concerns. See, e.g.,
   Authority of the Special Counsel of the Merit Systems Protection Board to Litigate

       4
         We understand that reports to Congress like those contemplated by section 802(e) ordinarily
   would be submitted to OMB for review and clearance, and that both OMB and DHS agree that the
   CPO’s reports are subject to the requirements of Circular A-19. Circular A-19 applies, among other
   things, to “any comment or recommendation on pending legislation included in an agency’s annual or
   special report,” id. ¶ 5(e), and the CPO’s reports must address the CPO’s responsibilities under the Act,
   which include “evaluating legislative and regulatory proposals involving collection, use, and disclosure
   of personal information by the Federal Government,” 6 U.S.C. § 142(a)(3) (Supp. I 2007). Although
   Circular A-19 excepts from the OMB clearance process “agencies that are specifically required by law
   to transmit their legislative proposals, reports, or testimony to the Congress without prior clearance,”
   id. ¶ 4, this exception applies only to particular independent regulatory agencies that are subject to an
   agency-wide statutory exemption from Executive Branch clearance procedures, not to subordinate
   officers within a department or agency like the CPO. See, e.g., 2 U.S.C. § 437d(d) (2000) (requiring
   Federal Election Commission to transmit budget estimates, legislative proposals, and testimony to
   Congress concurrently with their submission to the President or OMB); 7 U.S.C. § 2(a)(10) (Supp. V
   2005) (same for Commodity Futures Trading Commission); 15 U.S.C. § 2076(k) (2000) (same for
   Consumer Product Safety Commission).




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   and Submit Legislation to Congress, 8 Op. O.L.C. 30, 31 (1984) (“MSPB”)
   (legislation requiring an Executive Branch officer to submit budget proposals and
   bill comments directly to Congress represents an “unconstitutional intrusion by the
   Legislative Branch into the President’s exclusive domain of supervisory authority
   over subordinate officials in the performance of their executive functions”). We
   therefore read statutes to avoid such interference “unless such construction is
   plainly contrary to the intent of Congress.” Edward J. DeBartolo Corp. v. Fla.
   Gulf Coast Bldg. and Constr. Trades Council, 485 U.S. 568, 575 (1988); see
   generally MSPB, 8 Op. O.L.C. at 34–38 (invoking this principle and the Presi-
   dent’s constitutional authority to supervise both Executive Branch subordinates
   and their communications with Congress in refusing to construe a statutory
   provision to “preclude Presidential review of [a subordinate executive officer’s]
   proposed legislative recommendations prior to their submission to Congress”). We
   see nothing in section 802(e)(1)’s text, or in the legislative history of the CPO
   provisions of the 9/11 Act, that reveals a clear and unambiguous intent by
   Congress to preclude simple review of the CPO’s draft reports by officials in DHS
   or OMB (as distinct from the transmittal to Congress of reports that reflect
   comments or amendments by such officials).

                                            B.

      Having concluded that section 802(e)(1) does not prevent DHS or OMB from
   reviewing the CPO’s reports before they are transmitted to Congress, we next
   consider whether the statute is best interpreted to prohibit DHS or OMB officials
   from commenting upon a draft report even where, at the end of the supervisory
   review process, the CPO is permitted to, and in fact does, transmit a final report to
   Congress that does not reflect any comments or amendments by such officials.
   Based upon the same principle of constitutional avoidance discussed above, we
   conclude that section 802(e)(1) is best read not to prohibit DHS and OMB from
   offering comments on a draft report where those comments are not reflected in the
   final report as transmitted.
      It appears reasonably clear from the face of the statute that Congress was most
   concerned in section 802(e)(1) with preventing the CPO from transmitting to
   Congress reports that have been revised pursuant to comments and suggestions
   made by officials in DHS and OMB. That intent is suggested by the statute’s focus
   on the requirement to “submit” the report “directly” to Congress without any
   “prior comment or amendment” by such officials. Although the statute could be
   read more broadly to prohibit the transmittal of any report that has been the subject
   of any comment by DHS or OMB officials, even where the final report itself does
   not in any way reflect those comments, such a broad reading is not compelled by
   the plain text of the statute. We take it that Congress is most interested in the
   substance of the report submitted by the CPO, and the central purpose of the




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       Constitutionality of Direct Reporting Requirement in Section 802(e)(1) of 9/11 Act


   statute is attempting to ensure that the substance of the report reflects the views of
   the CPO, rather than the views of other officials in DHS or at OMB.
      In light of the ambiguity in the statute, we believe the canon of constitutional
   avoidance requires an interpretation that will avoid raising a serious conflict with
   the President’s constitutional authority to supervise, through review and comment
   by the President’s subordinates at DHS and OMB, the work of the CPO and the
   content of his communications to Congress. See MSPB, 8 Op. O.L.C. at 34–38;
   Solid Waste Agency, 531 U.S. at 160. Accordingly, where the President’s supervi-
   sory review permits the CPO to transmit a final report to Congress that does not
   reflect suggested comments or amendments by DHS or OMB personnel, we
   believe that the statute is best interpreted to permit both the review and the
   suggested comments.

                                              C.

      The remaining question is whether section 802(e)(1) would be constitutional if
   applied to prohibit the CPO from incorporating into his report comments and
   amendments made by DHS and OMB officials, acting in the exercise of the
   President’s supervisory authority, where their supervisory review contemplates
   that the CPO will accommodate their comments and amendments in the final
   version of the report to Congress. We conclude that applying section 802(e)(1) to
   require the CPO to reject the results of the President’s review of a report in such
   circumstances would substantially conflict with two aspects of the President’s
   constitutional authority: the President’s authority to supervise subordinate
   Executive Branch officers and the President’s authority to protect against the
   unauthorized disclosure of constitutionally privileged information. This Office has
   for decades consistently advised that where applying a statutory provision would
   give rise to one or both of these serious constitutional conflicts, the Executive
   Branch need not enforce the provision.

                                              1.

      If applied in the manner described above, section 802(e)(1)’s directive that the
   CPO submit reports to Congress “without any prior comment or amendment” by
   DHS or OMB would interfere directly with the President’s constitutional authority
   to supervise subordinate Executive Branch officers. The Supreme Court recog-
   nized the Constitution’s vesting of this power in the President more than two
   centuries ago. See Marbury v. Madison, 5 U.S. (1 Cranch) 137, 165–66 (1803)
   (recognizing that the President has constitutional authority to exercise certain
   executive powers without interference from other branches whether he exercises
   those powers directly or through subordinate “officers, who act by his authority
   and in conformity with his orders”). Since Marbury, all three branches have
   recognized the President’s constitutional authority to supervise certain Executive




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   Branch officers without interference from the other branches. These precedents,
   which we discuss below, include the Supreme Court’s 1988 decision in Morrison
   v. Olson as well as decades of congressional and Executive Branch decisions.
   These precedents support the conclusion that statutory reporting requirements
   cannot constitutionally be applied to interfere with presidential supervision and
   control of the communications that Executive Branch officers such as the CPO
   send to Congress.
      The constitutional authority in question was first recognized by the Supreme
   Court in cases involving statutory attempts to limit the President’s supervision of
   executive officers by restricting his ability to remove them. In 1926, the Supreme
   Court, citing Marbury, elaborated on the President’s constitutional authority to
   exercise the ultimate form of supervision—at will removal—over certain Execu-
   tive Branch officers without legislative interference. See Myers v. United States,
   272 U.S. 52 (1926). Myers held that a statutory “provision of the law of 1876, by
   which the unrestricted power of removal of first class postmasters is denied to the
   President, is in violation of the Constitution and invalid.” Id. at 176. The Court
   based this conclusion on Article II, which “grants to the President the executive
   power of the Government, i.e., the general administrative control of those
   executing the laws.” Id. at 163–64. The Court explained:

          If there is a principle in our Constitution, indeed in any free Consti-
          tution, more sacred than another, it is that which separates the Legis-
          lative, Executive and Judicial powers. If there is any point in which
          the separation of the Legislative and Executive powers ought to be
          maintained with great caution, it is that which relates to officers and
          offices.

          ....

          The ordinary duties of officers prescribed by statute come under the
          general administrative control of the President by virtue of the gen-
          eral grant to him of the executive power, and he may properly super-
          vise and guide their construction of the statutes under which they act
          in order to secure that unitary and uniform execution of the laws
          which Article II of the Constitution evidently contemplated in vest-
          ing general executive power in the President alone.

          ....

          [T]o hold otherwise would make it impossible for the President, in
          case of political or other difference with the Senate or Congress, to
          take care that the laws be faithfully executed.

   Id. at 116, 135, 164.




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      Since the Court decided Myers in 1926, it has, on a case-by-case basis, upheld
   some legislative limits (specifically, statutory removal restrictions) on the
   President’s ability to supervise certain types of officers. See, e.g., Humphrey’s
   Ex’r v. United States, 295 U.S. 602 (1935); Wiener v. United States, 357 U.S. 349
   (1958); Morrison v. Olson, 487 U.S. 654 (1988). Importantly, however, none of
   these cases involved an effort by Congress to constrain the President’s ability to
   supervise—through removal or otherwise—Executive Branch officers who, like
   the CPO, possess broad operational and policymaking responsibility for core
   Executive Branch functions.
      Humphrey’s Executor and Wiener upheld legislative limits on the President’s
   ability to supervise, through removal, officers who served on “independent”
   commissions and performed, in the Court’s words, “quasi-judicial” and “quasi-
   legislative” functions. Humphrey’s Ex’r, 295 U.S. at 624, 628 (upholding removal
   restrictions on members of an independent agency (the Federal Trade Commis-
   sion) that could not “be characterized as an arm or eye of the executive”); Wiener,
   357 U.S. at 352 (1958) (upholding removal restrictions on War Claims Commis-
   sion members charged with “adjudicatory” functions). The Court has since
   declared that these decisions do not undermine the constitutional analysis in Myers
   of the President’s supervisory authority over Executive Branch officers such as the
   CPO. See, e.g., Bowsher v. Synar, 478 U.S. 714, 725 (1986) (in upholding “the
   power of Congress to limit the President’s powers of removal of a Federal Trade
   Commissioner” in Humphrey’s Executor, the Court “distinguished Myers, re-
   affirming its holding that congressional participation in the removal of executive
   officers is unconstitutional”).
      The same is true of the Court’s decision in Morrison v. Olson. Although Morri-
   son, unlike Humphrey’s Executor and Wiener, upheld removal restrictions on an
   officer (the independent counsel then authorized by the independent counsel
   provisions of the Ethics in Government Act, which are no longer in effect) who
   did perform a clearly executive function (the investigation and prosecution of
   unlawful conduct), the decision makes clear that its analysis does not extend to the
   President’s supervisory authority over Executive Branch officers who, like the
   CPO, have policymaking and other broad operational responsibility for Executive
   Branch functions. In upholding the relevant statute’s “for cause” limits on the
   President’s ability to remove an independent counsel, the Court emphasized that
   the independent counsel in question occupied a unique office characterized by
   “limited jurisdiction and tenure and lacking [the] policymaking or significant
   administrative authority” typically associated with Executive Branch officials.
   Morrison, 487 U.S. at 691. Having thus distinguished an independent counsel
   under the Ethics in Government Act from officers such as the CPO, the Court
   expressly reaffirmed the “undoubtedly correct” determination in Myers that “there
   are some ‘purely executive’ officials who must be removable by the President at
   will if he is to ‘be able to accomplish his constitutional role.” Id. at 690 (quoting
   Myers, 272 U.S. at 132–34).



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      Although the Court has not had occasion (presumably for justiciability reasons)
   to opine on the constitutionality of statutory direct reporting requirements per se,
   the political branches have long recognized that statutes imposing such require-
   ments merit the same constitutional analysis as statutes that impose removal
   restrictions on Executive Branch officers. The reason is that both types of statutes
   interfere with the President’s constitutional authority to supervise the Executive
   Branch subordinates he relies upon to discharge his Article II functions. We have
   consistently cited this constitutional authority before and after Morrison in
   objecting to statutory reporting requirements functionally identical to section
   802(e)(1).
      In 1977, for example, the Department objected to a draft bill that would have
   required inspectors general to submit reports “directly to Congress without
   clearance or approval by the agency head or anyone else in the executive branch”
   as an impermissible legislative interference with the President’s Article II right of
   “general administrative control” over executive officials, a presidential power that
   necessarily “includes the right to coordinate and supervise all replies and com-
   ments from the executive branch to Congress.” Inspector General Legislation,
   1 Op. O.L.C. 16, 17–18 (1977). Congress responded by deleting the offending
   provision, and acknowledged the Administration’s separation of powers concerns
   in the bill’s legislative history. See Establishment of Offices of Inspector and
   Auditor General in Certain Executive Departments and Agencies, S. Rep. No. 95-
   1071, at 9, reprinted in 1978 U.S.C.C.A.N. 2676, 2684 (“[T]he Committee has
   deleted certain features of the earlier inspector general legislation which carried
   the greatest potential for tension between the inspector general and the agency
   head, and the executive and legislative branches.”).
      In 1982, we raised the same constitutional objection to a statutory provision
   that purported to require the Administrator of the Federal Aviation Administration
   to submit budget estimates and comments on legislative proposals concurrently to
   Congress and the President. See Constitutionality of Statute Requiring Executive
   Agency to Report Directly to Congress, 6 Op. O.L.C. 632, 641 (1982) (“Constitu-
   tionality of Direct Reporting”). Although we acknowledged that the text of the
   relevant provision “could be read to require the Administrator to submit any
   budget information or legislative comments directly to Congress prior to any
   approval or even review by the Administrator’s superiors,” id. at 639, we ex-
   plained that such reporting would be “entirely inconsistent with the separation of
   powers” and with “the corollary right of the President to control his subordinates
   within the Executive Branch.” Id. at 639–40. Accordingly, in keeping with the
   canon of constitutional avoidance, we interpreted the statute to apply only to final
   documents, thereby permitting the Administrator’s superiors in the Executive
   Branch to review and edit preliminary drafts of the relevant reports and proposals.
   See id. at 640–41.




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      In 1984, we similarly advised that a statute authorizing the Special Counsel of
   the Merit Systems Protection Board—“an Executive Branch officer subject to the
   supervision and control of the President”—to submit budget proposals and bill
   comments directly to Congress represented an “unconstitutional intrusion by the
   Legislative Branch into the President’s exclusive domain of supervisory authority
   over subordinate officials in the performance of their executive functions.” MSPB,
   8 Op. O.L.C. at 31, 35–36 (concluding that legislation that would “require an
   Executive Branch officer to submit budget information and legislative recommen-
   dations directly to Congress, prior to their being reviewed and cleared by the
   President or another appropriate reviewing official, would constitute precisely the
   kind of interference in the affairs of one Branch by a coordinate Branch which the
   separation of powers was intended to prevent”).
      In 1988, we reiterated this constitutional analysis in objecting (as we did in
   1977) to a proposal to add a direct reporting requirement in the Inspector General
   Act. See Memorandum for Thomas M. Boyd, Acting Assistant Attorney General,
   Office of Legislative Affairs, from John O. McGinnis, Deputy Assistant Attorney
   General, Office of Legal Counsel, Re: H.R. 3049; H.R. 3285; H.R. 2126 (Apr. 22,
   1988) (enclosing draft letters for Representative Morris K. Udall, Chairman,
   Subcommittee on Energy and the Environment, Committee on Interior and Insular
   Affairs). As in 1977, Congress deleted the offending provision from the bill, which
   was enacted four months after the Supreme Court decided Morrison v. Olson. See
   Inspector General Act Amendments of 1988, Pub. L. No. 100-504, § 102(f), 102
   Stat. 2515 (Oct. 18). At approximately the same time we objected to the Inspector
   General Act proposal, we concluded that a “[s]tatutory provision requiring the
   Director of the Centers for Disease Control to distribute an AIDS information
   pamphlet to the public ‘without necessary clearance of the content by any official,
   organization or office’ violate[d] the separation of powers by unconstitutionally
   infringing upon the President’s authority to supervise the executive branch.”
   Statute Limiting the President’s Authority to Supervise the Director of the Centers
   for Disease Control in the Distribution of an AIDS Pamphlet, 12 Op. O.L.C. 47,
   47 (1988).
      We continued to apply the constitutional analysis underlying the foregoing
   precedents after the Supreme Court decided Morrison in June 1988 because we
   concluded that Morrison does not affect the analysis of constitutional limits on
   statutory restrictions of the President’s ability to supervise—through removal or
   otherwise—Executive Branch officers like the CPO. See, e.g., The Constitutional
   Separation of Powers Between the President and Congress, 20 Op. O.L.C. 124,
   169 (1996) (“Constitutional Separation of Powers”) (concluding that “restrictions
   on the President’s power to remove officers with broad policy responsibilities”
   should continue to “be deemed unconstitutional” after Morrison because the
   “Morrison Court had no occasion to consider the validity of removal restrictions
   affecting principal officers, officers with broad statutory responsibilities, or
   officers involved in executive branch policy formulation,” and Morrison expressly



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   affirmed that Myers “was undoubtedly correct . . . in its broader suggestion that
   there are some ‘purely executive’ officials who must be removable by the
   President at will if he is to be able to accomplish his constitutional role”).
      In 1989, we advised the general counsels of the Executive Branch that concur-
   rent reporting requirements offend the separation of powers and “infringe upon the
   President’s authority as head of a unitary executive to control the presentation of
   the executive branch’s views to Congress.” Common Legislative Encroachments
   on Executive Branch Authority, 13 Op. O.L.C. 248, 255 (1989) (“Common
   Legislative Encroachments”).
      In 1996, we similarly advised that “concurrent reporting requirements” clearly
   implicate “the President’s performance of his constitutionally assigned functions”
   and “impair the Constitution’s great principle of unity and responsibility in the
   Executive department.” Constitutional Separation of Powers, 20 Op. O.L.C. at
   174–75 (internal quotation marks and citations omitted). 5
      In 1998, the Department notified Congress that a proposed reporting require-
   ment virtually identical to section 802(e)(1) should be removed from a bill because
   the provision “would interfere with the President’s control over the executive
   branch and with his legitimate interest in overseeing the presentation of the
   executive branch’s views to Congress.” Letter for William V. Roth, Chairman,
   Committee on Finance, United States Senate, and Bill Archer, Chairman, Commit-
   tee on Ways and Means, United States House of Representatives, from L. Anthony
   Sutin, Acting Assistant Attorney General, Office of Legislative Affairs at 4 (June
   8, 1998).
      In 2000, we raised similar separation of powers objections to a direct reporting
   requirement in the Medicare Rx Act, see Memorandum for Robert Raben,
   Assistant Attorney General, Office of Legislative Affairs, from Evan H. Caminker,
   Deputy Assistant Attorney General, Office of Legal Counsel, Re: H.R. 4680—
   Medicare Rx 2000 Act (June 26, 2000), and Congress ultimately removed the
   provision from the legislation, see Pub. L. No. 108-173, 117 Stat. 2066 (2003). 6


      5
         Some might argue that our conclusions with respect to section 802(e)(1) are inconsistent with the
   suggestion in our 1996 opinion that “courts . . . might uphold the validity of a concurrent reporting
   requirement imposed for a legitimate congressional purpose on a specific agency with limited,
   domestic, and purely statutory duties.” 20 Op. O.L.C. at 175. We disagree. In making this statement,
   the 1996 opinion was making an observation about how courts “might” view such a requirement with
   respect to agencies whose duties differ substantially from those of DHS. The opinion did not endorse
   the constitutionality of concurrent reporting requirements with respect to these or any other agencies.
   To the contrary, the opinion concluded, quoting Myers, that direct reporting requirements “impair the
   Constitution’s ‘great principle of unity and responsibility in the Executive department.’” Id.
       6
         The original bill to which the Administration objected died in the Senate, but the legislation was
   reconsidered in the 107th Congress, see Medicare Modernization and Prescription Drug Act of 2002,
   H.R. Rep. No. 107-539 (2002), and was enacted without the objectionable provision, see Pub. L. No.
   108-173, 117 Stat. 2066 (2003).




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      And, in 2004, we issued two opinions in which we concluded that two different
   statutory provisions, if construed or enforced to permit Executive Branch officers
   to communicate directly with Congress without appropriate supervision by the
   President or his subordinates, would violate the constitutional separation of powers
   and, specifically, the President’s Article II authority to supervise Executive Branch
   personnel. See Authority of HUD’s Chief Financial Officer to Submit Final
   Reports on Violations of Appropriations Laws, 28 Op. O.L.C. 248, 252–53 (2004)
   (“Authority of HUD’s CFO”); Authority of Agency Officials to Prohibit Employees
   from Providing Information to Congress, 28 Op. O.L.C. 79, 80–82 (2004)
   (“Authority of Agency Officials”). These opinions, like their predecessors, applied
   the same settled reasoning we follow here:

         The [judicial] decisions and the long practical history concerning the
         right of the President to protect his control over the Executive
         Branch are based on the fundamental principle that the President’s
         relationship with his subordinates must be free from certain types of
         interference from the coordinate branches of government in order to
         permit the President effectively to carry out his constitutionally as-
         signed responsibilities. The executive power resides in the President,
         and he is obligated to take care that the laws are faithfully executed.
         In order to fulfill those responsibilities, the President must be able to
         rely upon the faithful service of subordinate officials. To the extent
         that Congress or the courts interfere with the President’s right to con-
         trol or receive effective service from his subordinates within the Ex-
         ecutive Branch, those other branches limit the ability of the President
         to perform his constitutional function.

   Authority of HUD’s CFO, 28 Op. O.L.C. at 252 (internal quotation marks and
   citations omitted).

                                              2.

       The constitutional authorities outlined above lead to the conclusion that section
   802(e)(1) would be unconstitutional if applied to prevent the CPO from incorpo-
   rating into his final report comments and amendments suggested by the President’s
   review of the report through the President’s subordinates at DHS and OMB. The
   very statute that contains section 802(e)(1) establishes the CPO as a subordinate
   officer accountable to the Secretary and ultimately to the President, and vests the
   CPO with a broad range of policymaking and operational authority within the
   Executive Branch. 6 U.S.C. § 142(a)–(c) (Supp. I 2007). Section 802 expressly
   designates the CPO as the “senior official in the Department” who has “primary
   responsibility for privacy policy,” which includes responsibility for “assuring”
   departmental compliance with “privacy protections,” particularly those contained
   in the information handling requirements of the Privacy Act of 1974, as well as



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   responsibility for “evaluating legislative and regulatory proposals involving
   collection, use, and disclosure of personal information by the Federal Govern-
   ment.” 6 U.S.C. § 142(a)(1)–(3). Additional provisions in section 802 further vest
   the CPO with broad authority to coordinate the implementation of “programs,
   policies, and procedures involving civil rights, civil liberties, and privacy consid-
   erations,” id. § 142(a)(5), and with authority to investigate and report on, with
   “access to all records, reports, audits, reviews, documents, papers, recommenda-
   tions, and other materials available to the Department,” id. § 142(b)(1)(A), the
   “activities of the Department that affect privacy, including complaints of privacy
   violations, implementation of the Privacy Act of 1974, internal controls, and other
   matters,” id. § 142(a)(5); see also id. § 142(a)(6), (b)–(c).
       The CPO’s responsibilities establish the CPO as the kind of Executive Branch
   officer with “broad statutory responsibilities” and “executive branch policy”
   authority that the Supreme Court “had no occasion to consider” in Morrison,
   Constitutional Separation of Powers, 20 Op. O.L.C. at 169, but who clearly falls
   within the class of “‘purely executive’ officials” over whom Myers concluded the
   President must be able to exercise full supervision in order to “accomplish his
   constitutional role.” Morrison, 487 U.S. at 689 (quoting Myers, 272 U.S. at 132–
   34). The CPO is an executive officer who assists the President in performing
   functions—most notably the execution of statutes and the formulation of Execu-
   tive Branch policy and legislative recommendations, see 6 U.S.C. § 142(a),
   (c)(1)(A), (d)—that lie at the core of the President’s constitutional duties under
   Article II. See Morrison, 487 U.S. at 689–90; Constitutional Separation of
   Powers, 20 Op. O.L.C. at 169. For this reason, the Constitution requires that the
   President be able to supervise the CPO’s activities, including and especially the
   CPO’s communications with Congress, without legislative interference. See, e.g.,
   Constitutionality of Direct Reporting, 6 Op. O.L.C. at 633 (“The separation of
   powers requires that the President have ultimate control over subordinate officials
   who perform purely executive functions and assist him in the performance of his
   constitutional responsibilities. This power includes the right to supervise and
   review the work of such subordinate officials, including the reports issued either
   to the public or to Congress.”) (emphasis added).
       Section 802(e)(1) substantially interferes with the President’s ability to exercise
   this constitutional authority to the extent it purports to bar the CPO from revising
   his report to reflect comments from the DHS or OMB officials through whom the
   President supervises the CPO and his reports. The fact that section 802(e)(1)
   expressly prohibits only comments or amendments by DHS and OMB officials,
   not comments by the President or other Executive Branch officials, does not
   change the constitutional analysis. It is well settled that the President must rely
   upon Executive Branch subordinates in order to “accomplish his constitutional
   role.” Morrison, 487 U.S. at 690; Myers, 272 U.S. at 133; Williams v. United
   States, 42 U.S. (1 How.) 290, 297 (1842); Constraints Imposed by 18 U.S.C.
   § 1913 on Lobbying Efforts, 13 Op. O.L.C. 300, 306 n.12 (1989); Opinion on



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   Relation of the President to the Executive Departments, 7 Op. Att’y Gen. 453, 479
   (1855). And it is similarly well settled that frustrating the President’s ability to rely
   on his subordinates unconstitutionally interferes with the President’s authority
   under Article II. See Myers, 272 U.S. at 132–34; Morrison, 487 U.S. at 689–90.
      The President relies upon DHS and OMB not only to assist him in supervising
   the CPO and the CPO’s reports to Congress, but also in exercising his constitu-
   tional authority over the matters the CPO’s report addresses, most notably the
   execution of privacy laws and policies. In purporting to prohibit the CPO from
   incorporating DHS or OMB comments in his report, section 802(e)(1) directly
   interferes with the President’s ability to supervise the manner in which the CPO—
   a subordinate who qualifies as the type of “purely executive officer” over whom
   the Supreme Court has said the President must retain full supervisory authority—
   reports to Congress on the Executive Branch’s handling of matters (most notably
   the execution of privacy laws and the development of privacy policy and legisla-
   tive proposals) for which the President is constitutionally responsible. Such
   interference is impermissible regardless of its purported oversight or other
   justifications. Broad though Congress’s powers are, Congress may not exercise
   those powers “in ways that violate constitutional restrictions on its own authority
   or that invade the constitutional prerogatives of other branches.” Constitutionality
   of Proposed Statutory Provision Requiring Prior Congressional Notification For
   Certain CIA Covert Actions, 13 Op. O.L.C. 258, 261 (1989). Because section
   802(e)(1) would effect precisely such an invasion if applied to require the CPO to
   exclude from his report comments that the President’s review, through DHS or
   OMB, contemplates be incorporated, we conclude that the Executive Branch need
   not enforce the provision in such circumstances.

                                              3.

      For the reasons set forth above, the conclusion that certain applications of
   section 802(e)(1) would interfere with the President’s ability to supervise the CPO
   is constitutionally problematic regardless of Congress’s justifications for the
   provision. We note, however, that even if it were appropriate for us to balance
   Congress’s purported need for an unedited report against the degree to which
   section 802(e)(1)’s prohibition on editing would impair the President’s Article II
   functions, we would conclude that Congress’s asserted interest fails to justify the
   restrictions that section 802(e)(1) places on the President’s authority. Cf. Morri-
   son, 487 U.S. at 695 (balancing Congress’s interest in restricting the President’s
   ability to remove an independent counsel against the degree to which the re-




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   strictions would “prevent the Executive Branch from accomplishing its constitu-
   tionally assigned functions”). 7
       The 9/11 Act’s text and legislative history do not establish any congressional
   need for direct reporting, much less that direct reporting “is demonstrably critical
   to the responsible fulfillment of [the requesting committee’s] functions.” Senate
   Select Comm. on Presidential Campaign Activities v. Nixon, 498 F.2d 725, 731
   (D.C. Cir. 1974); compare Morrison, 487 U.S. at 693 (emphasizing that the
   challenged statutory limits on the President’s removal authority were determined
   to be “essential, in the view of Congress, to establish the necessary independence
   of the office”). But even were we to assume that section 802(e)(1) serves a
   compelling congressional oversight need, applying the provision to preclude the
   CPO from incorporating DHS or OMB comments on a report would “unduly
   trammel[] executive authority” under the kind of balancing framework the Court
   employed in Morrison. The reason is that applying the provision in this manner
   would, unlike the removal restrictions in Morrison, interfere with the “President’s
   need to control the exercise of” a subordinate Executive Branch officer’s authority

       7
         We do not read Morrison to require such balancing here because, as we explained in Part II.C.1,
   supra, the Court’s opinion in Morrison does not affect the analysis of the constitutional problem with
   legislative provisions that, like section 802(e)(1), interfere with the President’s authority to supervise
   traditional Executive Branch officers like the CPO. See Morrison, 487 U.S. at 691.
       Nor do we read the Nixon cases cited in our 1982 opinion as requiring us to evaluate section
   802(e)(1)’s constitutionality in light of Congress’s “need” for the unedited report the provision purports
   to require. It is true that our 1982 opinion analyzed the constitutionality of imposing a concurrent
   reporting obligation on the FAA in terms of whether the requirement was supported by a “very
   compelling and specific [legislative] need.” 6 Op. O.L.C. at 633, 641–42. This approach was, however,
   a departure from the Office’s prior opinions objecting to direct reporting requirements regardless of
   their oversight value. See, e.g., Inspector General Legislation, 1 Op. O.L.C. at 17–18. Since 1982, our
   opinions and advice regarding the constitutionality of direct and concurrent reporting requirements
   have returned to the approach we employed in 1977. See, e.g., Common Legislative Encroachments, 13
   Op. O.L.C. at 255 (concluding, without considering oversight or other justifications, that concurrent
   reporting requirements should be opposed on constitutional grounds if proposed in legislation, and that
   “if enacted,” these provisions should be “construed as applying only to ‘final’ recommendations that
   have been reviewed and approved by the appropriate superiors within the Executive Branch, including
   OMB”); Letter for William V. Roth, Chairman, Committee on Finance, United States Senate, and Bill
   Archer, Chairman, Committee on Ways and Means, United States House of Representatives, from L.
   Anthony Sutin, Acting Assistant Attorney General, Office of Legislative Affairs at 4 (June 8, 1998)
   (raising constitutional objections to direct reporting provisions without considering their oversight or
   other legislative value); Authority of Agency Officials, 28 Op. O.L.C. 79 (explaining that a direct
   reporting provision posed constitutional problems without regard to whether the provision served
   legitimate oversight or other needs); Authority of HUD’s CFO, 28 Op. O.L.C. 248 (same). That is also
   the approach we apply here, because the relevant portion of the 1982 opinion rests on authorities that
   balance Congress’s need for information with the “practical need for confidentiality in Executive
   Branch deliberations,” not with the constitutional principles that have long been held to preclude
   legislative interference with the President’s authority to supervise traditional Executive Branch officers.
   See 6 Op. O.L.C. at 638–41; see also id. at 640 n.3 (emphasizing that this Office knew of no instance in
   which Congress had imposed the type of concurrent reporting requirement at issue in the opinion “upon
   a purely executive agency that is under the President’s direct supervision and control”).




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   on issues (the execution of federal statutes, Executive Branch policy formulation,
   and the protection of privileged information) that are “central to the functioning of
   the Executive Branch.” Id. at 691.
      As noted, the President cannot effectively perform his constitutional functions
   without the aid of Executive Branch agencies and officers. See, e.g., Myers, 272
   U.S at 133. The CPO is such an officer, and DHS and OMB are such agencies.
   Indeed, they are the agencies best able (and, in DHS’s case, uniquely able, because
   the report pertains largely to DHS activities) to assist the President in discharging
   his constitutional authority to supervise not just the CPO and his reports, but also
   the Executive Branch’s handling of the matters addressed in those reports. The
   statute requires that the CPO’s reports address DHS’s implementation of federal
   privacy laws, as well as Executive Branch privacy policy and legislative recom-
   mendations on privacy issues. See 6 U.S.C. § 142(a), (e). Section 802(e)(1)’s
   prohibition on the incorporation of DHS or OMB comments into the report would
   deprive the President of his ability to ensure that a report to Congress on privacy
   matters on behalf of the Executive Branch reflects the input of the Executive
   Branch officers on whom the President relies to discharge his constitutional
   authority over the report, the officer who transmits it, and the substantive matters
   that the report addresses. Section 802(e)(1)’s prohibition on incorporating OMB
   comments in the CPO’s report to Congress would also deprive the President of the
   benefits of the OMB review process that Presidents have relied upon for decades
   to ensure that a single officer’s or department’s communications to Congress do
   not conflict with the President’s policy program or legal obligations, and also do
   not compromise constitutionally privileged information or otherwise undermine
   the President’s ability to exercise his constitutional authority. See OMB Circular
   No. A-19, ¶¶ 3–4, 8 (1979). Because certain applications of section 802(e)(1)
   would impose these substantial burdens on the President’s ability to exercise his
   constitutional supervisory authority, we would consider those applications of the
   provision constitutionally objectionable even if we were to balance the degree to
   which they burden the President’s Article II authority against the provision’s
   oversight or legislative value.

                                              4.

      Certain applications of section 802(e)(1) would also conflict with the Presi-
   dent’s constitutional authority to protect against the unauthorized disclosure of
   classified and other types of constitutionally privileged information.
      We have long concluded that statutory provisions that purport to authorize
   Executive Branch officers to communicate directly with Congress without
   appropriate supervision by the President or his subordinates violate the separation
   of powers because such provisions infringe upon the President’s constitutional
   authority to protect against the unauthorized disclosure of constitutionally
   privileged information, most notably classified national security information. As



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   the Clinton Administration explained in a 1998 Statement of Administration
   Policy (“SAP”) on S. 1668, a bill that purported to give employees in the intelli-
   gence community a right to disclose certain types of privileged information to
   Congress without Presidential authorization:

         This provision is clearly contrary to the Supreme Court’s explicit
         recognition of the President’s constitutional authority to protect na-
         tional security and other privileged information. Congress may not
         vest lower-ranking personnel in the Executive branch with a “right”
         to furnish national security or other privileged information to a
         member of Congress without receiving official authorization to do
         so. By seeking to divest the President of his authority over the dis-
         closure of such information, S. 1668 would unconstitutionally in-
         fringe upon the President’s constitutional authority.

   This Office further developed the position stated in the SAP in testimony before
   Congress. See Whistleblower Protections for Classified Disclosures, 22 Op.
   O.L.C. 92 (1998) (reproducing the relevant testimony).
      The President’s constitutional authority to protect against the unauthorized
   disclosure of privileged information is not “limited to classified information, but
   extends to all deliberative process or other information protected by executive
   privilege.” Authority of Agency Officials, 28 Op. O.L.C. at 81. “Because [a]
   statute[] may not override the constitutional doctrine of executive privilege, [it]
   may not act to prohibit the supervision of the disclosure of any privileged infor-
   mation, be it classified, deliberative process or other privileged material.” Id.
   Applying this principle, we have consistently advised that the President’s ability to
   protect against the unauthorized disclosure of information potentially protected by
   executive privilege may not be restricted by statute. See, e.g., Memorandum for
   Peter J. Wallison, Counsel to the President, from Charles J. Cooper, Assistant
   Attorney General, Office of Legal Counsel at 3 n.6 (Sept. 8, 1986) (“Consistent
   with our view that Congress cannot override executive privilege by statutory
   enactment, we do not believe the ‘whistleblower’ provisions allow an employee to
   escape sanctions for disclosure of material covered by executive privilege.”). More
   importantly here, we have concluded in the specific context of statutory reporting
   requirements that “the Constitution compels that the head of [a] department must
   have the authority to direct” subordinates preparing reports to Congress to “make
   whatever modifications are deemed necessary” to prevent the unauthorized
   disclosure in those reports of sensitive law enforcement or executive privileged
   information. Legislation to Establish Offices of Inspector General—H.R. 8588,
   Hearings before the Subcomm. on Governmental Efficiency and the District of
   Columbia of the S. Comm. on Governmental Affairs, 95th Cong. 141 (1978)
   (testimony of Lawrence A. Hammond, Deputy Assistant Attorney General, Office
   of Legal Counsel) (“Hammond Testimony”); see also Memorandum for Robert M.




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       Constitutionality of Direct Reporting Requirement in Section 802(e)(1) of 9/11 Act


   McNamara, Jr., General Counsel, Central Intelligence Agency, from Todd D.
   Peterson, Deputy Assistant Attorney General, Office of Legal Counsel, Re: Legal
   Authority to Withhold Information from Congress at 3 (Sept. 9, 1998) (the
   “application of [statutory] reporting requirements . . . is limited by a constitutional
   restraint—the executive branch’s authority to control the disclosure of information
   when necessary to preserve the Executive’s ability to perform its constitutional
   responsibilities”). As we explained 30 years ago:

          This conclusion springs, first, from the President’s duty to see that
          the laws are faithfully executed. His immediate subordinates are
          charged with carrying out that constitutional duty. If a department
          head discovers in a report that, for instance, grand jury or tax return
          information has been . . . included, it is his duty to see that it is delet-
          ed. This is the simplest and clearest case. In each case an enactment
          having the force of law prohibits disclosure—even to Congress—and
          for the department head to allow a report to go out without alteration
          would be to disregard those enactments and fail in the faithful execu-
          tion of the laws.

          ....

          In addition . . . , there are some limited circumstances in which it has
          been recognized that the President may restrict the disclosure of con-
          fidential information and information relating to national security,
          diplomatic and military secrets . . . . [I]f an [Executive Branch sub-
          ordinate] decides to disclose confidential information, the head of the
          department should have the opportunity to review that intended dis-
          closure and initiate the process of internal Executive Branch scrutiny
          to determine whether the President should be asked to make the de-
          cision to withhold that document or portions of it from Congress.
          Any law which interferes with the President’s power to make these
          sorts of deliberative judgments would, in the Department’s opinion,
          offend the core concept of separation of powers upon which the Su-
          preme Court based its recognition of a Presidential privilege.

   Hammond Testimony at 141–43. Congress acknowledged the foregoing constitu-
   tional principles in the Senate report on the legislation (the Inspector General Act)
   addressed in the Department’s testimony. S. Rep. No. 95-1071, at 32, 1978
   U.S.C.C.A.N. at 2707 (“Insofar as [executive privilege] is constitutionally based,
   the committee recognizes that section 5(b) cannot override it.”).
      There is no question that section 802(e)(1) would interfere with the President’s
   ability to protect against the unauthorized disclosure of privileged information if
   applied to preclude the CPO from accepting DHS or OMB amendments made to
   protect such information. If section 802(e)(1) were so applied, it would substan-



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   tially constrain the President’s ability to protect against the unauthorized disclo-
   sure of privileged information by limiting the Executive Branch subordinates and
   processes on which the President may rely, and typically does rely, to exercise his
   constitutional authority over such information. To that extent, as well, the statute
   as so applied would be unconstitutional.

                                            III.

      In summary, we conclude that section 802(e)(1) does not prohibit DHS or
   OMB officials from reviewing, in accordance with established Executive Branch
   review and clearance procedures, the CPO’s draft section 802 reports before the
   reports are submitted to Congress. We further conclude that section 802(e)(1) is
   best interpreted not to prohibit DHS or OMB officials from commenting upon a
   draft CPO report where the CPO is permitted to, and in fact does, transmit to
   Congress a final report that does not reflect comments or amendments from such
   officials. Finally, we conclude that section 802(e)(1)’s direct reporting requirement
   need not be enforced in circumstances where its application would require the
   CPO to ignore the results of the President’s review, through DHS and OMB, of a
   particular report. In such circumstances, the statute must yield to the President’s
   exercise of his constitutional authority to supervise subordinate Executive Branch
   officers and their communications with Congress. In the event DHS were to
   implement this conclusion by adopting a policy not to enforce section 802(e)(1) in
   the circumstances described above, DHS should report the policy to Congress as
   required by 28 U.S.C. § 530D.

                                                STEVEN G. BRADBURY
                                        Principal Deputy Assistant Attorney General
                                                  Office of Legal Counsel




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                        Complaint
                         Exhibit L
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                   Authority of the President to Blockade Cuba
   Under international law, the President may institute a blockade of Cuba as an incident to a state of war,
     and conceivably a blockade could also be justified as a necessary measure of defense.
   The legality of the blockade could probably be tested by Cuba, by other countries, and by their
     nationals in the courts of the United States, and Cuba and other countries could raise the legality
     issue before the United Nations and the Organization of American States. It is not clear whether this
     issue could be raised before the International Court of Justice.

                                                                                        January 25, 1961

                    MEMORANDUM OPINION FOR THE ATTORNEY GENERAL*

       In response to your request, I am transmitting the attached memorandum on the
   above-entitled subject. In view of the length of the memorandum, I believe it
   would be helpful to summarize the conclusions reached.
       The memorandum concludes that the President is authorized to institute a
   blockade as an incident to a state of war. However, a blockade is a belligerent act
   which, as a matter of international law, is ordinarily justified only if a state of war,
   legal or de facto, exists. Conceivably a blockade could also be justified in
   circumstances in which the blockading country can establish it to be a necessary
   measure of defense. Whether the necessary facts required to support such a
   contention exist, however, is not known to me.
       The legality of the blockade could probably be tested by Cuba, by other coun-
   tries, and by their nationals in the courts of the United States. In addition, Cuba
   and other countries could raise the issue of the legality of the blockade before the
   United Nations and the Organization of American States. It is not clear whether
   this issue could be raised before the International Court of Justice.

                                                 *****

      This is in response to your request for the views of this Office as to the Presi-
   dent’s authority to declare a blockade, by the naval air forces of the United States,
   of the ports and coast of Cuba. We first discuss the legal circumstances which
   have been held to justify the imposition of a blockade, and in this connection the
   President’s authority to act. Next, we consider whether under applicable principles
   of law a case may be made for a blockade of Cuba. Finally, we consider the
   question of the forums, both domestic and international, which may be available
   for challenging the validity of a United States blockade of Cuba. In view of the
   way in which the question has been put to us, we have not undertaken in any
   manner to consult with the Department of State, the expert agency in this field.

      *
        Editor’s Note: The matter preceding the asterisks is the cover memorandum to the Attorney
   General. Assistant Attorney General Kramer signed both the cover and the main memorandum.




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                                             I.

       At the outset it should be noted that both courts and commentators are agreed
   that a blockade involves a state of war; i.e., it is the right of a belligerent alone.
   Thus, in the Prize Cases, 67 U.S. (2 Black) 635 (1862), in which the Supreme
   Court sustained the power of the President to proclaim a blockade of the ports of
   the United States seized by the southern states in rebellion, the decision turned on
   the question whether a state of war existed. As the Court put it: “Let us enquire
   whether, at the time this blockade was instituted, a state of war existed which
   would justify a resort to these means of subduing the hostile force.” Id. at 666. The
   Court concluded that the military insurrection of the Southern States gave rise to a
   state of war which “[t]he President was bound to meet . . . in the shape it presented
   itself, without waiting for Congress to baptize it with a name; and no name given
   to it by him or them could change the fact.” Id. at 669. On this basis, the Court
   held that the President “had a right, jure belli, to institute a blockade of ports in
   possession of the States in rebellion, which neutrals are bound to regard.” Id. at
   671.
       Other decisions of the Supreme Court recognize the principle that blockade is
   an incident of a state of war. In McCall v. Marine Ins. Co., Justice Story, writing
   for the Court, stated:

          The right to blockade an enemy’s port with a competent force, is a
          right secured to every belligerent by the law of the nations. No neu-
          tral can, after knowledge of such blockade, lawfully enter, or attempt
          to enter, the blockaded port. It would be a violation of neutral char-
          acter, which, according to established usages, would subject the
          property engaged therein to the penalty of confiscation. In such a
          case, therefore, the arrest and restraint of neutral ships attempting to
          enter the port, is a lawful arrest and restraint by the blockading
          squadron.

   12 U.S. (8 Cranch) 59, 65 (1814) (emphasis in original). And in Olivera v. Union
   Ins. Co., Chief Justice Marshall stated, that “a belligerent may lawfully blockade
   the port of his enemy, is admitted.” 16 U.S. (3 Wheat.) 183, 194 (1818). A
   forthright statement was made by the Supreme Court of West Virginia in the case
   of Grinnan v. Edwards:

          A blockade, is the exercise of belligerent right; before a blockade
          can be declared, a war must exist; and a blockade lawfully declared,
          is conclusive evidence that a state of war exists between the nation
          declaring such a blockade, and the nation whose ports are blockaded.

   21 W. Va. 347, 356 (1883).




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                         Authority of the President to Blockade Cuba


      International law experts have the same view of the blockade. George Grafton
   Wilson, Professor Emeritus of International Law, Harvard University, states: “The
   term blockade, properly used, involves a state of war.” 4 Encyclopedia Americana
   98d (1958). In the seventh edition of Oppenheim’s International Law, edited by
   the late Professor Lauterpacht (subsequently a judge of the International Court of
   Justice), it is stated:

          Blockade is the blocking by men-of-war of the approach to the ene-
          my coast, or a part of it, for the purposes of preventing ingress and
          egress of vessels or aircraft of all nations. . . . Although blockade
          is . . . a means of warfare against the enemy, it concerns neutrals as
          well, because the ingress and egress of neutral vessels are thereby in-
          terdicted, and may be punished.

   2 id. at 768 (1952). In a fairly recent article, a blockade is described as the means
   by which a belligerent cuts off “all access to the coast of the enemy.” S.W.D.
   Rowson, Modern Blockade: Some Legal Aspects, 1949 Brit. Y.B. Int’l L. 346,
   349. Our own Department of State took the position in 1919 that no blockade
   could be instituted absent a state of war. In that year, in connection with a proposal
   that the Allied Governments blockade Bolshevist Russia, it telegraphed the
   American Commission to Negotiate Peace as follows: “A blockade before a state
   of war exists is out of the question. It could not be recognized by this Govern-
   ment.” Scope of Blockade, 7 Hackworth Digest § 624, at 125.
      A technical departure from the rule that a blockade can be imposed only as an
   incident to a state of war is President McKinley’s action in 1893. On April 20,
   1898, Congress by joint resolution directed the President to use the land and naval
   forces of the United States to compel the Government of Spain to relinquish its
   authority over Cuba. Pub. Res. No. 55-24, 30 Stat. 738. In accordance with this
   resolution, President McKinley, on April 22, 1898, issued a proclamation institut-
   ing a naval blockade of the north coast of Cuba. 14 Compilation of the Messages
   and Papers of the Presidents 6472 (James D. Richardson ed., 1909). It was not
   until April 25, 1898, that Congress declared that a state of war with Spain existed.
   Pub. L. No. 55-189, 30 Stat. 364 (1898). In the declaration it was stated, however,
   that a state of war had existed since April 21, 1898. Id. This was, of course, prior
   to the date of the blockade. At best, the departure from the established rule was
   only a technical one.
      The other incident that is worthy of note is President Truman’s order in 1950
   blockading Korea. On June 30, 1950, President Truman announced that “[i]n
   keeping with the United Nations Security Council’s request for support to the
   Republic of Korea in repelling the North Korean invaders and restoring peace in
   Korea,” he had authorized the United States Air Force “to conduct missions on
   specific military targets in northern Korea wherever militarily necessary, and had
   ordered a naval blockade of the entire Korean coast.” White House Statement




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   Following a Meeting Between the President and Top Congressional and Military
   Leaders to Review the Situation in Korea, Pub. Papers of Pres. Harry S. Truman
   513 (1950). It should be observed that, under Article 42 of the United Nations
   Charter, the Security Council is authorized “to take such action by air, sea or land
   forces as may be necessary to maintain or restore international peace,” and a
   blockade by Members of the United Nations is expressly included among the
   permissible actions. The Korean blockade is not a precedent here. There the
   blockade was authorized by the United Nations; in the instant case, as we under-
   stand it, the United States would proceed unilaterally. Moreover, it would appear
   that the Korean blockade was justified under the traditional rule that such action
   can be taken only in connection with a state of war. There was a de facto state of
   war between North Korea and the United Nations.
      Mention should also be made of what is termed a “pacific blockade.” This is
   said to be “a blockade during time of peace”; it has been used by several European
   nations “as a compulsive means of settling an international difference.” 2 Oppen-
   heim’s International Law at 144–45; Wilson, 4 Encyclopedia Americana at 98d.
   There appears to be some question, however, as to whether a pacific blockade is a
   permissible form of international conduct. Professor Hyde states:

         Such action is to be deemed pacific merely in the sense that the
         blockading State is disposed to remain at peace, while the State
         whose territory is blockaded does not elect to treat the operation as
         one constituting an act of war or as compelling it to make war upon
         its adversary.

   2 Charles Cheney Hyde, International Law, Chiefly As Interpreted and Applied by
   the United States § 592, at 179–80 (1922). Professor Hyde notes that, while on
   certain occasions European countries have found it possible to resort to blockade
   without producing a state of war, the United States “has never had recourse to
   pacific blockade.” Id. at 180. Moreover, the United States appears to have taken
   the position that a pacific blockade does not authorize the blockading state to
   interfere with United States shipping. Id. at 180–82.
      Assuming the existence of a state of war, both practice and authority indicate
   that the President, in the exercise of his constitutional power as Commander in
   Chief, can order a blockade of the enemy. President Lincoln took such action in
   1861, and his authority was sustained in the Prize Cases, 67 U.S. (2 Black) 635
   (1863). President Truman took similar action in Korea. With respect to the latter, it
   has been said that the blockade “was supported and respected by other Members
   [of the United Nations] except the members of the Soviet bloc.” Leland M.
   Goodrich & Anne P. Simons, The United Nations and the Maintenance of Inter-
   national Peace and Security 481 (1955).




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                         Authority of the President to Blockade Cuba


                                             II.

      The United States is not in a state of war with Cuba in the traditional sense.
   From the facts available to us, it does not appear that Cuba has resorted to military
   action against the United States or that the United States has resorted to such
   action against Cuba. Nor has Congress declared that a state of war exists between
   the United States and Cuba. Accordingly, the principles of international law, as
   presently developed and followed by the United States, would seem to furnish no
   legal justification for the imposition by this government of a blockade of Cuba.
   Moreover, to the extent that a pacific blockade is a permissible instrument of
   international conduct, resort thereto by the United States would apparently
   represent a reversal of United States policy. A further obstacle in this regard is that
   the blockaded state must also choose not to regard the blockade as an act of war.
   We are not in a position to judge whether this course would be followed by Cuba.
      In this posture, we turn to the question whether it is, nevertheless, possible to
   argue that a blockade of Cuba is justifiable. That the United States is engaged in a
   “cold war” with major communist nations and with Cuba is plain. To keep
   communist imperialism from engulfing the United States is a matter of vital
   national interest. As one author has put it, with respect to United States policy to
   further this interest, and also to keep Axis aggression from American shores
   during World War II:

          Interventions undertaken to further these interests were lawful if
          those who authorized them believed that intervention was a last re-
          sort to safeguard the nation from extreme peril and proper means of
          intervention were used. . . .

   Doris A. Graber, Crisis Diplomacy: A History of U.S. Intervention Policies and
   Practices 211–12 (1959).
       An example of the exercise of presidential power of this nature in the naval
   field is the action of President Roosevelt in 1941, when Nazi power was at its
   zenith and the peril to the United States great. On July 7, 1941, the President sent a
   message to Congress announcing that as Commander in Chief he had ordered the
   Navy to take all necessary steps to insure the safety of communications between
   Iceland and the United States as well as on the seas between the United States and
   all other strategic outposts and that troops had been sent to Iceland in defense of
   that country. The President justified these actions on the ground that the United
   States could not permit “the occupation by Germany of strategic outposts in the
   Atlantic to be used as air or naval bases for eventual attack against the Western
   Hemisphere.” Memorandum on the Authority of the President to Repel the Attack
   in Korea, 23 Dep’t of State Bull. 173, 175 (1950).
       If the President is satisfied, on the basis of the facts known to him, that the
   Cuban situation presents a grave threat to the safety of the free nations of the




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   Western Hemisphere, as for example, that they are in imminent danger of attack
   from hostile forces stationed in Cuba or en route to Cuba from communist
   countries, it is arguable that, whatever the earlier history of the doctrine of
   blockade, that concept ought to be accommodated to the situation in hand, not as a
   device of making war but as a reasonable and internationally permissible means of
   preventing aggression against peaceful nations. Whatever the facts mobilized to
   justify a blockade, they would receive careful scrutiny in the forums in which the
   legality of the action is open to challenge. In addition, the reaction of world
   opinion would depend upon the strength of the factual justification for the action.
   We are not, of course, in any position to know what the actual facts are which
   could be relied upon as justification, and therefore we cannot possibly assess the
   strength of the possible factual justification.

                                                     III.

      This portion of the memorandum discusses which forums may be available for
   challenging the validity of a blockade of Cuba.

                                         A. Domestic Forums

       In the Prize Cases, 67 U.S. (2 Black) 635, 665 (1863), involving the blockade
   of southern ports during the Civil War, the Supreme Court stated that “[n]eutrals
   have a right to challenge the existence of a blockade de facto, and also the
   authority of the party exercising the right to institute it.” There several neutral
   vessels were captured and brought in as prizes by public ships of the United
   States. Libels were filed by the proper United States Attorneys, and in each such
   case the United States district court pronounced a decree of condemnation on the
   ground that the ships had broken or were attempting to break the blockade. The
   owners of the ships appealed from these decrees. And, as pointed out above, the
   Supreme Court held the blockade to be a proper exercise of power by the United
   States as a belligerent. This method of challenging the validity of a blockade
   would appear to be available to neutral ships today. If such ships are captured on
   the ground that they were attempting to break the Cuban blockade, they could be
   treated as prizes and placed within the prize jurisdiction of the federal district
   courts, provided the captures could be deemed to have been made “during war.”
   10 U.S.C. §§ 7651, 7652 (1958).1
       If the vessels were not placed under prize jurisdiction by the United States
   itself, the ship and cargo owners would not have that avenue of access to our
   courts. Ling v. 1,689 Tons of Coal, 78 F. Supp. 57 (W.D. Wash. 1942). However,
   in addition to suits in admiralty against the United States under 28 U.S.C. § 1333


       1
         Section 7651 provides that the prize jurisdiction of the federal courts “applies to all captures of
   vessels as prize during war by authority of the United States or adopted and ratified by the President.”




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   (1958), they and others claiming loss by reason of the blockade might be author-
   ized to file suits “founded . . . upon the Constitution” in the Court of Claims pursu-
   ant to 28 U.S.C. § 1491 (1958), or, in certain cases, the district courts, pursuant to
   28 U.S.C. § 1346 (1958). Furthermore, the blockade might give rise to litigation in
   domestic courts exclusively between private parties owing to its interference with
   rights under contracts or with other rights. The domestic remedies available for
   challenging the validity of the blockade would be open to all neutral countries and
   their nationals, including those of the Communist bloc. In the absence of a state of
   war, it might also be possible for Cuban nationals to resort to our courts for the
   purpose of testing the legality of the blockade.

                                B. International Forums

       In addition to the courts of the United States, a number of international forums
   appear to be available in which the legality of the blockade as a matter of interna-
   tional law could be raised. It appears that this question could properly be brought
   before (1) the Security Council and General Assembly of the United Nations and
   (2) the Organization of American States. It is unclear whether it could be raised
   before the International Court of Justice.
       1. The Charter of the United Nations is a collective treaty concluded for the
   purpose of safeguarding peace, and provides a means for investigating and
   determining complaints of alleged aggressive action by a member of State. In our
   opinion, the procedure provided by the U.N. Charter for these purposes would be
   available to Cuba and other nations affected by the blockade.
       The matter could be brought either before the General Assembly or the Security
   Council. The former, however, is empowered only to discuss problems and make
   recommendations to the member nations and to the Security Council. U.N. Charter
   arts. 10–12. Chapter VII (arts. 39–51) deals with action respecting threats to the
   peace, breaches of the peace and acts of aggression. It provides that “[t]he Security
   Council shall determine the existence of any threat to the peace . . . or decide what
   measures shall be taken in accordance with Articles 41 and 42, to maintain or re-
   store international peace . . . .” (art. 39). The Security Council is authorized to
   decide “what measures not involving the use of armed forces are to be employed
   to give effect to its decisions”; and it may call upon members of the United
   Nations to apply such measures, including various economic sanctions and
   severance of diplomatic relations (art. 41). As noted earlier, in the event these
   measures prove to be inadequate, the Security Council may resort to other action
   to restore peace, including “blockade, and other operations by air, sea, or land
   forces of members of the United Nations” (art. 42). For this purpose, the Security
   Council may call on all members of the United Nations to contribute to the
   maintenance of international peace with armed forces, assistance and facilities
   (art. 43). The Charter also provides that nothing in it shall impair the inherent right
   of individual or collective self-defense if an armed attack occurs against a Member



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   of the United Nations, until the Security Council has taken the measures necessary
   to maintain international peace (art. 51).
       It seems reasonably clear that in providing that the Security Council may take
   action to deal with threats to peace, including specifically blockade measures, the
   members of the United Nations intended that such action should not be taken
   unilaterally except as provided by Article 51 (where the individual member
   suffering an armed attack may take such action in self-defense). That the United
   States, England and France have so construed the U.N. Charter is demonstrated by
   the position taken by these nations in bringing to the attention of the Security
   Council the threat to peace created by the Soviet blockade of West Berlin. It was
   claimed that the Soviet blockade was a method used for the expansion of its power
   in disregard of its responsibility under international agreements, and that it
   constituted duress and threat of force wholly inconsistent with the obligations
   imposed on members of the United Nations by the Charter.2 The Security Council
   was requested to remove the threat to peace, 3 and it took jurisdiction over the
   matter. However, the Security Council failed to adopt the resolution offered by the
   Allied Powers because of the Soviet veto. U.N. Doc. S/1048 (Oct. 22, 1948);
   1948–49 U.N.Y.B. 286, U.N. Sales No. 1950.I.11.
       Another case involved the Egyptian blockade of the Suez Canal to prevent
   goods from reaching the State of Israel. Egypt claimed that the Egyptian-Israel
   Armistice Agreement of 1949 did not end but merely suspended hostilities, that its
   belligerent rights were left intact, and that it was legally justified in imposing
   restrictions on the free use of the Canal. When attempts to mediate the dispute
   failed, Israel brought the matter up for consideration by the Security Council. On
   September 1, 1951, the Security Council passed a resolution which called upon
   Egypt “to terminate the restrictions on the passage of international commercial
   shipping and goods through the Suez Canal wherever bound and to cease all
   interference with such shipping beyond that essential to the safety of shipping in
   the Canal itself and to the observance of the international conventions in force.”
   S.C. Res. 95, U.N. Doc. S/RES/95 (Sept. 1, 1951). When Egypt defied the
   Security Council, the Government of Israel brought the matter up again before the
   Security Council. 1954 U.N.Y.B. 62, U.N. Sales No. 1955.I.25. On March 19,
   1954, a draft resolution was placed before the Security Council which called upon
   Egypt, “in accordance with its obligations under the Charter to comply” with the
   1951 resolution. U.N. Doc. S/3188. Eight members of the Security Council,
   including the United States, voted for it, but the Soviet Union vetoed the resolu-
   tion. 1954 U.N.Y.B. 74.


       2
         Statement by Philip C. Jessup, Deputy U.S. Representative in the Security Council, Review of
   Allied Action on Berlin Blockade, 19 Dep’t of State Bull. 541 (Oct. 31, 1948).
       3
         Id. at 547; Statement by Philip C. Jessup, Deputy U.S. Representative in the Security Council, The
   United Nations and Specialized Agencies: U.S. Urges Acceptance of Draft Resolution on Berlin Crisis,
   19 Dep’t of State Bull. 572 (Nov. 7, 1948).




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      Thus it would appear to be fairly clear from these incidents that blockade
   measures taken unilaterally by a nation, other than in self-defense or in a war, and
   outside the framework of the United Nations Charter, are likely to be brought
   before, and considered by, the Security Council. Whether the blockade was
   undertaken as a justifiable measure of self-defense would obviously be the issue in
   the instant situation. Of course, any proposed action in the Security Council would
   be subject to the veto power of the United States.
      2. The Organization of American States (“OAS”), of which both the United
   States and Cuba are members, is also a forum in which the legality of a Cuban
   blockade could be subjected to investigation and determination. Although there is
   no express reference to blockade in the OAS Charter, there are many provisions
   designed to bar unilateral action by any member constituting a threat to the
   common peace. See id. arts. 13, 16–18, 24–25, Apr. 30, 1948, 2 U.S.T. 2416,
   T.I.A.S. No. 2361, 119 U.N.T.S. 3.4
      Article 25 provides that in the event of aggression endangering the peace of
   America, the member States shall apply the measures and procedures established
   in the special treaties on the subject. The pertinent “special” treaty for security
   purposes appears to be the Rio Pact,5 which is closely linked with the Charter.
   Under the Rio Pact, an Organ of Consultation (meeting of Foreign Ministers) shall
   gather “without delay” (art. 3) in case of an armed attack, and “immediately”
   (art. 6) if the integrity or political independence of any American state should be
   affected by an act of aggression or by any fact or situation that might endanger the
   peace of America.
      The Organ is to decide, by two-thirds vote (art. 17) “the measures which must
   be taken” for the common defense and preservation of peace (art. 6). Decisions are
   binding upon all states, except that no state can be required to use armed force
   without its consent (art. 20). The measures agreed upon by the Organ shall be
   executed through procedures and agencies in existence or those which may be
   created (art. 21). It would seem clear that in the circumstances here involved the
   OAS would be authorized to determine whether a blockade is an act of aggression.
      In its relationships with Cuba, the United States has stated that “the proper
   forum for the discussion of any controversies between the Government of Cuba
   and the governments of other American Republics is the Organization of Ameri-
   can States.” Security Council Considers Cuban Complaint: Statement of July 18,
   43 Dep’t of State Bull. 199, 199 (Aug. 8, 1960) (statement of U.S. Representative
   Henry Cabot Lodge) (“Lodge Statement”). On June 27, 1960, the United States
   Government submitted to the Inter-American Peace Committee a memorandum
   entitled Provocative Actions of the Government of Cuba Against the United States


      4
       The text of the OAS Charter appears in 18 Dep’t of State Bull. 666 (May 23, 1948).
      5
       Inter-American Treaty of Reciprocal Assistance, opened for signature Sept. 2, 1947, 62 Stat.
   1681, T.I.A.S. No. 1838, reprinted in 17 Dep’t of State Bull. 565 (Sept. 21, 1947).




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   Which Have Served to Increase Tensions in the Caribbean Area, U.N. Doc.
   S/4388 (July 15, 1960), reprinted in 43 Dep’t of State Bull. 79, 79 (July 18, 1960).
   This memorandum, which sets forth many provocative acts of Cuba in contrib-
   uting to international tension, was in response to requests made by the Peace
   Committee under a study assignment given to it by the American Foreign
   Ministers in 1959. Id.; American Foreign Ministers Conclude Santiago Talks, 41
   Dep’t of State Bull. 342, 343 (Sept. 7, 1943); Lodge Statement, 43 Dep’t of State
   Bull. at 199.
      The United States Representative to the Security Council has taken the position
   that the Security Council of the U.N. should take no action on the Cuban com-
   plaint until discussions of the problem have taken place in the Organization of
   American States and an attempt to resolve it has been made in that forum. Lodge
   Statement, 43 Dep’t of State Bull. at 200. In Mr. Lodge’s opinion, the procedure
   was to go to the regional organization first and to the United Nations as a last
   resort. In the event the United States undertook the action here considered,
   presumably the OAS machinery would be available to Cuba as it has been to the
   United States.
      3. It is unclear to what extent the International Court of Justice would have
   jurisdiction to pass upon the legality of the blockade.
      It seems doubtful whether the Court could accept jurisdiction if Cuba sought to
   institute an action against the United States. In filing its acceptance of the
   compulsory jurisdiction of the Court, the United States has agreed (except for its
   reservation on domestic matters6) to be bound only “in relation to any other state
   accepting the same obligation.” Statute of the International Court of Justice art.
   36(2), June 26, 1945, 59 Stat. 1055, 1060. Cuba has not filed its acceptance of the
   compulsory jurisdiction of the International Court. It would, therefore, appear that
   Cuba has not accepted the same obligation7 as the United States, and that an
   essential condition is lacking for the Court’s exercise of compulsory jurisdiction
   over the United States in a case which Cuba is the plaintiff.
      However, even if the validity of the blockade cannot be decided by the Court in
   on action to Cuba, it is possible that the question is subject to adjudication in a suit

       6
         On the basis of the reservation, the United States could defeat the jurisdiction of the court merely
   by asserting that a blockade of Cuba involved a domestic matter.
       7
         Oliver J. Lissitzyn, in The International Court of Justice: Its Role in the Maintenance of Interna-
   tional Peace and Security (1951), indicates the bases of the Court’s jurisdiction as follows:
               The jurisdiction of the Court over disputes submitted to it as contentious cases rests
            in principle on the consent of the parties. This consent can be given either (1) by a
            declaration recognizing as compulsory the jurisdiction of the Court, with or without
            limitation, under the “optional clause” of Article 36 of the Statute, or (2) by an under-
            taking in any other form to recognize as compulsory the jurisdiction of the Court with
            respect to a class of existing or future disputes, or (3) by an express or tacit agreement
            to submit a particular dispute to the Court.
   Id. at 61.




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   by a third state which is adversely affected by the blockade and which has
   accepted compulsory jurisdiction. In addition it should be noted that Article 96 of
   the United Nations Charter provides that the General Assembly or the Security
   Council may ask the Court for an advisory opinion “on any legal question,” and
   that the Assembly may authorize other organs, or specialized agencies to do so.
   Thus, although a state is not authorized to request an advisory opinion, it may
   persuade one of the designated organs to make the request.
      However the matter is presented, a basic problem for the Court would be
   whether a blockade raises a political or a legal issue. The U.N. Charter provides
   that “legal disputes” should as a general rule be referred by the parties to the
   International Court of Justice in accordance with the provisions of the Statute of
   the Court (art. 36). The implication is that “political questions,” unlike “legal
   questions,” should not, therefore, be decided by the Court. What is a legal, as
   opposed to a political, question presents an extremely difficult issue. See Lissitzyn,
   supra note 7, at 74. No case of a blockade appears to have been presented to the
   Court. The closest precedents are the Corfu Channel Case, id. at 78–81, in which
   Albania’s action in laying a clandestine minefield was treated as a legal question
   within the jurisdiction of the Court, and the Fisheries Case (U.K. v. Nor.),
   Judgment, 1951 I.C.J. 116 (Dec. 18), in which the Court accepted jurisdiction over
   a dispute between Norway and the United Kingdom as to whether Norway had the
   right to reserve to its nationals fishing rights in certain areas off the Norwegian
   coast. These precedents do not appear necessarily to control the question presented
   by a blockade. In addition, it is of significance that no attempt has been made to
   bring either the Berlin blockade or the Egyptian blockade of Israel before the
   Court.

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